Case:Highly
      1:17-md-02804-DAP Doc #:
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                                                      Confidentiality      Review

     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION,                 )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
     7
     8                            __ __ __
     9                     Thursday, April 25, 2019
                                  __ __ __
    10
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    11                  CONFIDENTIALITY REVIEW
                               __ __ __
    12
    13
    14
    15            Videotaped Deposition of DAVID S.
            EGILMAN, M.D., MPH, held at the Providence
    16      Marriott Downtown, 1 Orms Street, Providence,
            Rhode Island, commencing at 9:08 a.m., on the
    17      above date, before Debra A. Dibble, Certified
            Court Reporter, Registered Diplomate
    18      Reporter, Certified Realtime Captioner,
            Certified Realtime Reporter and Notary
    19      Public.
    20
                                     __ __ __
    21
    22
    23                   GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | fax 917.591.5672
    24                        deps@golkow.com

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    22
    23
    24

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    18              Counsel for H.D. Smith
    19
    20
    21      ALSO PRESENT:
    22            Jonathan Jaffe
    23
    24

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     9

    10      VIDEOGRAPHER:
    11             Bill Geigert
    12

                                     __ __ __
    13                        __ __ __ __ __ __
    14

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     1
     2                       I N D E X
     3    DAVID S. EGILMAN, M.D., MPH                                   PAGE
     4      EXAMINATION BY MR. DONOHUE                                   14
            EXAMINATION BY MS. SAULINO                                  140
     5      EXAMINATION BY MR. MCGARRIGLE                               423
     6
                                 E X H I B I T S
     7
                No.                        Description                  Page
     8
                Egilman 1A          Egilman Expert                        19
     9                              Report and Exhibits,
                                    Volume 1 of 3 binder
    10
                Egilman 1B          Egilman Expert                        19
    11                              Report and Exhibits,
                                    Volume 2 of 3 binder
    12
                Egilman 1C          Egilman Expert                        19
    13                              Report and Exhibits,
                                    Volume 3 of 3 binder
    14
                Egilman 1D          Egilman Opinions                      19
    15                              Received 4-23-2019
                                    binder
    16
                Egilman 1E          thumb drive,                          20
    17                              (DECHERT1)
    18          Egilman 1F          5-25-19 Report of                     20
                                    David S. Egilman MD,
    19                              MPH
    20          Egilman 1G          thumb drive                           20
    21
    22
    23
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     1             Egilman 2        Poster (8.5 x 11                      93
                                    copy) Deconstructing
     2                              the myth that
                                    prescribed opioids
     3                              have a low risk of
                                    addiction by Daniel
     4                              K. Cho, Mark
                                    Hocevar, Brown
     5                              University
     6             Egilman 3        IMS Data, David                     120
                                    Egilman
     7
                   Egilman 4        Green folder marked                 141
     8                              20 - Distribute =
                                    Manufacturers
     9
                   Egilman 5        My Assignment                       164
    10
                   Egilman 6        Folder 26 arrow up                  232
    11                              does = arrow up
                                    death
    12
                   Egilman 7        B.85                                253
    13
                   Egilman 8        Opinion - McKesson                  272
    14                              blames manufacturers
                                    and avoids its own
    15                              responsibility
    16             Egilman 9        Opinion - HDMA was                  276
                                    responsible for sale
    17                              of unapproved
                                    opioids
    18
                 Egilman 10         Opinion -                           283
    19                              Distributor
                                    marketing drove
    20                              sales
    21
    22
    23
    24

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                                                                              Review

      1           Egilman 11         Opinion - WAG                         287
                                     solution to red
      2                              flagged stores was
                                     to find a
      3                              distributor who
                                     would sell to them.
      4                              All 3 WAG
                                     distributor
      5                              facilities failed to
                                     implement SOM
      6                              procedures
                  Egilman 12         Definition -                      296
      7                              "Venture" refers to
                                     all defendants
      8                              (including their
                                     associated
      9                              individuals and/or
                                     organizations) and
     10                              covers all aspects
                                     of marketing,
     11                              distribution, and
                                     supply they engaged
     12                              in
     13           Egilman 14         Opinion - these are                   306
                                     the members on the
     14                              "venture" with two
                                     Redweld folders"
     15
                  Egilman 15         Opinion B.489                         311
     16                              Redweld folder
     17           Egilman 16         The "venture" should                  329
                                     have known that
     18                              higher doses kill
                                     and warned about
     19                              this
     20
     21
     22
     23
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                                                                              Review

      1           Egilman 17         All for one and one                   340
                                     for all - the
      2                              "venture" knew
                                     collective marketing
      3                              increased the size
                                     of the opioid pie.
      4                              Similarly had any
                                     "venture" member
      5                              broken ranks, the
                                     opioid market would
      6                              have slowed or if
                                     the complete truth
      7                              was told (no
                                     efficacy and high
      8                              addiction risk) the
                                     market would have
      9                              crashed
                  Egilman 18         Opinion - When the                    347
     10                              FDA tried to limit
                                     use in 2001 by
     11                              changing the label
                                     from "more than a
     12                              few days" to
                                     "extended period of
     13                              time," the "venture"
                                     used this language
     14                              to increase the
                                     market
     15
                  Egilman 19         Opinion - the                         361
     16                              "venture" corrupted
                                     the FDA and Salem --
     17                              News.com FDA
                                     Corruption Worsens
     18                              as Death Toll Mounts
                                     in Drug Epidemic!
     19                              article
     20           Egilman 20         Opinion - "venture"                   374
                                     member McKesson
     21                              marketed opioids
     22           Egilman 21         Login to McKesson                     383
                                     Connect
     23
                  Egilman 22         Opinion B.385                         393
     24

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                                                                              Review

      1           Egilman 23         Compilation of                        391
                                     Redweld folders
      2
                  Egilman 24         Opinion-McKesson had                  398
      3                              marketing agreements
                                     with Mallinckrodt,
      4                              Purdue and Teva
      5           Egilman 25         Opinion - the                         404
                                     "Venture" -
      6                              McKesson's SOM was
                                     inadequate
      7
                  Egilman 26         Dr. Egilman's                         414
      8                              reference folders
      9           Egilman 27         Dr. Egilman's notes                   415
                                     Dr. Egilman's                         415
     10           Egilman 28         opinion folders with
                                     stickies and
     11                              notations
     12           Egilman 29         USA Oxycodone                         417
                                     consumption
     13                              (mg/capita) 1980 --
                                     2015
     14
                  Exhibit 30         Opinion-                              439
     15                              AmerisourceBergen
                                     ("ABC") was light on
     16                              order monitoring.
                                     The ABC focus is
     17                              only on rapid
                                     growth, not steady
     18                              sales Focus on big
                                     accounts only for
     19                              suspicious order
                                     monitoring
     20
     21
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      1          Egilman 30A   Opinion-                                    439
                               AmerisourceBergen
      2                        ("ABC") was light on
                               order monitoring.
      3                        The ABC focus is
                               only on rapid
      4                        growth, not steady
                               sales Focus on big
      5                        accounts only for
                               suspicious order
      6                        monitoring, with
                               revisions
      7           Egilman 31   Opinion-                                      440
                               AmerisourceBergen
      8                        ("ABC") wanted to
                               'low key' (HIDE) its
      9                        association with
                               Pain Care Forum
     10                        ("PCF") with
                               attachments
     11                        PPLP004210521-
                               4210523,
     12                        PPLP004279424-
                               4279425,
     13                        PPLP004303453,
                               PPLP004303456-
     14                        4303457,
                               PPLPC018001477198-
     15                        1477200,
                               PPLPC022000926958-
     16                        22000926959, was
                               marked for
     17                        identification.)
     18                    __ __ __ __ __ __
     19
     20
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                                                                              Review

      1                              PROCEEDINGS
      2                         (April 25, 2019 at 9:08 a.m.)
      3                         THE VIDEOGRAPHER:          Good
      4              morning.       We are now on the record.
      5              My name is Bill Geigert.              I'm a
      6              videographer for Golkow Litigation
      7              Services.       Today's date is April 25th,
      8              2019, and the time is 9:09 a.m.                 This
      9              video deposition is being held in
     10              Providence, Rhode Island, in the
     11              matter of National Opioid Litigation.
     12                         The deponent is Dr. David
     13              Egilman.       The court reporter is Debbie
     14              Dibble, and she will now swear in the
     15              witness.
     16                   DAVID S. EGILMAN, M.D., MPH,
     17      having first been duly sworn, was examined
     18      and testified as follows:
     19                              EXAMINATION
     20      BY MR. DONOHUE:
     21              Q.         Good morning, Dr. Egilman.              My
     22      name is Matt Donohue.            I represent Insys.
     23                         I apologize, but we do have to
     24      do some housekeeping before we start the

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      1      questioning.        So I'm going to ask everybody
      2      that's in the room to identify yourself for
      3      the court reporter because there are a number
      4      of people that she needs to know where you're
      5      sitting.      So if you can identify yourself and
      6      then endeavor to sit in the same spot
      7      throughout the day, that will aid in the
      8      accuracy of the transcript.
      9                         So I'll start.
     10                         Matt Donohue with Holland &
     11      Knight representing Insys.
     12                         MS. FARMER:       Jessica Farmer
     13      with Holland & Knight representing Insys.
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     15      from Covington and Burling for McKesson.
     16                         MR. HALPERIN:        Greg Halperin.
     17                         MS. SWIFT:       Kate Swift for
     18      Walgreens.
     19                         MS. McENROE:        Elisa McEnroe
     20      from Morgan Lewis for RiteAid.
     21                         MR. HYNES:       Paul Hynes of
     22      Zuckerman Spaeder, for CVS.
     23                         MR. BLANK:       Timothy Blank with
     24      Dechert for Purdue.

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      2      with Dechert for Purdue.
      3                         MR. ERCOL:       Brian Ercol from
      4      Morgan Lewis for the Teva defendants.
      5                         MS. WELCH:       Donna Welch
      6      Kirkland & Ellis for Allergan defendants.
      7                         MR. JAFFE:       Jonathan Jaffe,
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     11                         MS. LUCAS:       Amy Lucas,
     12              O'Melveny and Myers for Janssen and
     13              Johnson & Johnson.
     14                         MS. NAKAMURA:        Angel Nakamura
     15              of Arnold and Porter, the Endo and
     16              Parr defendants.
     17                         MS. FULMERTON:         Tara Fulmerton,
     18              Jones Day, on behalf of Wal-mart.
     19                         MR. BAILEY:       Clayton Bailey
     20              Covington & Burling for McKesson.
     21                         MS. SACKS:       Shayna Sacks,
     22              Napoli Shkolnik for plaintiffs
     23              Cuyahoga County.
     24                         MR. HAHN:      Bill Hahn, Barnes &

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      3              Hanly Conroy for the plaintiffs.
      4                         MR. MIGLIORI:        Donald Migliori,
      5              Motley Rice, on behalf of Summit
      6              County and plaintiffs.
      7                         MR. KROEGER:        Rick Kroeger.
      8              Simmons Hanly Conroy on behalf of
      9              plaintiffs.
     10                         MR. GOLDSTEIN:         Josh Goldstein,
     11              Ropes & Gray on behalf of
     12              Mallinckrodt, LLC.
     13                         MR. GHOSH:       Pratik Ghosh,
     14              Kirkland and Ellis, Allergan
     15              defendants.
     16                         SPECIAL MASTER COHEN:            Special
     17              Master David Cohen.
     18                         Hey, there's air conditioning
     19              in this room, and I can tell you that
     20              Debbie cannot hear you if you're back
     21              there, so speak very loudly, please.
     22                         MR. DONOHUE:        And then we have
     23              a number of people on the telephone,
     24              but you already have those, right?

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      1                         THE REPORTER:        Are you all
      2              right if I just indicate those on the
      3              transcript appearances?
      4                         MR. DONOHUE:        I'm fine with
      5              that.
      6                         Next, just housekeeping matter
      7              is, I want to explain on the record
      8              what we've marked as our first
      9              exhibit.
     10                         So marked as Exhibit 1A, is a
     11              binder entitled "Egilman Report and
     12              Exhibits Volume 1 of 3."              Marked as
     13              Exhibit 1B is a black binder entitled
     14              "Egilman Report and Exhibits, Volume 2
     15              of 3."
     16                         Marked as Exhibit 1C is a black
     17              binder entitled "Egilman Report and
     18              Exhibits, Volume 3 of 3."
     19                         Marked as Exhibit 1D is a
     20              binder entitled "Egilman Opinions
     21              Revised."       And that captures the
     22              revised material that we got produced
     23              by plaintiffs.
     24                         Marked as Exhibit 1E is a flash

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      1              drive.      It has written on it
      2              "Dechert 1," and it contains Excel
      3              spreadsheets as part of Dr. Egilman's
      4              report.
      5                         And marked as Exhibit 1G is a
      6              black flash drive.           This contains
      7              Dr. Egilman's report, exhibits, the
      8              notice of deposition, and resource
      9              materials.
     10                         (Whereupon, Deposition Exhibit
     11              Egilman 1A, Egilman Expert Report and
     12              Exhibits, Volume 1 of 3 binder, was
     13              marked for identification.)
     14                         (Whereupon, Deposition Exhibit
     15              Egilman 1B, Egilman Expert Report and
     16              Exhibits, Volume 2 of 3 binder, was
     17              marked for identification.)
     18                         (Whereupon, Deposition Exhibit
     19              Egilman 1C, Egilman Expert Report and
     20              Exhibits, Volume 3 of 3 binder, was
     21              marked for identification.)
     22                         (Whereupon, Deposition Exhibit
     23              Egilman 1D, Egilman Opinions Received
     24              4-23-2019 binder, was marked for

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      1              identification.)
      2                         (Whereupon, Deposition Exhibit
      3              Egilman 1E, thumb drive, (DECHERT1),
      4              was marked for identification.)
      5                         (Whereupon, Deposition Exhibit
      6              Egilman 1F, 5-25-19 Report of David S.
      7              Egilman MD, MPH, was marked for
      8              identification.)
      9                         (Whereupon, Deposition Exhibit
     10              Egilman 1G, thumb drive, was marked
     11              for identification.)
     12              Q.         (BY MR. DONOHUE)          So that was
     13      all part of Dr. Egilman's report and
     14      accompanying materials.
     15                         This is -- if anyone needs to
     16      look at the report or the exhibits
     17      electronically, I have that hooked up to my
     18      computer right now.           And so that's what we'll
     19      be looking at, 1G, if we do that.
     20                         And then finally, marked as
     21      Exhibit 1F is just the report of Dr. Egilman
     22      dated March 25, 2019, and it's in a spiral
     23      binding for easy access.
     24                         Sorry about that distraction.

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      1                         Dr. Egilman, when were you
      2      retained in this litigation?
      3              A.         November of last year?
      4              Q.         Do you recall --
      5                         UNIDENTIFIED SPEAKER:            Can you
      6              speak up please?          We cannot hear you
      7              down here.        To the witness.
      8                         THE WITNESS:        November of last
      9              year.
     10              Q.         (BY MR. DONOHUE) Do you recall
     11      when in November of 2018 you were retained?
     12              A.         Second or third week.
     13              Q.         Second or third week.
     14                         Who retained you?
     15              A.         Ms. Conroy.
     16                         SPECIAL MASTER COHEN:            Let me
     17              interrupt and ask if there's any way
     18              to mic the witness, because this room
     19              has that -- the loud air conditioning.
     20              It's hard for me to hear him, so I
     21              know those folks can't.
     22                         MR. BLANK:       We can't hear a
     23              word.
     24                         MR. DONOHUE:        I don't know if

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      1              the videographer has a mic.
      2                         UNIDENTIFIED SPEAKER:            It's
      3              very difficult to hear on the phone.
      4                         MR. DONOHUE:        Let's go off the
      5              record for a second and see if we can
      6              fix this.
      7                         THE VIDEOGRAPHER:          Off the
      8              record.      The time is 9:16.
      9                         (Recess taken, 9:15 a.m. to
     10              9:24 a.m.)
     11                         THE VIDEOGRAPHER:          We are back
     12              on the record at 9:25.
     13              Q.         (BY MR. DONOHUE)          Dr. Egilman,
     14      before the break, you had testified that
     15      Ms. Conroy retained you in the second or
     16      third week of November 2018 for this
     17      engagement.        Do I have that right?
     18              A.         Yes.
     19              Q.         And how did Ms. Conroy retain
     20      you?
     21              A.         I think it was a phone call.
     22              Q.         And what were you retained to
     23      do?
     24              A.         Somewhere here I have printed

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      1      assignments.
      2                         There it is.
      3                         Okay.     So I was asked to
      4      determine within a reasonable degree of
      5      medical and scientific certainty whether or
      6      not various defendants working together
      7      and/or separately were significant factors of
      8      causing the opioid epidemic.
      9              Q.         Were you retained to do
     10      anything else?
     11              A.         That was my assignment.
     12              Q.         Did you enter into a written
     13      engagement with Ms. Conroy?
     14              A.         No.
     15              Q.         Do you have an oral agreement
     16      with respect to your engagement here?
     17              A.         Yes.
     18              Q.         What are the terms of the oral
     19      agreement that you have with Ms. Conroy with
     20      respect to your engagement?
     21              A.         I'm not sure I understand the
     22      question.
     23              Q.         Well, with respect to your
     24      engagement in this litigation, first of all,

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      1      what do you understand you are retained to do
      2      in the litigation -- strike that.
      3                         With respect to your engagement
      4      in this litigation, what case or cases are
      5      you retained as an expert on?
      6              A.         In the MDL, Cuyahoga and Summit
      7      County case.
      8              Q.         Are you retained as an expert
      9      by Ms. Conroy in any other case?
     10              A.         No.
     11                         MS. CONROY:       Objection.
     12              Q.         (BY MR. DONOHUE)          Are you
     13      currently retained as an expert by any of the
     14      plaintiffs' firms in the MDL action in any
     15      other case?
     16              A.         No.
     17              Q.         Have you been providing, with
     18      respect to your engagement in this
     19      litigation, any consulting advice?
     20                         MS. CONROY:       Objection.
     21                         THE WITNESS:        I'm not sure I
     22              understand the -- what you mean by
     23              "consulting advice."
     24              Q.         (BY MR. DONOHUE)          is it your

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      1      understanding that you've been retained in
      2      this litigation as a testifying expert?
      3              A.         Yes.
      4              Q.         Do you understand, if I use the
      5      term "consulting expert," what that means?
      6              A.         Yes.
      7              Q.         Have you been retained as a
      8      consulting expert in this litigation?
      9              A.         Maybe I understood what it
     10      means, because my understanding was that
     11      you're either a testifying or a consulting
     12      expert.      So if I'm a testifying expert, I
     13      can't be a consulting expert at the same
     14      time.     So maybe I didn't understand the
     15      difference.        But that was my understanding of
     16      the difference.
     17              Q.         Prior to this engagement, have
     18      you done any other engagements with
     19      plaintiffs' counsel?
     20                         MS. CONROY:       Objection.
     21                         THE WITNESS:        Please define
     22              "engagement."
     23              Q.         (BY MR. DONOHUE) In other
     24      words, have plaintiffs' counsel retained you

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      1      in the past for expert services in
      2      litigation?
      3              A.         Do you mean Ms. Conroy?
      4              Q.         We can start with Ms. Conroy.
      5              A.         Yes.
      6              Q.         How many times?
      7              A.         I think there were three cases
      8      for Federal-Mogul, and there were three
      9      opioid cases to 2003, 2005.               Those are Purdue
     10      cases.
     11                         I think that's all I've done at
     12      her request working with her.
     13              Q.         With respect to the three
     14      opioid cases that you were retained by
     15      Ms. Conroy's firm, what was the nature of
     16      your expert testimony in those cases?
     17              A.         Well, do you want the short
     18      answer or a long answer?
     19              Q.         Well --
     20              A.         I mean, I have the transcript
     21      of the deposition here.             I have my -- part of
     22      my report is incorporated in this report.
     23                         That's the short answer.             I can
     24      give you the long answer that goes through

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      1      the details of what I can recall testifying
      2      about.
      3              Q.         No, I don't want the long
      4      answer, but if you could tell us what your
      5      assignment was in those three opioid cases
      6      that you were retained in 2003 to 2005, that
      7      would be helpful.
      8              A.         I don't remember a specific --
      9      what the specific assignment was at this
     10      time, but the report, the deposition, there
     11      were, I think, several reports and
     12      depositions would have been my response to
     13      the assignment.         I don't know if I explicitly
     14      was asked for my assignment in a deposition,
     15      or whether I included that in the report.                     I
     16      don't recall.
     17              Q.         In the past, have you been
     18      hired as an expert for litigation services by
     19      Motley Rice?
     20              A.         I'm not sure who I was retained
     21      by, but I was in a case that Motley Rice
     22      tried.     I was retained by Orrick, I think, in
     23      that case.       And there was the -- I'm sorry,
     24      the asbestos trust case against the tobacco

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      1      companies.
      2                         I don't think I've testified in
      3      any cases or given depositions in any cases
      4      at the request of Motley Rice.                It's possible
      5      that there was an asbestos case.
      6              Q.         Have you been retained by the
      7      past -- excuse me, in the past for litigation
      8      services by the law firm of Spangenberg,
      9      Sibley & Lancione?
     10              A.         Not that I can recall.
     11              Q.         Have you been retained in the
     12      past for litigation services as an expert by
     13      Skikos Crawford?
     14              A.         No.
     15              Q.         Have you been retained in the
     16      past for litigation services by the law firm
     17      Mitchell Rafferty & Proctor?
     18              A.         Not that I can remember.
     19              Q.         Have you --
     20              A.         Let me just frame this a little
     21      bit, but it's come to my attention over time
     22      that law firms have listed me in a case
     23      without my knowledge or permission.                  So it's
     24      possible that that may have happened, but I

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      1      don't know whether it happened or not.
      2                         I know there are -- I know of
      3      some instances where that's happened, but I
      4      was never contacted by any of those firms to
      5      work on any cases.           Whether they listed me on
      6      cases without any knowledge or consent, I
      7      don't know.
      8              Q.         Do you recall specifically what
      9      law firm listed you without your permission
     10      in their case?
     11              A.         There are many.         But one of
     12      them is Farano.         Farano, I think, listed me
     13      in 15,000 cases, as I recall, without my
     14      knowledge or consent.
     15              Q.         Are there any other instances
     16      of where you were listed as an expert without
     17      your knowledge and consent other than the
     18      Farano case that you can remember?
     19              A.         There are others.          I can't
     20      remember all of them.
     21              Q.         Do you have any understanding
     22      why you were listed as an expert without your
     23      consent in those cases?
     24              A.         I assume they thought adding my

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      1      name to the list of witnesses would add value
      2      to the case for them.
      3                         But I don't know that.            In some
      4      way, shape, or form, they saw some advantage
      5      to listing me as a witness.
      6              Q.         Have you ever been compensated
      7      by a plaintiff's law firm for being listed as
      8      an expert in any of those cases?
      9                         MS. CONROY:       Objection.
     10                         THE WITNESS:        Which cases are
     11              you talking?         The Farano cases?
     12              Q.         (BY MR. DONOHUE)          Yes, the
     13      Farano cases or other cases where you were
     14      listed without your permission or consent.
     15      Have you ever been compensated by those
     16      plaintiffs' law firms for that act?
     17              A.         No.
     18              Q.         In the past have you been
     19      retained as an expert for litigation services
     20      by the Napoli Shkolnik firm?
     21              A.         No.
     22              Q.         So with respect to this
     23      engagement that we're here for today, how
     24      many hours have you personally spent?

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      1              A.         384.
      2              Q.         And what is the hourly rate
      3      that you're charging for your services in
      4      this litigation?
      5              A.         For deposition?         $650 an hour.
      6                         For everything else, it's $600
      7      an hour.
      8                         (Thomas J. McGarrigle from
      9              Reed Smith for AmerisourceBergen
     10              joined.)
     11              Q.         (BY MR. DONOHUE) Have you had
     12      others assisting you in this engagement?
     13              A.         Yes.
     14              Q.         Who have you had assist you in
     15      the engagement?
     16              A.         I have three or four staff, and
     17      I hired some students to do -- to assist.
     18              Q.         And could you tell us who are
     19      the staff that have assisted you in the
     20      engagement?
     21              A.         Sure.     Donna Barbarita.
     22              Q.         Could you spell the last name
     23      for the court reporter, please?
     24              A.         B-A-R-B-A-R-I-T-A.

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      1                         Samson Egilman.
      2                         Joan Steffen, S-T-E-F-F-E-N.
      3                         Muna Yiman, Y-I-M-A-N.
      4              Q.         Can you do the first name,
      5      spell it, please?
      6              A.         M-U-N-A.
      7                         Kevin Reardon.
      8                         And Alexis Biccirrilo.            And I
      9      cannot spell her last name.
     10                         But I could get it to you at a
     11      break, probably.
     12              Q.         Okay.     So the list of six
     13      people --
     14              A.         Oh, and one more.
     15              Q.         I'm sorry.
     16              A.         Triet Tran.       T-R-I-E-T, Tran.
     17      T-R-A-N.
     18              Q.         So the seven people that you
     19      just listed, does that include both staff and
     20      students?
     21              A.         No, that's staff.
     22              Q.         All right.       Could you please
     23      list out students that have assisted you in
     24      the engagement?

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      1              A.         Sure.     Emma McMillan, Emma
      2      Cavanish, Max Kozlow, Dan Cho.                Lindsay,
      3      whose last name I can't remember, but I can
      4      get you that at a break.
      5                         And Mark Hocevar,
      6      H-O-E-V-E-N-E-R. (sic)
      7              Q.         And I apologize, the first two
      8      students that you listed, they were both
      9      Emmas?
     10              A.         They are both Emmas.
     11              Q.         So Emma --
     12              A.         It does get confusing.
     13              Q.         So with Emma No. 1, what's her
     14      last name again?
     15              A.         I don't know which order I gave
     16      them to you, but one is named McMillan and
     17      one is named Cavanish.            Last name.
     18              Q.         Now, with respect to the seven
     19      staff members that you listed, are those
     20      staff that you employ?
     21              A.         Yes.
     22              Q.         What is Donna Barbarita's
     23      position?
     24              A.         Office manager.

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      1              Q.         And how did Ms. Barbarita
      2      assist you in the engagement?
      3              A.         She did copying.          Organizing of
      4      documents.
      5                         She may have helped search for
      6      some texts.        She did scanning of documents.
      7                         That would be, I think, most of
      8      the things that she did.
      9              Q.         And with respect to Samson
     10      Egilman, is that a relation of yours?
     11              A.         It is.
     12              Q.         And what relation?
     13              A.         He is my son.
     14              Q.         And what did your son do to
     15      assist you with respect to this engagement?
     16              A.         Well, he did some of the same
     17      things.      He also did some searching on
     18      relativity for documents.
     19                         Helped organize documents.              He
     20      did searches for some medical literature, I
     21      think.
     22              Q.         And what is your son's title?
     23              A.         Researcher.
     24              Q.         And then with respect to

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      1      Joan Steffen -- do I have that right?
      2              A.         You do.
      3              Q.         What's Ms. Steffen's title?
      4              A.         Researcher.
      5              Q.         And how did Ms. Steffen assist
      6      you in this engagement?
      7              A.         Similarly.       Did searches of the
      8      database.       Or helped organize -- she helped
      9      organize the report.
     10                         They all did similar things.
     11      So -- but that's what she did.                She didn't
     12      work that much on this case.               She did some
     13      work.
     14              Q.         And with respect to Muna Yiman?
     15              A.         Yiman.
     16              Q.         Yiman.     I apologize.
     17              A.         No problem.
     18              Q.         What's her role?
     19              A.         Same as Joan's.         She did some
     20      searches, some organizing of documents, some
     21      preparation, preparation of the organization
     22      that you see in the room.              Sometimes I think
     23      she -- sometimes I wanted books ordered and
     24      she might order the books.              Go to the

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      1      library, get articles.
      2              Q.         Okay.     With respect to
      3      Kevin Reardon, what's his title?
      4              A.         Researcher.
      5              Q.         And what was his role in
      6      assisting you with the engagement?
      7              A.         Same thing.       To do searches of
      8      the database, organize documents.                 He, I
      9      think, reviewed some depositions as well.
     10      Certainly he -- he read my deposition.
     11                         And those are the tasks that he
     12      did.    They all pretty much do the same thing.
     13              Q.         Okay.     Alexis Biccirrilo?
     14              A.         Yes.
     15              Q.         What's her title?
     16              A.         Researcher.
     17              Q.         And same tasks as you listed
     18      before?
     19              A.         Yes.
     20              Q.         And Triet Tran?         Is she also a
     21      researcher?
     22              A.         It's a he, and, yes.
     23              Q.         I apologize.
     24              A.         No problem.

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      1              Q.         Same task as you've listed
      2      before for the other research?
      3              A.         Essentially.        They pretty much
      4      all do the same thing.
      5              Q.         Are all of the staff that you
      6      just listed, those seven people, full-time
      7      employees?
      8              A.         Yes.
      9              Q.         And with respect to their work
     10      for you, as your staff, do they only assist
     11      in litigation services?             Or do they do other
     12      work for you?
     13              A.         They do other work for me.
     14              Q.         Okay.     What are some of the
     15      other things they do if they're not assisting
     16      you with your expert work in litigation?
     17              A.         They do work on other
     18      consulting work for companies, and they also
     19      work on writing papers.             Which may not lead
     20      to litigation, so they do research on --
     21      academic research on various issues.
     22                         They also help with the
     23      non-profit that I run called Global Health
     24      Education Training Service.

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      1                         So we also have certain public
      2      education efforts, and they do that.
      3                         So, for example, they're --
      4      we've been recent -- I met with the FDA on
      5      talc issues, and they helped organize the
      6      materials for that presentation.
      7                         They met with Congress people
      8      with respect to talc issues on two occasions.
      9      Third occasion coming up, so two.
     10                         We prepared materials for the
     11      congressional subcommittee.
     12                         We provide information to --
     13      they help -- they help -- they all teach my
     14      course, or help teach my course at Brown.                     So
     15      they TA the course.           Help prepare materials
     16      for the course.
     17                         When I give talks, they
     18      generally help prepare the materials for the
     19      talks, PowerPoints and other things like
     20      that.
     21                         That's most of what they do.
     22              Q.         How many hours did your staff
     23      collectively work on this engagement?
     24              A.         That, I don't know.           I don't

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      1      have that number.
      2              Q.         Can you estimate?
      3              A.         No.
      4              Q.         Would you say that in the last
      5      four months that you've been engaged for this
      6      litigation, your staff has worked full time
      7      on it?
      8              A.         Oh.    My staff usually works
      9      more than 40 hours a week.              Not always.        But
     10      my staff has been involved in a variety of
     11      issues over this time period, not related to
     12      the opioids.        So I don't know.          It's
     13      conceivable that they worked an average of 30
     14      or 40 hours for six or eight or ten of those
     15      weeks.
     16                         Some of them were taking
     17      vacations and other things, so I -- I really
     18      don't know that.
     19              Q.         Are you billing the hours that
     20      your staff works on this engagement --
     21              A.         Yes.
     22              Q.         -- to the plaintiffs?
     23              A.         Yes.
     24              Q.         And how do you do that billing?

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      1                         Do you prepare monthly bills?
      2              A.         No.    We just keep the
      3      cumulative hours and usually every three or
      4      four months I send the bill.
      5              Q.         And how are the cumulative
      6      hours kept?
      7              A.         Well, I keep them rolling on
      8      a -- on a phone.          So when I do hours, I put
      9      the total hours of numbers in the day and
     10      change the total.
     11              Q.         So your staff reports to you on
     12      a daily basis the hours they've worked?
     13              A.         No.    That's what I do.          I
     14      actually don't know how they keep their
     15      hours.     I think they do something similar.
     16              Q.         How does your staff report to
     17      you the hours that they've worked on this
     18      engagement?
     19              A.         They don't report to me the
     20      hours they've worked on the engagement.
     21              Q.         How do you know how much to
     22      bill your staff out for this occasion?
     23              A.         They report to Donna Barbarita,
     24      and she generates the bill.

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      1              Q.         And what are you charging with
      2      respect to your staff members with respect to
      3      this engagement?
      4              A.         I don't know.        Usually 50 to
      5      $70 an hour.        I don't know what the billing
      6      is really.
      7              Q.         So that 50 to $75 an hour would
      8      be for the seven people that we've identified
      9      as your staff?
     10              A.         Correct.
     11              Q.         Did you rely on information
     12      from your staff to develop the opinions in
     13      your report?
     14              A.         Sure.     The research that they
     15      did formed the basis of some of the opinions
     16      in my report.
     17              Q.         How does your staff know what
     18      to do?     How do you instruct them to assist
     19      you in the engagement?
     20              A.         Well, we meet and discuss the
     21      issue generally to start.              Different staff
     22      people are given different areas to do
     23      research on.
     24                         And then they talk to each

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      1      other about the iterative searches they've
      2      done and the work they've done.                 And then
      3      when I find something, generally I yell at
      4      them, out my door, because they're all right
      5      outside my door, and I say, "Hey, could
      6      somebody go get me this?"              Or "Go check
      7      that?"
      8                         And so that's -- a lot of the
      9      direction comes in that form.
     10                         And they interact with each
     11      other as well.         Decide amongst themselves
     12      what they think are important, sharing
     13      documents back and forth.              And they try to
     14      co-create -- as we go through, we try to
     15      create various outlines which go in a --
     16      well, like this thing.            This 3M thing, we
     17      have a sticky thing.            It's not a sticky
     18      thing, but I have several sticky ones.                    So we
     19      might write different topics up, and people's
     20      names get attached to those topics.                  We do a
     21      little research on those things.
     22                         Sometimes -- I may give you an
     23      example.      For example, I was interested in
     24      the anthropology of pain and sociology of

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      1      pain.     So Alexis was a sociology major.                 Joan
      2      was an anthropology major.              So I had Alexis
      3      put together -- or go get me sociology on the
      4      anthropology of pain and organize that.
      5                         So that's how things happen.
      6      It's a fairly non-linear organizational
      7      management style, I would say.
      8              Q.         Do you provide instructions --
      9      written instructions to your staff to assist
     10      you in this engagement?
     11              A.         No.    I yell at them.
     12              Q.         With respect to the flip charts
     13      that you mentioned, where their outlines are
     14      created, do you have those as part of your
     15      file with respect to this engagement?
     16              A.         I don't think so.          Because we
     17      generally don't keep them up.                I may have one
     18      or two.
     19              Q.         But you haven't kept the flip
     20      charts as part of your expert file?
     21              A.         No, not as a -- not on a
     22      regular basis.         We may have one in my office
     23      now.
     24              Q.         Do you ever give your staff

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      1      instructions by e-mail with respect to
      2      engagements?
      3              A.         Sometimes.
      4              Q.         Did you give your staff any
      5      instructions to assist in this engagement?
      6              A.         Yes.
      7              Q.         Do you still have those
      8      e-mails?
      9              A.         Well, that wasn't done by
     10      e-mail.
     11              Q.         Maybe I got confused.            Let me
     12      ask again.
     13                         As part of this engagement, did
     14      you provide instructions to your staff on how
     15      to assist you?
     16              A.         From time to time, over the
     17      past four months, I'm sure I've sent them
     18      e-mails saying "Get me this" or "Get me
     19      that."     But most of my communications with
     20      them is by yelling.
     21              Q.         With respect to the students
     22      that you listed, which I think there were six
     23      students, are there --
     24              A.         There's a couple of others.               We

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      1      did some manual work too, but I don't
      2      remember their names.            I can't spell them.
      3              Q.         Let's talk about the work
      4      that's -- the six students that you mentioned
      5      did.
      6                         How did the students assist you
      7      in this engagement?
      8              A.         Well, differently.           They had
      9      different -- they more or less had research
     10      tasks.     So -- because I tried to make the
     11      work academic for them in their area of
     12      interest.
     13                         So Emma Cavanish had worked at
     14      a marketing company, so she helped put
     15      together the marketing literature.                  So I have
     16      a lot of marketing literature.                One of the
     17      things she did was organize all of that
     18      marketing literature.            And she did some
     19      researches -- oh, one of the searches she
     20      did, she did -- she came up with a list of
     21      sex terms.       And she did searches to the
     22      database for sex terms.             Hookers, tootsies,
     23      things like that.
     24                         So she did a specific search

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      1      for sex terms.
      2                         And so that was one thing she
      3      did.
      4                         Eva -- Emma McMillan was
      5      interested in epidemiology, so I worked with
      6      her to look at the whole issue of the
      7      pay-for-play, impact in action that generated
      8      EERW.     And that criticism of the EERW that's
      9      in the report came out of that work.
     10                         Dan Shaw and Mark Hocevar
     11      worked on deconstructing the Fishbain paper
     12      from 2008.       And that work resulted in the
     13      poster that's here that they presented at the
     14      All Ivy conference on Saturday.                 And so that
     15      was -- that was their work.               So they had to
     16      do a lot of digging, because a lot of the
     17      citations in the Fishbain work in 2008 were
     18      unfindable.        Because I don't know if they
     19      existed or not, but he couldn't find two of
     20      the 23 papers that he cited as evidence for
     21      the dictionaries, and then they did the
     22      reanalysis.        So I worked with them on that
     23      poster presentation.
     24                         And they're working on a paper

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      1      now they were -- draft paper they're working
      2      on that will also be submitted along with --
      3      after the -- sometime now.
      4                         So -- was that what you wanted
      5      to know?      Think there was something I left
      6      out.
      7              Q.         Did you get Max and Lindsay?
      8              A.         Oh, yeah.      Max.     Max -- Max
      9      deconstructed the complaint and went through
     10      the complaint.         Tried to make sure we had all
     11      the documents that were cited on the
     12      complaint.       Tried to organize them by themes.
     13                         As you know, I -- the
     14      complaints had about nine or ten, for want of
     15      a better word, bad acts, which I condensed
     16      into basically two in my analysis of what was
     17      going on.
     18                         And so he went through the
     19      complaint and tried to place those bad -- the
     20      way the plaintiffs had done it.                 And we also
     21      did the Massachusetts complaint, in
     22      reorganizing in that portion in the way that
     23      I conceived of the -- of the cause of the
     24      opioid epidemic.

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      1                         Max also did some -- we did
      2      some cross-checking of language.                 I think you
      3      saw that probably in your report, where
      4      duplicate language was taken from Purdue and
      5      used in marketing materials produced by some
      6      of the front organizations.               So he did some
      7      searches, looking for where language was
      8      copied directly from manufacturers that went
      9      into -- directly into the marketing materials
     10      by the -- produced by the front
     11      organizations.
     12                         So he did that.
     13                         There was one other -- there's
     14      one other poster here that he had a -- that
     15      was -- that was his find.              So, you know.
     16                         So that's pretty much what -- I
     17      think what Max did.
     18                         What was the last one?
     19              Q.         Before we move to that, Max
     20      presented at the All Ivy conference?
     21              A.         No. Dan Cho and Mark --
     22                         Dan Cho presented but the
     23      poster was done by he and Mark Hocevar, who
     24      are med students at Brown.

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      1              Q.         And what was the nature of the
      2      presentation at the All Ivy conference?
      3              A.         I'll get it for you.
      4                         I should have -- we have a
      5      poster on that.         So it should be here.
      6                         Oh, here it is.         Yeah, here it
      7      is.
      8                         So this is the poster that he
      9      did.
     10                         So this is the -- this is the
     11      poster that he just presented.                So it starts
     12      with a historical description of the hockey
     13      stick and the epidemic.             And -- can I -- ties
     14      the epidemic for addiction.               And these are
     15      the specific -- this is taken from a
     16      published paper.
     17                         So this ties to the rise of the
     18      epidemic for specific marketing acts done by
     19      the manufacturers.
     20                         This is the reconstruction of
     21      the Fishbain paper.           Fishbain took 23 papers
     22      of which -- they're not really papers.                    He
     23      took 23 things, two of which we could never
     24      find, including communicating within him.                      We

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      1      couldn't find him, I think.
      2                         And so this is a breakdown of
      3      those papers.        And how many patients came
      4      from each of those papers.
      5                         And this is a -- the -- you can
      6      see the one study from Fishbain, the
      7      Milligan, Passik, and Taub paper, provides
      8      56 percent of the total participants and had
      9      a very low addiction rate.              But there was
     10      another study that was also large and had a
     11      stream of zero.
     12                         So what we did was we tried to
     13      use a standard definition for addiction,
     14      because the -- where the papers had not
     15      really looked for addiction, we threw them
     16      out.    So an addiction rate, the reason one
     17      had an addiction rate of zero was because it
     18      didn't really look for addiction.
     19                         So when you take the -- this is
     20      the Fishbain, original Fishbain results.
     21      Original Fishbain results has 2,102 patients,
     22      97 percent of which are not addicted.
     23      Three percent are addicted, and that's where
     24      he came up with the 3.87.

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      1                         But if you look at studies --
      2      if you look at the -- if you throw out the
      3      studies that you either can't find or --
      4      because they either may or may not exist, or
      5      you look at the studies where they actually
      6      look for addiction, you get a different rate.
      7      And that -- that gives you about 750
      8      patients, of which 33 percent are addicted.
      9                         So that's the gist.
     10              Q.         Thank you for that.
     11                         Did Mr. Cho and Mr. Hocevar
     12      rely on any information that they reviewed as
     13      part of this engagement to make that
     14      presentation?
     15              A.         They didn't rely on it, because
     16      it's confidential.           They couldn't put it in.
     17      But they reviewed.
     18                         Now, there are things in here
     19      that -- for example, Fishbain didn't disclose
     20      his associations with the litigation and
     21      Purdue in particular in the published paper.
     22                         But what we did get --
     23                         Now, I probably had this in
     24      2006, but at any rate, in relative -- in the

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      1      database with our documents were his reports
      2      for Purdue during the time period that he was
      3      preparing and publishing this paper.                   And
      4      some of those were cited in federal cases.
      5      So we cited those federal cases as evidence
      6      that he had misrepresented his
      7      non-association with the pharmaceutical
      8      companies in the end of this -- in the end
      9      here.     Okay?
     10                         But we had more information on
     11      his associations with the pharmaceutical
     12      manufacturers which we didn't include because
     13      it was confidential.
     14                         It's like we did rely on it in
     15      a sense because it supported the construct
     16      that he had misrepresented the nature of his
     17      relationship with the manufacturers, as in
     18      not mentioning it.
     19              Q.         How many --
     20              A.         Oh, I think one other thing.               I
     21      think the students -- before we got the
     22      cases, the students e-mailed Fishbain and
     23      asked him if during this time period he
     24      published this, he had any conflicts of

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      1      interest.       And he wrote an e-mail back saying
      2      no, amongst other things.
      3                         The other things where he
      4      criticized him -- the general anticorporate
      5      construct in the -- and cynical views of the
      6      medical and scientific views toward
      7      corporations.
      8              Q.         And do you have that e-mail
      9      still?
     10              A.         I don't know if I have it, but
     11      Dan probably has it.
     12              Q.         As part of this engagement,
     13      have you kept copies of the e-mails that
     14      either the students or staff have sent and
     15      received?
     16              A.         No, I don't keep any e-mails.
     17                         You know Jones Day is in the
     18      room, right?
     19                         MR. DONOHUE:        I'll move to
     20              strike as nonresponsive.
     21              Q.         (BY MR. DONOHUE)          A number of
     22      the students that you have had assisting you
     23      in the -- in this engagement, how many hours
     24      would you estimate that they have worked in

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      1      the last four months?
      2              A.         I don't know.        Not much,
      3      because they mostly worked in January during
      4      inter-session.         But unfortunately, they
      5      actually have to go to school.                Now, Brown is
      6      pretty easy, okay?           But they still have to
      7      show up for class and do some work.                  So they
      8      haven't done that much in the last couple of
      9      months.
     10              Q.         And these are all students from
     11      Brown?
     12              A.         They're all Brown students.
     13              Q.         Are the students compensated
     14      for the work that they have done to assist
     15      you on the engagement?
     16              A.         For some.      They didn't get paid
     17      to do the academic work, so.
     18                         But some of this research they
     19      did was for me in preparation for the report.
     20      So I paid them for that, but I didn't pay
     21      them for doing the poster or for writing up
     22      the papers.        That's their own.
     23              Q.         So what do you pay the students
     24      for with respect to this engagement?

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      1              A.         Well, I pay them while they're
      2      doing research for me related to the
      3      litigation.        I don't pay them for work
      4      related to generating medical publications or
      5      scientific publications.             It's in the
      6      disclosure here, so ...
      7                         It says "DKC and MH worked as
      8      paid student researchers for the -- at the
      9      request of plaintiffs in opioid litigation.
     10      DKC and MH were not compensated by law firms
     11      for work on the paper.            The lawyers for the
     12      plaintiffs did not review the paper and had
     13      no input into the content of the paper.
     14      Dr. Egilman serves as an expert witness at
     15      the request of cities and counties suing
     16      opioid manufacturers and distributors for
     17      money to help pay for the financial costs of
     18      the opioid epidemic."
     19                         The reason I'm in here is I'm
     20      not an author of this, but they did
     21      acknowledge me as helping them prepare the
     22      work.
     23              Q.         Do you pay the students with an
     24      hourly rate?

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      1              A.         I do.
      2              Q.         What's the hourly rate?
      3              A.         $20 an hour.
      4              Q.         How much have you been paid to
      5      date for this engagement?
      6              A.         Nothing.
      7                         Well maybe I got a $10,000
      8      retainer, but that's it.
      9              Q.         Have you sent any bills to the
     10      plaintiffs for your work on this engagement?
     11              A.         Just the retainer bill.
     12              Q.         How much are you currently owed
     13      for the engagement?
     14              A.         384 hours times $600.
     15              Q.         What about the hours that your
     16      staff has worked on the engagement?
     17              A.         I don't have that number.
     18              Q.         But you'll be asking for
     19      compensation with respect to the
     20      reimbursement for the hours that your staff
     21      has worked; right?
     22              A.         Yes.
     23              Q.         Can you estimate for us what
     24      that would be?

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      1              A.         No.
      2              Q.         Is it more than 384 hours?
      3              A.         I don't know.
      4              Q.         No idea?
      5              A.         I do not have any idea whether
      6      it is more or less than 384 hours.
      7              Q.         Do you have any idea of what
      8      ballpark of the hours is that your staff has
      9      worked?
     10              A.         I do not.      It's probably
     11      several hundred hours, I would say.                  It's not
     12      ten minutes, but I don't know how many hours.
     13      And I may be off.          It may not be several
     14      hundred hours.
     15              Q.         When it comes time to submit a
     16      bill for the hours that your staff has paid,
     17      how are you going to figure that out?
     18              A.         They keep track of their hours.
     19      The hours go to Donna Barbarita.                 Donna
     20      Barbarita will send a bill.
     21              Q.         So you believe Donna Barbarita
     22      currently has information about the number of
     23      hours your staff has worked on this
     24      engagement?

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      1              A.         I don't think so.
      2                         MS. CONROY:       Objection.
      3                         THE WITNESS:        I don't know if
      4              they've given her --
      5                         I don't think they've given her
      6              the hours.        So they each have their
      7              own hours.
      8              Q.         (BY MR. DONOHUE)          And what
      9      would you estimate the number of hours that
     10      your students have worked on this engagement?
     11              A.         Same thing.       I don't have a
     12      good idea about that.            But mostly -- I mean,
     13      they work -- they work, you know, around 15
     14      to 30 hours for three or four weeks in
     15      January, and then after that, you know, five
     16      to 15 hours, maybe -- I doubt it -- in the
     17      next couple of months.
     18              Q.         How much of your income last
     19      year was from expert work in the litigation?
     20              A.         Probably half.
     21              Q.         What were your other sources of
     22      income for last year?
     23              A.         Consulting for companies.
     24              Q.         Is that non-litigation

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      1      consulting?
      2              A.         It's confidential consulting.
      3              Q.         Any other sources of income for
      4      last year?
      5              A.         Sure.
      6              Q.         What else?
      7              A.         Investments.
      8                         That's about it.
      9              Q.         Does Brown pay you anything?
     10              A.         A library card.         Discount on
     11      that.
     12                         The library card is probably
     13      worth about $50,000 to me, just to give you a
     14      number.
     15                         The year before I got free
     16      parking, when I was teaching a course.                    They
     17      paid for the parking.
     18              Q.         Are you currently teaching any
     19      courses at Brown?
     20              A.         Not this semester.
     21              Q.         Do you plan on teaching next
     22      semester?
     23              A.         I do.     Well, no.       I plan on
     24      teaching -- because of this case, I plan on

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      1      teaching the next spring.
      2              Q.         Are you still practicing
      3      medicine?
      4              A.         I still have a license to
      5      practice, and I still occasionally see
      6      patients.
      7              Q.         How many patients would you say
      8      you now see?
      9              A.         Well, when I'm doing -- I
     10      probably see 10 or 15 consulting patients a
     11      year and maybe one or two regular patients
     12      who call me up or something I've seen them
     13      before for.
     14              Q.         Do you have an office where you
     15      practice medicine?
     16              A.         I do.
     17              Q.         Is it the same office you use
     18      for your expert litigation?               Or different?
     19              A.         It's a slightly different
     20      suite.
     21                         I have -- in my office I have
     22      about eight rooms.           In one of the rooms I
     23      have a medical setup.
     24              Q.         Speaking of the protective

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      1      order, were you provided the protective order
      2      in this case?
      3              A.         Yes.
      4              Q.         Did you review it?
      5              A.         Yes.
      6              Q.         And did you sign it?
      7              A.         Yes.
      8              Q.         And did you agree to be bound
      9      by it?
     10              A.         Yes.
     11              Q.         What about the staff that
     12      you've listed as helping you on the case?
     13                         Did -- were they provided the
     14      protective order?
     15              A.         Yes.
     16              Q.         Did they sign it?
     17              A.         Yes.
     18              Q.         Did they agree to be bound by
     19      it?
     20              A.         Yes.
     21              Q.         And the students that you
     22      mentioned, the six students, did it -- were
     23      they provided the protective order?
     24              A.         Yes.

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      1              Q.         Did they sign it?
      2              A.         Yes.
      3              Q.         And they agreed to be bound by
      4      it?
      5              A.         Yes.
      6              Q.         Do you have a copy of those
      7      signed protective orders?
      8              A.         Someplace.
      9              Q.         Okay.
     10              A.         Not on me.
     11                         I think they were all sent to
     12      the plaintiff.         I'm not completely sure that
     13      I kept copies.         The lawyers have copies.
     14              Q.         We'll follow up on that
     15      separately.
     16                         Have you in the past violated
     17      court orders?
     18                         MS. CONROY:       Objection.
     19                         THE WITNESS:        I need to look at
     20              that settlement agreement to answer
     21              that question.          I'm sure that -- I
     22              don't recall the language exactly.
     23              Q.         (BY MR. DONOHUE) What
     24      settlement agreement are you referring to?

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      1              A.         Between me and Lilly.
      2              Q.         I'm sorry, I didn't hear you.
      3      Between --
      4              A.         Between me and Lilly.
      5              Q.         What case was that?
      6              A.         Zyprexa.
      7              Q.         In the Zyprexa litigation, do
      8      you recall whether the Court in that case
      9      found that you had violated the Court's
     10      protective order?
     11              A.         That's in dicta in a case in a
     12      ruling on the TRO that I wasn't at, yes.
     13      Something like that.
     14              Q.         Did you violate the Court's
     15      protective order in the Zyprexa case?
     16              A.         I need to look at the language
     17      that I wrote in the Lilly settlement before I
     18      answer that question.            I need to refresh my
     19      recollection.
     20              Q.         Where is that settlement?
     21              A.         Where is that settlement?              It's
     22      in my office.
     23              Q.         So you have access to it?
     24                         You can refresh your

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      1      recollection when you go back to your office?
      2              A.         If I went back to my office, I
      3      could find the document and I could refresh
      4      my recollection.
      5              Q.         And what is it that you need to
      6      refresh your recollection about with respect
      7      to the settlement agreement before answering?
      8              A.         Well, that was a finely crafted
      9      document.       And I need to recall exactly what
     10      was in it.       And I can't recall exactly what
     11      was in it.       It's been 9 -- 12 years.              So
     12      before I answer questions about that, I want
     13      to refresh my recollection of what actually
     14      was signed and what happened.
     15              Q.         All right.       Are there any other
     16      instances you recall where you have violated
     17      a Court's order?
     18              A.         No.
     19              Q.         Do you recall the Ballinger v.
     20      Brush Wellman, Incorporated case?
     21              A.         Correct.
     22              Q.         Do you recall posting materials
     23      in violation of the Court's order in that
     24      case?

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      1              A.         That's not what happened.
      2              Q.         What did happen?
      3              A.         Jones Day hacked my computer,
      4      downloaded materials from my computer,
      5      illegally, then -- pardon me.                Keller and
      6      Heckman in Washington, representing the
      7      Society for the Plastic Industries, hacked my
      8      computer in a case -- in the Staples case,
      9      the vinyl chloride case in Texas.                 They then
     10      shared the password with Kelly Stewart at
     11      Jones Day.       Kelly Stewart of Jones Day then
     12      hacked my computer, downloaded materials that
     13      were not publicly available because my
     14      computer was password-protected.
     15                         Went to the judge, told the
     16      judge I had violated a gag order.                 He lied to
     17      the judge.       And the judge believed him.
     18      Okay?     The judge issued a sanction.               The
     19      sanction was more or less reversed by the
     20      Colorado Appellate Court, cert. denied to the
     21      Supreme Court of Colorado.
     22                         I filed a lawsuit against
     23      Keller and Heckman, and it was thrown out on
     24      the law.      It's the lead case in the

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      1      Millennium hacking statute.               It's Egilman
      2      versus Keller and Heckman.
      3                         I then filed a bar complaint
      4      against Kelly Stewart in Dallas.                 Kelly
      5      Stewart, at the bar complaint, admitted that
      6      he had illegally hacked my computer, a
      7      federal felony, 10 years in jail and a
      8      $50,000 fine, on videotape.               No written
      9      record.
     10                         The bar in Dallas issued a
     11      written sanction to him, which was not to be
     12      publicly disclosed, for counseling, and found
     13      that -- I think the language was that my
     14      complaint had merit.            The vote was 4 to 1.
     15                         So that's what happened in that
     16      case.
     17              Q.         When is the first time that you
     18      gave expert testimony in support of
     19      litigation?        Do you recall your first case?
     20              A.         Yeah, my first case is Time
     21      versus OCF.        It's a Third Circuit case.
     22              Q.         What year was that?
     23              A.         Third Circuit decision, I think
     24      it was '87 or '88.           The case was, I think, in

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      1      '86.
      2              Q.         Do you recall the area that you
      3      were giving expert testimony on --
      4              A.         Yes.
      5              Q.         -- in that case?
      6                         What was it?
      7              A.         Well, it was the supervisor at
      8      the Hess oil refinery in St. Croix who had
      9      been exposed to asbestos and developed
     10      pleural plaques.
     11                         He sued Owens Corning and a
     12      variety of other asbestos product
     13      manufacturers for injuries related for the
     14      pleural disease that he got as a result of
     15      the exposure.
     16                         I testified -- there were two
     17      trials.      There's -- in the first trial, the
     18      first trial only went to -- week and a half,
     19      and the judge got sick and unfortunately
     20      passed away.
     21                         I hope that doesn't happen to
     22      anybody in this case.
     23                         And then he -- there was a
     24      second trial, and in the second trial I

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      1      testified on state of the art warnings, risk
      2      communication, asbestos medicine, and a
      3      variety of other issues.
      4              Q.         How many times in your career
      5      have you been retained as an expert witness?
      6              A.         I don't know about career, but
      7      I've been retained as an expert witness in
      8      probably over 4 or 500 cases.
      9              Q.         And of the 4 or 500 cases that
     10      you've been retained as an expert witness,
     11      how many of those would you estimate have
     12      been as a testifying expert?
     13                         MS. CONROY:       Object to the
     14              form.
     15                         THE WITNESS:        Well, the ones I
     16              gave you, that's the ones based on
     17              testifying.
     18              Q.         (BY MR. DONOHUE)          Okay.     Would
     19      you add to that number if we included
     20      retentions as a consulting expert?
     21              A.         I've done other consulting
     22      expert work, yes.
     23              Q.         How many cases would you
     24      estimate you'd been retained as a consulting

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      1      expert?
      2              A.         That, I don't know.
      3              Q.         Would it be about the same
      4      number or less?
      5              A.         I do not know.
      6                         For example, I might be
      7      consulting with someone and I don't know how
      8      many cases there are.            Somebody might be
      9      sued -- a corporation might be sued for
     10      thousands of cases.           My consulting might
     11      relate to the general issues relating to
     12      thousands of cases.           I don't know the answer
     13      to that question.
     14              Q.         I'm not asking about the number
     15      of cases.       I'm asking about the number of
     16      times you've been retained as a consulting
     17      expert.
     18              A.         Well, okay.       I don't know.         I
     19      don't know that either.
     20              Q.         Can we go to your expert
     21      report?      We've marked one of the copies 1F.
     22      Would you like a copy of that?                It's got a
     23      spiral binding so it's easy to flip through.
     24              A.         Sure.

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      1              Q.         And would you mind turning to
      2      page 139 of your expert report.
      3              A.         Okay.
      4              Q.         Okay.     Page 139 is entitled
      5      "Prior Expert Testimony."              Is this a complete
      6      list of the depositions and trial testimony
      7      you've given since 2015?
      8              A.         As well as I could put it
      9      together.
     10              Q.         Do you recall testifying in
     11      July of 2015 in a case captioned Montgomery
     12      v. Home Depot?         It was in the Southern
     13      District of California.
     14              A.         No, I don't believe I testified
     15      in that case.
     16              Q.         Okay.     Looking at page 139 --
     17              A.         What year was that case?
     18              Q.         2015.
     19              A.         I don't recall.
     20              Q.         Well, if it -- if you do have a
     21      memory of it, we could add it into the list,
     22      but.
     23              A.         I don't have a memory of it.               I
     24      can go look.

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      1              Q.         Turning your attention to
      2      page 139 of your expert report.
      3                         In each of these listed cases,
      4      have you testified on behalf of the
      5      plaintiffs?
      6              A.         No.
      7              Q.         So --
      8              A.         I don't testify on behalf of
      9      anybody.
     10              Q.         Let me rephrase the question.
     11                         With respect to the cases
     12      listed on page 139 of your report, were you
     13      retained by the plaintiffs in each and every
     14      one of those cases?
     15              A.         I believe so.
     16              Q.         You previously testified that
     17      you'd estimate you've been retained 4 to 500
     18      times as an expert; do you remember that?
     19              A.         Yes.
     20              Q.         Out of the 4 to 500 times
     21      you've been retained as an expert, in each of
     22      those cases have you been retained by the
     23      plaintiff?
     24              A.         No.

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      1              Q.         How many times have you been
      2      retained by the defendant in those 4 to 500
      3      cases?
      4              A.         Probably 150.        200.
      5              Q.         When is the last time you
      6      recall being retained by a defendant as an
      7      expert in litigation services?
      8              A.         Yesterday or the day before.
      9              Q.         What case is that?
     10              A.         I don't remember the case.
     11      It's a Viking Pump case.             I don't know the
     12      name.
     13              Q.         A Viking Pump?
     14              A.         Viking Pump.
     15              Q.         And putting aside your
     16      retention yesterday, when is the last time
     17      you recall being retained by a defendant as
     18      an expert?
     19              A.         The week before.
     20              Q.         In the last four to five years,
     21      have you testified on behalf of a defendant?
     22              A.         I don't testify on behalf of
     23      defendants or plaintiffs.
     24              Q.         Have you testified in any case

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      1      in the past four years where you were
      2      retained by a defendant?
      3              A.         No, because it would be here.
      4      But I have in the past.
      5              Q.         So when is the last time you
      6      recall testifying as an expert when you've
      7      been retained by a defendant?
      8              A.         Probably about five --
      9      actually, no, there's -- there must be a case
     10      missing because I think two years ago, I gave
     11      a deposition at the request of a plaintiff in
     12      a defense case, so there's one case specific.
     13      So that's probably about two years ago.
     14              Q.         So your answer said you gave a
     15      deposition at the request of a plaintiff in a
     16      defense case?
     17              A.         Well, I was working for
     18      Viking Pump, the defendant.               I was deposed by
     19      the plaintiff.
     20              Q.         Got it.      You mentioned the
     21      Viking Pump cases.           Do you recall any other
     22      defendants that have retained you as an
     23      expert?
     24              A.         Yes.

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      1              Q.         What other defendants?
      2              A.         Well, the ones that I mentioned
      3      when I first met Ms. Conroy.               She retained me
      4      at the request of Federal-Mogul.                 Turner &
      5      Newall was the underlying company, but
      6      Federal-Mogul, I think was the owner.                   So
      7      those three cases were Federal-Mogul cases.
      8                         Then I've done -- I did an A.E.
      9      Smith boiler case.
     10                         I did a variety of workers'
     11      compensation cases when I was running the
     12      clinic in Braintree.
     13                         I did a lead case when I was
     14      running the clinic in Braintree.
     15                         I did some other -- I think
     16      it's one or two other boiler manufacturer
     17      cases.     I'm sorry, pump manufacturer cases.
     18                         That's what I can remember.
     19              Q.         So your testimony is that out
     20      of the 4 to 500 cases where you've been
     21      retained, approximately 150 to 200 of those
     22      you were retained by the defendant to be an
     23      expert?
     24              A.         Think you're -- the 4 to 500

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      1      are cases I gave testimony in.                Okay?     The
      2      100 to 150, or whatever I gave for a number
      3      for the defense cases, the cases I've been
      4      retained in, in most of those cases, aside
      5      from two or three of those cases, maybe four
      6      of them, maybe five, I did not give testimony
      7      in those cases.         Those cases settled.            But I
      8      was retained and gave reports in all those
      9      cases.
     10              Q.         Okay.     So let me go back.
     11                         Out of the 4 to 500 cases where
     12      you have testified as an expert, how many of
     13      those cases have you testified when you've
     14      been retained by a defendant?
     15              A.         Probably 10 or so.
     16                         Well, no, wait.         I gave you
     17      some others.        So maybe 10 to 15.
     18              Q.         And you mentioned that you
     19      believe, putting aside whether you testified
     20      as an expert or not, "I've been retained by
     21      defendants in 150 to 200 cases"; do I have
     22      that right?
     23              A.         Correct.      Or more.       I currently
     24      have about 50 or 60 cases for Viking Pump.

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      1      And I've been working for them for five or
      2      six years, and probably that's my average
      3      caseload for them over that time period.                     So
      4      I may have underestimated the total number of
      5      Viking Pump cases that I've done, I've been
      6      retained over the last four or five years,
      7      but that's my best estimate.
      8              Q.         So how many cases have you been
      9      retained as an expert by plaintiffs?
     10              A.         That, I don't know.           Mostly --
     11      mostly the plaintiff cases I'm retained in, I
     12      give depositions and they go to trial.                    Not
     13      all.    I'd say the overwhelming majority go to
     14      trial, so most of that number went to trial.
     15                         I mean, that's just the way it
     16      is.
     17              Q.         With respect to your retention
     18      in this engagement, how many cases have you
     19      been retained as an expert by the plaintiff?
     20                         In other words, how do you
     21      count up the number of cases for this
     22      engagement since you testified that you have
     23      been engaged in the MDL?
     24              A.         Again, I do not know what that

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      1      question means.
      2              Q.         In your past as a testifying
      3      expert, has any court excluded your proposed
      4      expert testimony?
      5              A.         Yes.
      6              Q.         How many times has a court
      7      excluded your testimony as an expert witness?
      8              A.         Once.
      9              Q.         And what case was that?
     10              A.         That's the popcorn case in
     11      Spokane.
     12              Q.         Any other time?
     13              A.         No.
     14              Q.         Have you ever withdrawn as an
     15      expert in litigation after you've been
     16      retained?
     17              A.         I'm not sure I understand that
     18      question.
     19              Q.         In any of the 4 to 500 cases --
     20      no, strike that.
     21                         In any of the cases where
     22      you've been retained as an expert, have you
     23      withdrawn from those cases prior to
     24      testifying as an expert?

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      1              A.         Not that I can recall.
      2                         I mean, I've not -- in cases
      3      that I've been retained and given testimony
      4      at a deposition, I've not always testified.
      5              Q.         Right.     But I'm wondering if
      6      you recall ever, after a, for example, a
      7      motion to exclude you has been filed, you
      8      withdrawing as an expert in that case.
      9              A.         Do you mean me?         Me sending a
     10      letter saying I withdraw?              Or me telling a
     11      lawyer I withdraw?
     12              Q.         Have you ever --
     13              A.         Is that what you mean?
     14              Q.         Well, let's start with that.
     15      Do you recall any case --
     16              A.         That's never happened.            That I
     17      can recall.
     18              Q.         Do you recall any case where,
     19      after a motion to exclude has been filed
     20      against your proposed testimony, where the
     21      lawyer that retained you has withdrawn you
     22      from the case?
     23              A.         I don't know.
     24              Q.         Don't recall?

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      1              A.         I don't know.
      2              Q.         So if we could go to your
      3      report again, and what we've marked as
      4      Exhibit 1F, which is in front of you.                   Could
      5      you confirm that this looks to be a complete
      6      copy of your report?            I understand there's
      7      not the exhibits, but at least your report?
      8                         MS. CONROY:       Objection.
      9                         THE WITNESS:        How am I going to
     10              do that?
     11              Q.         (BY MR. DONOHUE)          Okay.     We'll
     12      do it a different way.            Could you turn to
     13      page 141?
     14                         And this is a page entitled
     15      "Signature."
     16                         Is that your signature?
     17              A.         It is.
     18              Q.         And the first sentence states
     19      that this is a report -- excuse me.                  "This
     20      report is a statement of opinions I expect to
     21      express in this matter and the basis and
     22      reason for those opinions."
     23                         Do you see that?
     24              A.         Yes.

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      1              Q.         And is that accurate?
      2              A.         You read that correctly, but it
      3      should -- understand that these are opinions
      4      that I expect to express at this deposition.
      5                         I don't think I'm going to give
      6      these opinions in court.
      7              Q.         And why don't you think you're
      8      going to give all of the opinions in court?
      9              A.         Well, for one thing, I think we
     10      don't have five years to try the case.
     11                         That would be the number one
     12      reason.      I know I wouldn't give all of these
     13      opinions.
     14              Q.         Looking at the opinions in your
     15      report, do you know which opinions that you
     16      will be testifying at trial about, if
     17      allowed?
     18                         MS. CONROY:       Objection.
     19                         THE WITNESS:        I -- as you know,
     20              I've done some cases with Mr. Lanier,
     21              and he always surprises me.
     22                         So I don't have a clue.
     23              Q.         (BY MR. DONOHUE)          So, before we
     24      go back to that, let's put on the record what

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      1      your opinions are in this report so we make
      2      sure we're all on the same page.
      3                         Let's start with the
      4      definitions that you use which are on page 51
      5      of your report.
      6              A.         Okay.
      7              Q.         Now, with respect to definition
      8      4.4, which is the, quote, Venture, capital V,
      9      end quote, you write that "The Venture refers
     10      to all defendants in the opioid litigation."
     11                         Do you see that?
     12              A.         I do.
     13              Q.         What do you mean by "the opioid
     14      litigation"?
     15              A.         Well, I mean this case.
     16              Q.         Now, are you aware of the
     17      opioid manufacturers that are named as
     18      defendants in this case?
     19              A.         Yes.
     20              Q.         What about -- are you aware
     21      that there are opioid manufacturers that are
     22      not named as defendants in this case?
     23              A.         Yes.
     24              Q.         Are the opioid manufacturers

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      1      that are not named as defendants in this case
      2      part of the venture as you've defined it?
      3              A.         I do not know.
      4              Q.         How come you don't know?
      5              A.         Because I don't have any
      6      information on them.            There's no discovery
      7      that I've seen.
      8              Q.         Is it possible that opioid
      9      manufacturers that are not listed as
     10      defendants in this case are part of what
     11      you've defined as "the venture"?
     12              A.         Yes.    Anything is possible.
     13              Q.         So you haven't undertaken any
     14      analysis of whether manufacturers of opioids
     15      not named as defendants in this case are
     16      acting in concert with the manufacturer
     17      defendants that are named in this case?
     18                         MS. CONROY:       Objection.
     19                         THE WITNESS:        No, I searched
     20              the database, but there was -- there
     21              are no relevant documents on that
     22              issue on -- produced by other parties.
     23                         I can't know what people were
     24              doing unless I have depositions and

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      1              documents.
      2              Q.         (BY MR. DONOHUE)          Well, in any
      3      of the depositions and documents that you
      4      reviewed as part of this engagement, did you
      5      see references to other entities or
      6      individuals that were not named as defendants
      7      in the case?
      8              A.         I don't recall.
      9              Q.         And what is the time period
     10      that you have used to describe the venture,
     11      as you've defined it on page 51 of your
     12      report?
     13              A.         I didn't use a time period, but
     14      I guess there's kind of two time periods.                     So
     15      I'll go to the hockey stick.
     16                         So I would say that the time
     17      period for the massive overuse began in 1996,
     18      the introduction of Purdue's drug.
     19                         However, there was some
     20      beginning activities, by members of the
     21      venture, as early as 1984, when Purdue
     22      illegally marketed MS CONTIN.
     23                         So I would say that that --
     24      that was the first act that was part of the

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      1      concerted activity that led eventually do
      2      this breakout in 1996.
      3              Q.         And what is the date of the
      4      first act that you just testified to?
      5              A.         It was 9 -- in 1984 Purdue
      6      started to market MS CONTIN.               And that was
      7      illegally marketed.           It was not an approved
      8      drug by the FDA.
      9              Q.         And they --
     10              A.         And they sold 770,000 pills, I
     11      believe, before the FDA caught that.
     12                         MR. DONOHUE:        I'll move to
     13              strike as nonresponsive everything but
     14              the date.
     15              Q.         (BY MR. DONOHUE)          You said that
     16      as part of the first act, members of the
     17      venture acted together.             What other members
     18      of the venture do you believe acted together
     19      in 1984?
     20              A.         The only member of the venture
     21      in '84 was Purdue.           I believe that was --
     22      Purdue was the only member.
     23              Q.         If you turn to page 52 of your
     24      expert report, marked as Exhibit 1F.

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      1                         And we'll go back to some of
      2      these areas.        I just want to get a high-level
      3      view of your expert report.
      4                         So page 52 is entitled "Capsule
      5      of Opinions."
      6                         Do you see that?
      7              A.         I do.
      8              Q.         Is the capsule of opinions
      9      intended to be a summary of your overall
     10      expert opinion?
     11              A.         Oh, it's kind of like the
     12      highlights.
     13              Q.         So is it the highlights of what
     14      is contained in the following opinions in
     15      your expert report?
     16              A.         It's the highlights of the
     17      entire report.
     18                         So I guess you could call it,
     19      in terms of a movie, the -- like the little
     20      things they show to encourage you to go to a
     21      movie?
     22              Q.         The trailer?
     23              A.         Yeah, it's like a trailer.
     24              Q.         Then if you'd turn to page 53,

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      1      you have as numeral 6, a title "In 2004, I
      2      warned about the crisis; I was ignored."
      3                         Do you see that?
      4              A.         Yeah.
      5              Q.         Is that an opinion that you
      6      intend to offer, if allowed, in this case?
      7              A.         It's an opinion I have.
      8                         I don't have any intention -- I
      9      don't get to decide what questions are asked,
     10      and I don't get to decide if a question is
     11      asked whether I'm allowed to answer it.
     12                         All I have here, just to maybe
     13      speed it up is my opinions.               Okay?
     14                         I don't know what's going to
     15      happen in court.
     16              Q.         So with respect to No. 6, "In
     17      2004, I warned about the crisis; I was
     18      ignored," fair to say that's an opinion
     19      that -- an expert opinion that you've
     20      expressed in your expert report?
     21              A.         Correct.
     22              Q.         And when did you form that
     23      opinion?
     24              A.         Well, 19 -- 2004.

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      1              Q.         Okay.     And then, I just want to
      2      make sure I'm reading this right.                 So
      3      underneath the statement in 2004, I warned
      4      about the -- "I warned about the crisis; I
      5      was ignored," there's, from page 53 to 61
      6      paragraphs.        My question is, are those
      7      paragraphs contained in the pages of your
      8      report separate opinions?              Or are they
      9      supporting material for your opinion about
     10      warning of the crisis?
     11              A.         I think that's a metaphysical
     12      question.       I'm not sure I'm capable of
     13      answering it.
     14                         I would say it certainly
     15      supports the opinion in 6, but some of them
     16      are separate opinions.            So they're opinions
     17      that explain the entire set of what goes into
     18      the Opinion 6.
     19              Q.         Okay.     And then, with respect
     20      to the additional opinions that you have
     21      formed since 2004, those start on page 62 of
     22      your report.
     23                         MS. CONROY:       Objection.
     24              Q.         (BY MR. DONOHUE)          Do I have

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      1      that right?
      2              A.         I don't know how to answer
      3      that.     I have to go through some of these.                   I
      4      may have said -- I may have had some of these
      5      opinions -- this is all of the opinions,
      6      right?     -- that you're referring to?                All of
      7      the opinions for that question?                 All of the
      8      rest of the -- all of the rest up to 137 or
      9      whatever it is?         Is that a question for all
     10      of the opinions from page 62 to 137?
     11              Q.         I was attempting to ask if this
     12      was the -- all of the opinions that you have
     13      since 2004 that are contained in your expert
     14      report.
     15              A.         Yeah, what I'm saying, I may
     16      have had some of those opinions before --
     17              Q.         Okay.
     18              A.         -- 2004.
     19              Q.         Okay.     Could you --
     20              A.         I don't recall.
     21                         I don't recall, and I never
     22      analyzed them by date.            So in order to answer
     23      that question, I need to go through and read
     24      them.

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      1              Q.         Okay.
      2              A.         I think most of these opinions
      3      relate to material that I got in discovery in
      4      this litigation.          I may have had some of
      5      these opinions in a general way before 2004.
      6              Q.         Let me ask you this.           Would you
      7      please go through the opinions contained on
      8      Section 7 in your report and tell us what
      9      opinions, if any, you formed prior to this
     10      engagement?
     11              A.         Well, 7.3, I was certainly
     12      aware of prior to this engagement of the
     13      $80 million penalty that Walgreens paid for
     14      Jupiter and other things.              And that's --
     15      could be part of the basis of 7.3.
     16                         MR. DONOHUE:        Can we take a
     17              break, take our first break?
     18                         MS. CONROY:       Let's just be --
     19              I'm fine with a break, but let's just
     20              be clear what he's looking for.                 You
     21              want to know which of the 137 opinions
     22              were formed after his retention in
     23              this case in November of 2019 -- of
     24              2018?

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      1                         THE WITNESS:        The opposite.
      2              Before.      He wants to know before.
      3                         MR. DONOHUE:        Before.
      4                         MS. CONROY:       And that's what
      5              you want him to determine --
      6                         MR. DONOHUE:        Yes.
      7                         MS. CONROY:       -- during the
      8              break?
      9                         MR. DONOHUE:        Yes.     If any.
     10                         THE WITNESS:        No, I'm not going
     11              to do that during a break.
     12                         MR. DONOHUE:        Well, we can take
     13              a longer break.
     14                         THE WITNESS:        I'm not going to
     15              do that during a break.              When there's
     16              a break, there's a break.               I'm not
     17              working during the break.               I have
     18              union rules.
     19                         MR. DONOHUE:        All right.       We'll
     20              wait for Special Master Cohen to get
     21              back.
     22                         SPECIAL MASTER COHEN:            I'm
     23              right here.
     24                         You know, if the break is for

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      1              us to break, it's for us to go to the
      2              bathroom and take a rest.               And he
      3              doesn't need to spend 10 or 15 or
      4              20 minutes, unless you want to take a
      5              long break.        But some of that's going
      6              to have to take away from your time.
      7                         MR. DONOHUE:        Okay.     So, in
      8              other words, have him do it on the
      9              record?
     10                         SPECIAL MASTER COHEN:            That's
     11              probably better.
     12                         MR. DONOHUE:        All right.
     13                         So I would like you to do that.
     14              I'll just restate the question.
     15              Q.         (BY MR. DONOHUE)          Would you
     16      please go through your opinions and tell us
     17      what opinions, if any, that you formed prior
     18      to this engagement?
     19              A.         Okay.
     20                         I'm going to have you help me.
     21      I have venture members.
     22                         [Document review.]
     23                         MR. DONOHUE:        Do you want to
     24              know what?        I will -- Special Master

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      1              Cohen, I will withdraw the question so
      2              we can take a break.
      3                         SPECIAL MASTER COHEN:            Okay.
      4                         MR. DONOHUE:        Thank you.       Off
      5              the record, please.
      6                         THE VIDEOGRAPHER:          Off the
      7              record.      10:51.
      8                         (Recess taken, 10:50 a.m. to
      9              11:23 a.m.)
     10                         THE VIDEOGRAPHER:          We are back
     11              on the record at 11:24.
     12                         MR. DONOHUE:        For the record,
     13              we're going to mark as Deposition
     14              Exhibit No. 2, a copy of the poster
     15              board that's entitled "Deconstructing
     16              the myth that prescribed opioids have
     17              a low risk of addiction" that
     18              Dr. Egilman pointed to earlier.                 And
     19              so we'll get a copy of that, an 8 by
     20              11, hopefully, and just mark it for
     21              the record as Exhibit No. 2.
     22                         MS. CONROY:       And for the
     23              record, I will state when you reduce
     24              that to 8 by 11, it's illegible.                  So

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      1              if it's -- we can get people an
      2              electronic copy or whatever, but just
      3              be advised that when you get home and
      4              you take a look at it, it can't be
      5              read.
      6                         MR. DONOHUE:        All right.
      7              Appreciate that.
      8                         THE WITNESS:        So you want me to
      9              continue my answer?
     10                         MR. DONOHUE:        No.    I withdrew
     11              that question.
     12                         (Whereupon, Deposition Exhibit
     13              Egilman 2, Poster (8.5 x 11 copy)
     14              Deconstructing the myth that
     15              prescribed opioids have a low risk of
     16              addiction by Daniel K. Cho, Mark
     17              Hocevar, Brown University, was marked
     18              for identification.)
     19              Q.         (BY MR. DONOHUE)          With respect
     20      to your expert report, did you receive all of
     21      the documents that you needed to reach the
     22      opinions in your expert report?
     23              A.         No.
     24              Q.         Okay.     What documents didn't

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      1      you receive that you needed to reach your
      2      opinions?
      3              A.         I think I got some -- I think I
      4      got an -- okay.         So I got a thing on
      5      limitations in my report.              I couldn't review
      6      missing or destroyed documents, so they were
      7      missing and destroyed documents.
      8                         I couldn't review documents
      9      that were withheld as, quote, nonresponsive.
     10      Some of the documents were produced even
     11      though confidential with nonresponsive
     12      blanks.
     13                         I couldn't review documents
     14      that would help based on a privilege claim.
     15                         I couldn't review redacted
     16      language that was in a lot of the
     17      confidential documents.
     18                         I didn't review correspondence
     19      in non-produced personal e-mails.                 So there
     20      were several participants who had a variety
     21      of e-mails that weren't produced.                 Something
     22      that said text messages.             There were no text
     23      messages produced.
     24                         Purdue had a system of removing

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      1      information from call notes, so I couldn't
      2      review things that were removed.
      3                         I didn't have access to all of
      4      the documents produced in all the state
      5      litigation.
      6                         I didn't have the monitoring
      7      reports that were part of the corporate
      8      integrity agreements.            I didn't have all of
      9      the corporate integrity agreements.                  I didn't
     10      have any -- oh, I'm sorry, I had Cephalon
     11      hotline reports related to the CIA, but I did
     12      not have any of the other CIA-associated
     13      monitoring reports, ethics hotlines, or other
     14      related documents.
     15              Q.         So the opinions in your expert
     16      report are based on incomplete information?
     17                         MS. CONROY:       Objection.
     18                         THE WITNESS:        Well, they're
     19              based on the information that I had.
     20              I can't know if the information that's
     21              been destroyed would have impacted on
     22              my opinions one way or the other.
     23              It's a limitation that you asked me if
     24              I -- I answered the question you

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      1              asked.      The implications of things I
      2              didn't see, I can't answer.               I don't
      3              know how they may or may not have
      4              altered an opinion I had.
      5              Q.         (BY MR. DONOHUE)          Since
      6      March 25th, 2019, which is the date of your
      7      report, have you formed any additional
      8      opinions as an expert?
      9              A.         No, but I have additional bases
     10      for opinions.
     11              Q.         What's the additional bases you
     12      have for opinions since March 25, 2019?
     13              A.         Well, I may have some
     14      additional -- yeah, additional bases, so.
     15                         Let's see.       There's an
     16      additional bases folder here.
     17                         Well, let me -- I mean, let me
     18      go -- we can look for it.
     19                         I can start with a -- I read
     20      the appendix to Perri's report, where he goes
     21      through more of the call notes and other
     22      communications that companies made to
     23      physicians and other parties.                So that's one
     24      category.

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      1                         I don't think I listed this,
      2      which I call the mushroom document, as part
      3      of the basis for my opinion that the
      4      physicians were not responsible for the
      5      hockey stick.
      6                         This is an e-mail from Kathe
      7      Sackler -- to Kathe Sackler, Wednesday,
      8      August 6, 1997.
      9                         Oh, yes.      Here's the new basis.
     10      Do you have that?          She found it.
     11                         Okay.     So this is J&J Pain
     12      Council Meeting, December 6, 2006.
     13                         And then some additional bases
     14      for 135, which is a CVS marketing agreement
     15      with Endo.
     16                         So there's --
     17              Q.         Would you do me a favor and
     18      just read the Bates numbers of those
     19      documents into the record so we'll have a
     20      record of what you're referring to?
     21              A.         Sure.     JAN-MS-00494367, and
     22      then Endo Opioids MDL-06157733.                 Then the
     23      Insys material that came out during the
     24      Boston trial, I haven't seen all of the

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      1      transcripts of that trial, but I've read
      2      reports of that trial, sometimes quotes from
      3      testimony from that trial.
      4                         So that would be additional
      5      opinions related to that.
      6                         And the same thing would be
      7      true for the general -- although Rochester is
      8      not a defendant in this case, you asked about
      9      other people.        I wasn't aware of what
     10      Rochester had done until the recent press
     11      coverage and pleading against them for
     12      various bad acts with respect to the
     13      uncontrolled distribution of drugs to their
     14      customers.
     15                         Then I have -- I did bring -- I
     16      don't think I brought with me, but I have --
     17      as you know, I had the Robert Wood Johnson
     18      opinion.      And yesterday I got, probably 4 or
     19      5,000 pages of more detail on Robert Wood
     20      Johnson Foundation, board of directors, their
     21      bios of their contacts with primarily Johnson
     22      & Johnson as the corporate entity in terms of
     23      the overlapping board of directors of Robert
     24      Wood Johnson Foundation.

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      1                         I think the Ohio hockey stick.
      2      No. 7.     How about this 6, then.              So this is a
      3      Summit County PowerPoint.              And it's -- you
      4      know, it came in native form, so I don't have
      5      the Bates number.
      6                         I can identify it -- this is
      7      the first page.         It's in the production.              So
      8      that's the first page of it.               The first page
      9      says "Facing the Opioid Epidemic.                 How we got
     10      here and what we need to do next."                  And it
     11      was by Christina Delos Reyes.                It's titled
     12      "The Role of the Physician, Prescription Drug
     13      Abuse.     Akron General Wellness Center,
     14      May 31, 2014."
     15                         And it has an Ohio-specific
     16      hockey stick chart in it, along with the
     17      specific -- some of the specific marketing
     18      activities that trail the hockey stick.
     19                         So ...
     20              Q.         Does the mushroom document have
     21      the Bates number?
     22              A.         Mushroom.      Yeah, mushroom.
     23                         It's over here.         Bates number
     24      for the mushroom.          PDD_8801118262.

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      1

      2                         Let's take a quick look.              I
      3      think that's it.
      4               Q.        Okay.     Could we go --
      5               A.        Just let me finish taking a
      6      quick look to see if there's anything else --
      7               Q.        Oh, I apologize.
      8               A.        -- on the table.
      9                         Yeah, I think 6 is slide deck.
     10                         So this is another bases.               I
     11      have an opinion on slide deck creation, and
     12      this is just another company's same
     13      activities.        This is Bates numbers
     14      acquired_activists_00367447.
     15                         Let me see this.           What is that?
     16      This is the "See no evil" document.                   I think
     17      this is not in the report.               This is
     18      Endo_0064825.
     19                         I think that's it.
     20               Q.        Okay.     Could we go back to your
     21      report, which we've marked as Exhibit 1F.
     22      And go to page 29, which is your background
     23      and qualifications?
     24               A.        Okay.

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      1               Q.        Okay.     And so I think you
      2      testified earlier you're currently a -- still
      3      a medical doctor; right?
      4               A.        Correct.
      5               Q.        And if we turn to page 31, you
      6      have a paragraph about the middle of the page
      7      where you talk about warnings.
      8                         Would you consider yourself an
      9      expert in warnings?
     10               A.        Yes.
     11               Q.        Are you familiar with TIRF
     12      REMS?
     13               A.        I'm familiar with REMS
     14      programs.
     15               Q.        Okay.     What do you know about
     16      the REMS program?
     17               A.        Well, what I'm -- when
     18      evaluated -- there's been several recent
     19      papers on the REMS programs in the last year.
     20      And -- do you really want me to -- ask me
     21      what I know about the REMS program?                   Because
     22      that's a very, very long answer.
     23               Q.        No, I appreciate that.
     24               A.        I'd be glad to give you that

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      1      answer, okay, but --
      2               Q.        Let me withdraw that and ask a
      3      different question.
      4               A.        Okay.
      5               Q.        Did you consider the TIRF REMS
      6      program in rendering the expert opinions in
      7      your report?
      8               A.        I think so.
      9               Q.        You testified that you consider
     10      yourself an expert in warnings.                 What other
     11      areas do you believe you have expertise in?
     12      If any.
     13               A.        Well, do you want to define
     14      "expert"?
     15               Q.        What other areas do you believe
     16      you're qualified to testify as an expert in
     17      litigation other than warnings?
     18               A.        That's the --
     19                         MS. CONROY:        Objection.        Legal
     20               opinion.
     21                         THE WITNESS:         -- up to the
     22               judge.      If you don't want to define
     23               expert, I will.
     24                         My understanding of the

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      1               definition of expert in this context
      2               is that I know more than the layman
      3               and can assist the jury in
      4               understanding the issues in the case
      5               beyond the ability of the normal
      6               layman to understand the material that
      7               I read, review, consider, and
      8               generally summarize.            So that -- if
      9               that's the definition of expert, I'll
     10               go ahead and answer that question.
     11                         So an expert in internal
     12               medicine.       Occupational environmental
     13               medicine and toxicology.              I'm an
     14               expert in molecular biology.                I'm an
     15               expert in warnings and risk
     16               communication.
     17                         All aspects of public health.
     18               Public health includes two, kind of,
     19               components.        The first component of
     20               public health is trying to figure out
     21               what makes people sick, and the second
     22               is what makes people healthy.
     23                         Actually, that's two components
     24               of the first question of the public

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      1               health.
      2                         The second issue with respect
      3               to public health is getting people to
      4               change their behavior to use the
      5               information in part one.
      6                         I am an expert in the aspects
      7               of part one.        Those aspects being,
      8               generally, molecular understanding of
      9               cause-effect relationships, the
     10               epidemiology, toxicology.              The -- then
     11               at a higher level, a social and
     12               cultural aspects of the causes of
     13               disease.
     14                         So there's -- which is not a
     15               lot of academic work in that area.
     16                         Then the other part of public
     17               health is to take the information that
     18               we've gathered from part one, and try
     19               to get people to change their
     20               behavior, to stop doing things that
     21               you've determined cause disease, and
     22               to get them to do things that promote
     23               health and longevity.
     24                         And at a patient level -- and

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      1               there are two levels for those
      2               interventions.         At least two levels.
      3                         One level is with respect to
      4               things that impact on the individual
      5               at an individual level.              So that
      6               involves -- I'll give you the
      7               occupational environmental construct
      8               of that in hierarchy.
      9                         So the first thing to do -- and
     10               I'll try to give you some relevant
     11               examples as we go along.
     12                         MR. DONOHUE:         I'm only
     13               interested in what you think you're as
     14               an expert.        So you seem to be straying
     15               into a long explanation about those.
     16               Can you do it more briefly, please?
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         Is that -- is
     19               that an objection to the answer -- I
     20               don't understand what that was.
     21               Q.        (BY MR. DONOHUE)           I'm asking
     22      you to summarize instead of giving detailed
     23      answers in the areas where you believe you
     24      have expertise.          So I understand you have

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      1      expertise, you believe, in public health, and
      2      you explained that.
      3               A.        I didn't finish explaining
      4      that.     There's many aspects of public health,
      5      and I've given you the aspects of public
      6      health, which --
      7               Q.        If you could do it in list
      8      form, that would be more helpful and
      9      efficient.
     10                         MS. CONROY:        Objection.
     11                         THE WITNESS:         Okay.     Well, I'm
     12               going to try to give it to you in the
     13               form that I understand it.               Okay?     And
     14               so they have -- this is how I explain
     15               it when I'm in court, for example.
     16                         So the hierarchy from the --
     17               and because this is -- it's an
     18               expertise -- the expertise -- I'll
     19               start making sense with expertise, to
     20               make sure it's exactly relevant.                  The
     21               expertise is in the first hierarchy of
     22               changing what people do is
     23               substitution of a safer, for a more
     24               dangerous product.

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      1                         So in the case of opioids, it
      2               would be the study of the various ways
      3               that one could treat pain that would
      4               not -- that would diminish the risk of
      5               addiction.        That's an expertise.
      6               That's a way of looking at
      7               cost-benefit analyses, looking at all
      8               the side effects, et cetera.
      9                         So if you don't substitute,
     10               then the next level down, which I have
     11               expertise in, is in trying to avoid
     12               the exposures in an administrative
     13               fashion.       And so that would be -- in
     14               the case of opioids, figuring out how
     15               you can control the use of opioids by
     16               controlling physician prescriptions,
     17               educating the public, et cetera.
     18                         And I have expertise in that
     19               with respect to opioids and general
     20               expertise with respect to public
     21               health.
     22                         So that -- pretty much from an
     23               opioid perspective, those are the
     24               expertises from public health.                 That's

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      1               at the micro level as it applies to
      2               the patient.
      3                         Then at the macro level, that's
      4               changing policy.          Okay?      And so I have
      5               some expertise in social change, how
      6               social change occurs at a macro level.
      7                         And I teach about that.
      8                         And that means how you create
      9               social movement to change ideas in the
     10               society.       And those general ideas
     11               might change the effect of how people
     12               get treated in this case for pain.
     13               And that involves legislative
     14               interventions, community organizing,
     15               et cetera.        I have expertise in that.
     16                         And it also involves, at a
     17               macro level, trying to influence ideas
     18               in a society about appropriate care
     19               and appropriate achievement.
     20                         And that's done through a
     21               variety of mechanisms, the current era
     22               that involves an element of social
     23               media and academic publication and
     24               some combination thereof.

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      1                         So that's roughly the public
      2               health expertises that relate to this
      3               case.
      4                         For example, you know, I gave
      5               the presentation to the FDA that
      6               involves both understanding the
      7               mechanism of addiction from a --                  the
      8               way that -- the relationship of the
      9               dosing system to the addiction.                 And
     10               also I went to the FDA to try to
     11               impact on policy.
     12                         So I'm working on policy issues
     13               with respect to talc and other things
     14               at a state and local and national
     15               level.      So I have expertise in that
     16               and I teach about that.
     17                         I'm an expert in Hill
     18               considerations in epistemology,
     19               E-P-I-S-T-E-M-O-L-O-G-Y.              And that's
     20               how we know what we know.
     21                         From a scientific perspective.
     22               Then this how we know what we believe,
     23               that's involves sociology,
     24               anthropology aspects and public policy

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      1               issues.
      2                         I'm an expert in pharmaceutical
      3               and other medical products of
      4               marketing practices, and I've
      5               published on that.
      6                         Of course I think we went
      7               through I'm an expert on warnings.
      8                         I'm an expert on evaluating the
      9               side effects of pain medications, and
     10               using secret corporate documents and
     11               data.     That, per se, is an expertise,
     12               to try to get information out about
     13               the health effects and side effects of
     14               pain medications.
     15                         And I've done a little bit with
     16               respect to opioids, to the extent that
     17               the documents are not confidential,
     18               and I've done a lot with respect to
     19               other pain medicines, like Vioxx.
     20                         I'm also an expert in how
     21               corporations evaluate the efficacy of
     22               their market and control and follow
     23               what they and their competitors say
     24               about their products.

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      1                         So, for example, I've reviewed
      2               PMRD and research data, analyzed that
      3               data and published on that data.
      4                         I'm an expert --
      5                         MR. DONOHUE:         I'm going to
      6               object.      Special Master Cohen, I'm
      7               going to ask you to direct the witness
      8               to answer the question in a summary
      9               fashion without -- for using words
     10               like, "for example," in an attempt to
     11               filibuster a question.             Which,
     12               although I recognize, as stated was
     13               somewhat broad, I have also made it
     14               clear that I'm interested in a summary
     15               of the areas he believes he has
     16               expertise in, not on a what has now
     17               been a 15-minute speech.
     18                         MS. CONROY:        Your Honor, this
     19               was not a speech.           It was an answer to
     20               a question that was asked by a
     21               defendant, and I would also comment
     22               that the defendants have made it very
     23               clear there will be Daubert motions
     24               filed in this case that will directly

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      1               bear on the expertise of a witness.
      2                         And so to try to cut down an
      3               answer that you asked with respect to
      4               expertise is rather alarming, given
      5               what's coming in June.
      6                         SPECIAL MASTER COHEN:             So the
      7               defendants are free to ask no
      8               questions and get no information.                   And
      9               if they choose to ask a question and
     10               limit it, they're allowed to do that.
     11                         What I think happened here was
     12               that the defendant asked for a list of
     13               areas of expertise.            Two examples are
     14               social policy and epistemology.                 I
     15               can't say that.          I just said that in
     16               five words.
     17                         So somewhere between a short
     18               list and a long explanation of what
     19               each one of those means is how this
     20               has to happen.
     21                         They're entitled to ask you to
     22               restrict your answers, Dr. Egilman, in
     23               a way that provides only what they're
     24               asking.      That's their choice.

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      1               Frankly, maybe it would be better for
      2               them to get more information from you,
      3               but they're entitled not to do that.
      4               So if they want succinct answers,
      5               that's what you need to give them.
      6               Okay?
      7                         THE WITNESS:         Okay.
      8                         MS. CONROY:        Thank you.
      9                         SPECIAL MASTER COHEN:             Okay.
     10               Q.        (BY MR. DONOHUE)           Do you have
     11      any other additional areas to list to
     12      complete your answer with respect to your
     13      expertise?
     14               A.        Why don't you go back and
     15      re-ask the question.
     16               Q.        The question was what areas do
     17      you believe that you have expertise in.                     And
     18      I had asked for a list of those areas.
     19               A.        Here, I'm having a little
     20      trouble given the ruling.
     21                         So, you know, I've published on
     22      a lot of health effects of a lot of different
     23      substances, peer-reviewed papers.                  Okay?      So
     24      you want me to just say that I've published

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      1      on the health effects of a lot of substances
      2      and the side effects of a lot of things?                      Is
      3      that all you want?
      4               Q.        If that is responsive to the
      5      question, if it's true.
      6               A.        Well, what's responsive to the
      7      question I'm going to give you the detail of
      8      each of the substances that I'm an expert in.
      9      I'm not an expert in every toxic substance.
     10      Okay?     I'm an expert in the ones that I have
     11      studied, reviewed, published on.                  So
     12      that's --
     13                         I mean, I don't --
     14                         I mean, I can just -- I mean, I
     15      can refer you to my CV.              Why don't I
     16      incorporate my CV, and that saves a lot of
     17      time?
     18               Q.        Okay.
     19               A.        In addition to that, I'm an
     20      expert on international health and the
     21      development of medical schools in developing
     22      countries.
     23                         I'm an expert in minority
     24      recruitment to medical schools.

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      1                         I'm an expert in the
      2      organization of non-profits, the rules and
      3      regulations of non-profits.
      4                         I think that's it for general
      5      categories.
      6               Q.        Do you consider yourself an
      7      expert on the FDA's regulations concerning
      8      pharmaceutical marketing?
      9               A.        Yes.
     10               Q.        Do you consider yourself an
     11      expert in pain management?
     12                         MS. CONROY:        Objection.
     13                         THE WITNESS:         Well, I consider
     14               myself an expert in treating people
     15               who have pain for diseases.
     16                         Certain diseases.           Not all
     17               diseases.
     18               Q.        (BY MR. DONOHUE)           Do you have
     19      any clinical experience in pain management?
     20               A.        Well, I have a lot of clinical
     21      experience treating people for pain from
     22      various diseases, yes.
     23               Q.        Have you done any research
     24      relating to pain management and the use of

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      1      opioids to treat pain?
      2               A.        Yes.
      3               Q.        What research have you done?
      4               A.        Well, in terms of published
      5      research?       I have the work I did -- I think I
      6      published -- presented APHA in the FDA
      7      presentation.         The rest of the research
      8      involves reading literature over time and
      9      reading the corporate documents, initially
     10      the Purdue documents between 2003, 2005, and
     11      then the last several years -- well, the last
     12      several months reading all of your documents.
     13                         In addition, I've read --
     14      reviewed opioid literature over time.                    That's
     15      published literature.
     16               Q.        As part of this engagement, did
     17      you conduct any quantitative analysis to
     18      determine whether defendants' marketing
     19      influenced any prescribing decision?
     20               A.        Do you mean from a particular
     21      prescriber?        Or a particular practitioner?
     22               Q.        Yes.
     23               A.        Yes.
     24               Q.        What quantitative analysis did

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      1      you do?
      2               A.        Well, I reviewed the ROI data
      3      and the detailed reports from many of the
      4      defendants.        And that -- that all -- some of
      5      it was specific to specific physicians.
      6                         I remember it was -- it was one
      7      physician whose name came up in the SIG
      8      affiliated with impact who was a high user,
      9      and somebody saw his name and sent marketing
     10      people to that person.             There's the document
     11      that talks about no sex, no prostitutes.                      So
     12      that refers to successful marketing
     13      intervention with a particular doctor's name.
     14      I don't remember.
     15                         I don't think that was a
     16      formula.       I think it was a particular doctor.
     17                         So there is a whole slew of --
     18      and also some of this is in Perri's report,
     19      of indications from detail reps that their
     20      work with a rep, with a physician increased
     21      that physician's prescribing of opioids.
     22               Q.        Are you board certified in
     23      internal medicine in preventive occupational
     24      medicine?

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      1               A.        Yes.
      2               Q.        And I see from page 30 of your
      3      expert report that you say you ran a clinic
      4      for 12 to 13 years.
      5               A.        Right.
      6               Q.        What years were those that you
      7      ran the medical clinic?
      8               A.        '89 to 2002.
      9               Q.        Were you a family medicine
     10      doctor during that time in clinic?
     11               A.        In part.       I had three general
     12      activities.
     13               Q.        What were the three general
     14      activities?
     15               A.        Internal medicine, family
     16      medicine, consulting for companies in
     17      occupational environmental health issues.
     18               Q.        As a doctor, have you treated
     19      patients for pain from cancer?
     20               A.        Yes.
     21               Q.        And as a doctor, have you
     22      treated patients for pain for -- or excuse
     23      me.     Strike that.
     24                         Have you treated patients with

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      1      chronic non-malignant pain as a doctor?
      2                         MS. CONROY:        Objection.
      3               Q.        (BY MR. DONOHUE)           Do you
      4      believe opioids are addictive?
      5               A.        Yes.
      6               Q.        When did you first learn that
      7      opioids are addictive?
      8               A.        I don't recall.
      9               Q.        Did you know --
     10               A.        Maybe when I read a biography
     11      of Charles Dickens.            This would have been in
     12      the '70s sometime.
     13               Q.        Have you prescribed opioids to
     14      your patients?
     15               A.        Yes.
     16               Q.        What opioids have you
     17      prescribed to your patients?
     18               A.        Well, if you look, it was
     19      produced in this case.             I think it's one of
     20      the exhibits.
     21                         Purdue got my IMS data, and two
     22      or three year -- about five years of that
     23      data is accurate.           So you'd have to go -- let
     24      me get that document out and I'll tell you

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      1      what I prescribed.
      2                         MR. DONOHUE:         Can you hand that
      3               to the court reporter and we'll mark
      4               that as Deposition Exhibit 3.
      5                         (Whereupon, Deposition Exhibit
      6               Egilman 3, IMS Data, David Egilman,
      7               was marked for identification.)
      8                         MS. CONROY:        Do you have any
      9               copies?
     10                         MR. DONOHUE:         Sorry, I thought
     11               I did, and I'm looking for them right
     12               now.
     13                         THE WITNESS:         Let me just take
     14               an aside here.         Do you know using this
     15               is illegal based on the contract with
     16               IMS.     I just want to make that record.
     17               Q.        (BY MR. DONOHUE)           This is a --
     18      well, let's identify a document that we've
     19      marked as Exhibit 3.




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     24               Q.        Since August 2001, have you

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      1      prescribed opioids to any of your patients?
      2               A.        I don't think so.           It's
      3      possible that I supervised the prescription
      4      of opioids when I was supervising residents
      5      of family medicine.            But I wouldn't have
      6      written those prescriptions, and I don't have
      7      any -- but I would have been responsible for
      8      those prescriptions.            I don't have any
      9      specific recollection of that actually
     10      happening.
     11               Q.        For the prescriptions that you
     12      wrote for opioids when treating your
     13      patients, did you prescribe opioids because
     14      it was medically necessary?
     15               A.        Yes and no.
     16               Q.        When were the times you
     17      prescribed opioids to your patients when it
     18      wasn't medically necessary?
     19               A.        Do you see the OxyContins?
     20      Okay?     On the second page of the exhibit?
     21                         I think most of these relate to
     22      one patient, and I was -- he was addicted.
     23      And I was trying to get him off.
     24                         So it was medically necessary

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      1      so he wouldn't go into withdrawal, but that's
      2      not a medical necessity in terms of treating
      3      the pain.
      4                         And I tried to get him off, and
      5      I failed and therefore I cut him off.
      6               Q.        Other than the patient that you
      7      just mentioned, are you aware of any other
      8      patients that you prescribed opioids to that
      9      became addicted?
     10               A.        No.
     11               Q.        Did you refer to any of your
     12      patients' files in reaching the opinions in
     13      your expert report that we're here today
     14      looking at?
     15               A.        I don't have access to my
     16      patients' files.
     17               Q.        So the answer is no?
     18               A.        That's kind of a vague and
     19      ambiguous question, but if you're asking just
     20      whether I looked in the file, the answer is
     21      no.
     22                         If you're asking whether I
     23      relied on information that I gathered while I
     24      was treating patients, the answer is yes.

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      1      But I didn't look at the file.
      2               Q.        Do you believe chronic pain is
      3      a serious medical condition?
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         May or may not
      6               be.
      7               Q.        (BY MR. DONOHUE)           Sometimes it
      8      is?
      9               A.        Sometimes it is.
     10               Q.        How do you --
     11               A.        Well, sometimes chronic pain is
     12      a symptom of a serious medical condition.
     13      And probably, rarely, chronic pain is --
     14      well, no.       It's -- it's not in and of
     15      itself -- it always comes from something.
     16      Okay?     So the something that causes the
     17      chronic pain can be a serious medical
     18      condition.        Part of the seriousness of the
     19      medical condition is the fact that the person
     20      is in pain.
     21               Q.        Do you believe that chronic
     22      pain affects people that are in Summit
     23      County, Ohio?
     24               A.        I'm sure they -- I'm sure there

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      1      are people in pain in Summit County, Ohio.
      2               Q.        What about Cuyahoga County,
      3      Ohio?     Do you believe there are people that
      4      are in chronic pain living there?
      5               A.        I'm sure there are.
      6               Q.        What about in the
      7      United States?          What would you estimate is
      8      the number of people in the United States
      9      that are affected with chronic pain?
     10               A.        I don't think there are good
     11      estimates of that number.               I don't know.
     12               Q.        Would it be millions of people?
     13               A.        I don't think so.
     14               Q.        Less than a million?
     15               A.        I don't have a number.             There's
     16      no good studies.
     17               Q.        Do you believe there are any
     18      risks, medical risks associated with
     19      untreated chronic pain?
     20                         MS. CONROY:        Objection.
     21                         THE WITNESS:         There are medical
     22               risks of not treating the disease
     23               that's causing chronic pain.
     24               Q.        (BY MR. DONOHUE)           When you

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      1      treat patients as a medical doctor, do you
      2      treat the patients individually?
      3               A.        Not always.
      4               Q.        What's an example of when you
      5      don't treat a patient as an individual?
      6               A.        I might treat a family, or a
      7      parent and a child.            They might have --
      8      particularly with respect to children.
      9      There's always someone else who I'm dealing
     10      with.
     11                         In some cases there are issues
     12      that I'm treating that relate to the
     13      interaction of both parties, both a child and
     14      a parent or the parents.
     15               Q.        Do you believe there's a single
     16      treatment option that would be appropriate
     17      for every patient that was suffering from
     18      chronic pain?
     19               A.        No.
     20               Q.        When you treat patients, do you
     21      believe it's important to have a variety of
     22      treatment options to choose from?
     23               A.        Yes and no.
     24               Q.        What's the no part?

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      1               A.        Well, if you come in with a cut
      2      finger, I don't need five different ways to
      3      fix that cut finger.
      4                         Pretty much there's one way to
      5      fix that cut finger, depending on how long
      6      the cut or how deep it is.               If it's big
      7      enough, it's going to need to be sutured.
      8      There's going to be no other alternative.                      It
      9      doesn't help -- there are no other
     10      alternatives.
     11                         If you come in with an
     12      infection and I have an antibiotic that works
     13      on that infection, I don't need other
     14      options.       I just need the one antibiotic.
     15                         So those are examples of where
     16      I don't need a lot of options.
     17               Q.        Could you turn to page 37 of
     18      your report, please?
     19                         Actually, I apologize.
     20      Page 36.       So at the end of your background
     21      and qualifications which runs from page 29 to
     22      page 36 of your report, you write that you've
     23      reached the conclusions stated below to a
     24      reasonable degree of medical probability

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      1      based on your review of the medical and
      2      scientific literature, corporate documents,
      3      deposition, and on your years of training and
      4      clinical experience.            Do you see that?
      5               A.        Yes.
      6               Q.        When you are referencing the
      7      conclusions stated below, are you referencing
      8      the opinions that you give in the remainder
      9      of the report?
     10               A.        Yes.
     11                         Reference -- yeah, I'm
     12      referencing everything in the report.
     13               Q.        Now, with respect to the
     14      methodology which starts on page 37 of your
     15      report, you write that you base your opinions
     16      on the following sources of information.
     17                         So I want to ask you a couple
     18      of questions about that, if that's all right.
     19                         Review of medical literature.
     20      Did you review medical literature in support
     21      of your opinions?
     22               A.        No.
     23               Q.        You did not?
     24               A.        I did not do what you just

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      1      asked.
      2               Q.        Okay.     Let me back up, then.
      3               A.        Alone.      Okay?     It's a -- okay?
      4      I did not do what you just asked.
      5               Q.        Are you basing your opinions on
      6      your report on a review of medical
      7      literature?
      8               A.        Yes.
      9               Q.        And did you review any medical
     10      literature?
     11               A.        Yes.
     12               Q.        And did you review medical
     13      journals?
     14               A.        Yes.
     15               Q.        Did you --
     16               A.        I didn't review journals.               I
     17      reviewed journal articles.               Articles that
     18      appeared in journals.
     19               Q.        Is there anywhere in your
     20      report that lists out the medical journal
     21      articles that you reviewed that are the bases
     22      of your opinions?
     23               A.        Well, there's two places there.
     24      You have a long list of all of the articles

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      1      that I searched over.
      2               Q.        Okay.
      3               A.        And then at the -- in some of
      4      the opinions I cite specific medical
      5      literature.
      6                         So it appears in aggregate and
      7      then attached to some specific opinions.
      8               Q.        Did you select all of the
      9      medical journal articles that you reviewed
     10      that form the basis of your opinion?
     11               A.        Yes.
     12               Q.        And if we -- let me just go
     13      through this and ask these questions.
     14                         When you write "Review of
     15      medical literature," and then underneath it
     16      says "Medical meetings," what does that refer
     17      to?
     18               A.        Well, you know how impact and
     19      action have meetings?             So I got the minutes
     20      of those meetings and I reviewed those.                     FDA
     21      meetings.       I reviewed those.
     22                         There are some memos, corporate
     23      memos of meetings.           So that kind of business.
     24               Q.        And if you took the first

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      1      bullet point, which is your review of medical
      2      literature, how many hours would you estimate
      3      that you spent reviewing medical literature?
      4               A.        No idea.
      5               Q.        Can you estimate for us?
      6               A.        No.
      7               Q.        Well, you spent 384 hours total
      8      in the four months that you've been on this
      9      engagement; right?
     10               A.        Yeah, this isn't limited to the
     11      four months I've been involved in this
     12      engagement.
     13               Q.        What is it comprised of?
     14               A.        It's limited to my entire life
     15      starting in 1973, probably.                So I've been
     16      reviewing this kind of work since 1973.
     17                         So, you know, it's not -- I
     18      didn't start looking at this like last month,
     19      November.
     20               Q.        So if I wanted to know --
     21               A.        I mean, for example, you know
     22      that I gave a report, including some of the
     23      documents, in 2004 and '5, all of the things
     24      in that time frame as well.                Related to the

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      1      secret documents.
      2               Q.        If we wanted to know what
      3      medical literature specifically you based
      4      your opinions on since you have been engaged,
      5      would you be able to answer that?
      6               A.        Anything dated since November,
      7      I -- is something that I read since I've been
      8      engaged.
      9               Q.        And are you able to estimate
     10      how many hours in the last four months that
     11      you have reviewed medical literature?
     12               A.        No.
     13               Q.        How about review of published
     14      books?      Are you able to estimate how many
     15      hours in the last four months you've reviewed
     16      published books?
     17               A.        No.
     18               Q.        How about review of corporate
     19      documents?        Do you have a list of the
     20      productions that you reviewed?                 Did you
     21      personally review documents from those
     22      productions?
     23               A.        Yes.
     24               Q.        And how many hours in the last

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      1      four months have you spent reviewing
      2      corporate documents?
      3               A.        I do not know.
      4               Q.        Do you have any guess?
      5               A.        Less than 384.
      6               Q.        And if you'd turn to page 38,
      7      you have a category "Review of other produced
      8      documents."
      9                         Do you see that?
     10               A.        I do.
     11               Q.        Can you estimate how many hours
     12      in the last four months you've reviewed other
     13      produced documents?
     14               A.        No.
     15               Q.        And then you have a review of
     16      depositions.         Do you see that?
     17               A.        I do.
     18               Q.        Can you estimate how many hours
     19      in the last four months you've spent
     20      reviewing depositions?
     21               A.        No.
     22               Q.        With respect to your staff, do
     23      you know how many hours any member of your
     24      staff would have spent on any of the

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      1      materials reviewed that we just went through?
      2               A.        No.
      3               Q.        And what about the students?
      4      Would you have any idea of the number of
      5      hours the students that are working with you
      6      have reviewed on any of the materials we've
      7      gone through?
      8               A.        No.
      9               Q.        As part of your engagement in
     10      this litigation, have you conducted
     11      interviews of witnesses?
     12               A.        No.
     13               Q.        As part of your engagement,
     14      have you discussed the litigation with any
     15      other experts?
     16               A.        This litigation?
     17               Q.        Yes.
     18               A.        No.
     19               Q.        As part of this litigation and
     20      your engagement, have you reviewed any
     21      individual patient's information?
     22               A.        Yes.
     23               Q.        What individual patient
     24      information have you reviewed as part of your

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      1      engagement?
      2               A.        Well, if you'll look at the --
      3      there's a Butrans ad which involves -- which
      4      describes patients.            There's other
      5      advertisements and medical information on --
      6      in other documents and published papers that
      7      relate to individual patient information.
      8                         There's the Purdue marketing
      9      advertisements, and the counter
     10      advertisements where patients express their
     11      experience using OxyContin initially and then
     12      after they became addicted.                So I reviewed
     13      those.
     14                         There's other patient
     15      information involved, I think, in some of the
     16      call notes.        For example, there's call
     17      notes -- oh, there's the death notice of the
     18      woman who took half of OxyContin and died of
     19      an overdose.
     20                         So that's a medical report to
     21      the FDA by Purdue that includes patient
     22      information.
     23                         So throughout the documents,
     24      there's a lot of information about patient

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      1      histories.
      2               Q.        Do you know the volume of
      3      medical literature that you considered, read,
      4      or reviewed in rendering your opinions in
      5      this engagement?
      6               A.        By search I think it's about
      7      35,000 articles that I produced to you.                     So I
      8      searched over them, for example, for any
      9      documents that related to studies of the
     10      efficacy of narcotics, opioids for pain, and
     11      a variety of other topics.               So I searched
     12      over all of those for most of the things I
     13      gave opinions on.           And then the ones that
     14      came out, I read the abstracts.                 If I thought
     15      they were relevant, they got into the
     16      article.
     17               Q.        And how did you conduct the
     18      search through the medical literature?                     Is
     19      that through a database?
     20               A.        PubMed.
     21               Q.        PubMed?
     22               A.        PubMed.
     23               Q.        And do you have any idea of the
     24      volume of documents that you've considered as

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      1      part of this engagement?
      2               A.        Well, it's 90 million documents
      3      of database.         I did similar searches over the
      4      database.       And then there's the 35,000
      5      articles in PubMed, and then there's
      6      additional documents that I reviewed
      7      available.        Some web documents.           Some --
      8      there were other documents I think that were
      9      produced in the litigation:                the FDA
     10      meetings, the two reports on the FDA,
     11      government -- GAO report on the FDA.                    And
     12      there was another report on the FDA that I
     13      read.     So there are other documents I read in
     14      addition to the database in the medical
     15      literature.
     16                         And of course we did a -- we
     17      did a deep dive for that -- for that poster
     18      presentation.         Trying to find all those
     19      citations because they weren't PubMed, and
     20      they -- we went to -- we went to like several
     21      different libraries to do that -- to do the
     22      dive for the Fishbain missing materials.
     23                         MR. DONOHUE:         I think now would
     24               be a good time to take a lunch break,

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      1               if that's all right.
      2                         MS. CONROY:        Sure.
      3                         THE VIDEOGRAPHER:           Off the
      4               record at 12:24.
      5                         (Recess taken, 12:23 p.m. to
      6               1:15 p.m.)
      7                         THE VIDEOGRAPHER:           We are back
      8               on the record at 1:16.
      9                         THE WITNESS:         Okay.     I just
     10               wanted to let you know that exhibit --
     11               well, it's not an exhibit, but
     12               folder 20 here was additional bases
     13               for opinion that I forgot to mention.
     14                               EXAMINATION
     15      BY MS. SAULINO:
     16               Q.        Okay.     Thank you, Dr. Egilman.
     17                         So as you may have heard
     18      earlier, my name is Jennifer Saulino.                    I'm
     19      with a law firm called Covington & Burling,
     20      and I represent McKesson in this litigation.
     21                         So you are just pointing to a
     22      folder that you have numbered as 20 that's in
     23      front of you, and you're saying now that that
     24      is additional bases for the opinions that you

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      1      issued signed March 25th, 2019; is that
      2      right?
      3               A.        Yes.     That was a -- what I did
      4      was I added -- I had already given additional
      5      bases before.         I omitted this.          I added this
      6      to the additional bases.
      7               Q.        And when did you determine that
      8      these additional bases existed?
      9               A.        Sometime between when my report
     10      was written and today.
     11               Q.        And you didn't feel the need to
     12      disclose them to the defendants until this
     13      moment?
     14               A.        Correct.
     15               Q.        Okay.     Let's mark folder 20, as
     16      Exhibit --
     17                         Can I have that, please?
     18                         Thank you.
     19                         (Whereupon, Deposition Exhibit
     20               Egilman 4, Green folder marked 20 -
     21               Distribute = Manufacturers, was marked
     22               for identification.)
     23               Q.        (BY MS. SAULINO)           So we've
     24      identified folder number 20 that was just

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      1      identified by Dr. Egilman as Exhibit 4 to
      2      this deposition.
      3                         That's all we have for that
      4      right now, Dr. Egilman.
      5                         Dr. Egilman, in your report you
      6      detailed two methods that you used to form
      7      opinions in this case, the grounded theory
      8      approach and the evidence-based method.                     Is
      9      that right?
     10               A.        Can you tell me where you are
     11      in the report.
     12               Q.        Sir, you wrote the report.               You
     13      know what methodology you relied upon?
     14               A.        Yes.     Can you tell me where in
     15      the report you're reading from?
     16               Q.        Sir, do you recall relying on
     17      the grounded theory approach and the
     18      evidence-based method?
     19               A.        Yes.
     20               Q.        And those are the two
     21      methodologies that you detailed in your
     22      report.       Correct?
     23               A.        General methodologies for the
     24      report, yes.

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      1               Q.        And those are the only
      2      methodologies that you set forth in your
      3      report; correct?
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         No, that's not
      6               correct.
      7               Q.        (BY MS. SAULINO)           You don't
      8      provide any other detail of any methodology
      9      anywhere in your report, do you?
     10               A.        I don't think that's correct.
     11               Q.        Where do you believe that you
     12      provide methodology?
     13               A.        This whole discussion of EERW
     14      methodology, for example.
     15                         There's other comments on, for
     16      example, the quality of the estimates of the
     17      number of pain patients.              There are a variety
     18      of other report -- other opinions that
     19      include the methodologic discussions.
     20               Q.        Okay.     Doctor Egilman, you
     21      wrote this report; right?
     22               A.        Yes.
     23               Q.        Did you write it yourself?
     24               A.        Yes.

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      1               Q.        And did the plaintiffs' lawyers
      2      help you write it?
      3               A.        No.
      4               Q.        Not at all?
      5               A.        No.
      6               Q.        And when you wrote this report,
      7      you chose, on pages -- starting at about
      8      38 -- do you have your report in front of
      9      you?
     10               A.        I do.      I'm on page 38.
     11               Q.        Okay.      It looks like I might be
     12      off by a page.          37.
     13                         You start with a section called
     14      "Methodology."          Am I reading that correctly?
     15               A.        Correct.
     16               Q.        Okay.      And under your section
     17      called "Methodology," you start with the
     18      grounded theory approach; right?                  Which is --
     19      which starts on page 38.
     20                         Under "State of the art
     21      methods"?
     22               A.        Correct.
     23               Q.        Okay.      And then, if you go to
     24      page 40, you explain evidence-based method --

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      1      evidence-based medicine methods; right?
      2               A.        Yes.
      3               Q.        Okay.     In your methodology
      4      section, you do not detail any other
      5      methodologies, do you?
      6               A.        That's correct.
      7               Q.        Okay.     So your methodology
      8      section of your report is incomplete?
      9               A.        No.
     10               Q.        So you only rely, then, on two
     11      methodologies in your report?
     12               A.        No.
     13                         MS. CONROY:        Objection.
     14               Q.        (BY MS. SAULINO) So your
     15      methodology section is inaccurate?
     16               A.        No.
     17               Q.        So where else did you detail
     18      your methodologies, Dr. Egilman?
     19               A.        Well, I just gave you several
     20      other examples.
     21               Q.        And why do you not detail them
     22      in the methodology section of your report,
     23      sir?
     24               A.        Excuse me.        Your question was

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      1      where else do you --
      2               Q.        Sir, are you reading the
      3      transcript of your own deposition right now?
      4               A.        I'm reading your question.
      5               Q.        Okay, sir.        I can ask my
      6      question again.          I'll just make it clear.
      7               A.        I think you cut my answer off.
      8      That's my problem.
      9               Q.        Sir, I'll withdraw the question
     10      that I asked and I'll ask a new one.                    Okay?
     11               A.        That was my problem, is that
     12      you cut my answer off.
     13               Q.        I'll withdraw it and ask a new
     14      one, then.
     15               A.        Great.
     16               Q.        Great.      So in Section 3 of your
     17      report that you title "Methodology," you and
     18      I have already agreed that you only detailed
     19      two methodologies there; correct?
     20               A.        In that section that outlines
     21      the general methodology for the report,
     22      correct.
     23               Q.        Okay.     And the other
     24      methodologies that you now say you also

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      1      relied on, you did not detail in the
      2      methodology section of your report, did you?
      3               A.        That's correct.          The specific
      4      criticism of some of the epidemiologic
      5      studies, approaches and other things were not
      6      in the methodology section per se, although
      7      they are encompassed by evidence-based
      8      medicine methods.
      9               Q.        You don't explain that in the
     10      methodology section of your report, do you?
     11               A.        I'm not sure that's correct.
     12               Q.        You don't explain that you're
     13      adding other methodologies to your report in
     14      the evidence-based medicine methods section
     15      of your report, do you?
     16               A.        No.     Let me try to help you
     17      here.
     18                         I think in evidence-based
     19      medicine, part of this report, the citations
     20      certainly, include epidemiology and
     21      epidemiologic methods.
     22                         So some of the opinions later
     23      on in the report include more detailed
     24      discussion, particular epidemiological

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      1      methodological issues which are encompassed
      2      as part of evidence-based medicine.
      3               Q.        So the overall methodology,
      4      though, that you were using for those
      5      opinions is evidence-based medicine method;
      6      correct?
      7               A.        Correct.       Which is --
      8      encompasses many subfields.
      9               Q.        And what you're referring to as
     10      appearing, quote, later in your report are
     11      simply opinions; right?
     12               A.        No, they're bases for opinions,
     13      when I talk about -- if you're talking about
     14      methods.
     15               Q.        And you don't have anywhere
     16      else in your report where you lay out, "This
     17      is the methodology that I used in order to
     18      reach this opinion," do you?
     19               A.        I don't think I used that form,
     20      but that's there in the substance.
     21               Q.        Okay.     Well, we'll look at some
     22      of that.
     23                         Now, you have not documented in
     24      your report which opinion of your 490

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      1      opinions is based on which of the
      2      methodologies you lay out here, have you?
      3               A.        Not directly by reference,
      4      correct.
      5               Q.        There is no way to know, from
      6      looking at your report, which opinion is
      7      based on which method; correct?
      8               A.        No.
      9               Q.        Where have you listed that,
     10      sir?
     11               A.        Well, in some cases if I'm
     12      discussing epidemiologic methodological
     13      issue, that would come under evidence-based
     14      medicine methods.
     15               Q.        You don't say --
     16               A.        That --
     17               Q.        Go ahead, sir.
     18               A.        In other parts of the report
     19      where I'm not dealing with a scientific issue
     20      but rather with an analysis of the ways
     21      companies influenced physicians, I'm using
     22      grounded methods in general.
     23               Q.        Okay.
     24               A.        In other words, when I discuss

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      1      minutes, memos, depositions, and review
      2      documents related to the corporate conduct,
      3      that would be under the general category of
      4      grounds or methodology.
      5               Q.        What you just described is not
      6      written anywhere in your report, is it?
      7               A.        Well, no, that's not correct.
      8               Q.        Sir, nowhere in your report do
      9      you say this opinion is based on grounded
     10      theory approach, or this opinion is based on
     11      evidence-based medicine methodology; correct?
     12               A.        By opinion, do you mean?
     13               Q.        Correct.
     14               A.        That's correct.          I do not refer
     15      back to a particular -- to grounded theory
     16      when I use grounded theory in the report,
     17      that's correct.
     18               Q.        So there's no way for anyone
     19      other than you to look at your report and
     20      know which methodology you used for each
     21      opinion; correct?
     22               A.        Wrong.
     23               Q.        Where in your report have you
     24      provided those bases?

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      1               A.        Well, the bases for grounded
      2      theory method is on page 38 and 39.
      3               Q.        Sir, let me clarify my
      4      question.
      5               A.        And in --
      6               Q.        Let me clarify my question.                I
      7      obviously was unclear.
      8                         MS. CONROY:        Let the witness
      9               finish the answer before you start
     10               another question.
     11                         MR. DONOHUE:         Then I will
     12               withdraw the question and clarify it.
     13                         MS. CONROY:        And withdraw it by
     14               not interrupting the witness.
     15               Q.        (BY MS. SAULINO)           Sir, you just
     16      answered in response to my question that
     17      nowhere in your report do you -- is there any
     18      way to know which opinion is based on which
     19      method.       You said no.        Correct?
     20               A.        I don't think that's correct.
     21               Q.        Okay.
     22               A.        Certainly -- I don't know
     23      which -- you asked about eight related
     24      questions.        The previous question was not the

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      1      question that you just asked.                 You withdrew
      2      the previous question, and the question --
      3      two above that -- I can't see.                 I don't think
      4      it's the question that would relate to the
      5      question you just asked.
      6               Q.        If another expert were to take
      7      your report and pick it up, they cannot, by
      8      reading your report, know which methodology
      9      you used for each opinion; correct?
     10               A.        No.
     11               Q.        That's not correct?
     12               A.        That is not correct.
     13               Q.        Why do you say that's not
     14      correct?
     15               A.        Because anybody familiar with
     16      grounded theory methods -- and I give you
     17      some examples of papers -- could recognize
     18      the --
     19                         Let me give you -- try to give
     20      you an example.
     21               Q.        Sir, I don't want an example.
     22      I just want an answer to my question.
     23                         MS. CONROY:        Let the witness
     24               answer the question.

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      1                         MS. SAULINO:         I am asking for
      2               an answer to my question.              I don't
      3               want an example, just an answer to my
      4               question.
      5                         THE WITNESS:         Okay.     That's too
      6               bad.     I'm going to give you an
      7               example.
      8                         MS. SAULINO:         Sir, I will
      9               object to you -- I will object to the
     10               discourse here.          You can provide that
     11               information on your own counsel's
     12               time.     I would like an answer to my
     13               question.
     14                         THE WITNESS:         I'm giving you an
     15               answer to your question.
     16                         SPECIAL MASTER COHEN:             Why
     17               don't you reread the question to the
     18               witness and see if he can answer it at
     19               least first without an example.
     20               Q.        (BY MS. SAULINO)           Sir, I asked
     21      you if another expert were to take your
     22      report and pick it up, they cannot, by
     23      reading your report, know which methodology
     24      you used for each opinion, correct?

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      1                         And you said no.
      2                         And I asked you, why do you say
      3      that's not correct?
      4               A.        I say that's not correct
      5      because an expert who is familiar with
      6      grounded methods will recognize which
      7      opinions in this report were based in
      8      grounded methods rather than something else.
      9      Like math.
     10               Q.        So, sir, what you're saying is
     11      that if there is an opinion in this report
     12      that's based on math, then it's not based on
     13      the grounded theory approach?
     14               A.        That was exactly the example I
     15      was going to give, yes.
     16               Q.        And, sir, nowhere in your
     17      report do you lay out which opinion uses
     18      which method, do you?
     19               A.        Not explicitly.
     20               Q.        Now, I want to start with the
     21      evidence-based medicine method.                 I'd like to
     22      ask you some questions about your
     23      methodology; okay?
     24                         You say that the first step in

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      1      the evidence-based medicine method is the
      2      development of answerable questions; right?
      3               A.        Yes.
      4               Q.        And you developed two such
      5      questions; right?
      6               A.        I'm not sure what you're
      7      referring to.
      8               Q.        I'm referring to the answerable
      9      questions that you developed in your report.
     10               A.        Yes.
     11               Q.        The top of page 41?
     12               A.        Right.
     13               Q.        "What are the treatment options
     14      for chronic non-cancer pain?"                 Is your first.
     15      And your second is "In patients with chronic
     16      non-cancer pain, how do opioids and NSAIDs
     17      compare in terms of efficacy and adverse
     18      effects?"
     19                         I read those correctly; right?
     20               A.        Yeah, but you took them out of
     21      context.       You took that -- that question is
     22      out of context.
     23               Q.        Sir, I read those directly from
     24      your report, didn't I?

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      1               A.        You read them directly from the
      2      report, but your initial framing was
      3      incorrect.
      4               Q.        Well, sir, I'm looking at the
      5      section, if you start on page 40, that is
      6      titled "Step 1, translation of uncertainty
      7      into" answerable -- into "an answerable
      8      question."        Right?
      9               A.        Yes.
     10               Q.        Okay.     And then you go through
     11      your explanation of what generally answerable
     12      questions are, and then you say, "I asked the
     13      following background questions."                  And you
     14      list one question.           "What are the treatment
     15      options for chronic non-cancer pain"; right?
     16               A.        Right.
     17               Q.        And you say, "I asked the
     18      following foreground questions," and you list
     19      one question, and it is, "In patients with
     20      chronic non-cancer pain, how do opioids and
     21      NSAIDs compare in terms of efficacy and
     22      adverse effects?"           Right?
     23               A.        Yes.
     24               Q.        That's an accurate reading of

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      1      your report; right?
      2               A.        Of that section of the report.
      3               Q.        Okay.     So those are the two
      4      answerable questions that you developed for
      5      your report.
      6               A.        No.
      7               Q.        You developed additional
      8      answerable questions that you didn't list in
      9      your report?
     10                         MS. CONROY:        Objection.
     11                         THE WITNESS:         I had an
     12               assignment which I gave you, and that
     13               was the -- that was the answerable
     14               question that I was addressing in the
     15               report.
     16                         These two questions, as you can
     17               see by the framing that I put on them,
     18               are background questions.
     19               Q.        (BY MS. SAULINO)           So your
     20      answerable question was not developed by you.
     21      It was an assignment given to you by
     22      plaintiff lawyers?
     23               A.        Well, it was jointly discussed
     24      and developed by me and them together, yes.

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      1               Q.        As you explain the
      2      evidence-based medicine method, you say that
      3      it is an evidence that is an approach --
      4               A.        Can you tell me where you're
      5      reading from so I can follow?
      6               Q.        I'm reading your words, sir.
      7               A.        I know.      But --
      8               Q.        Page 40 at the top.
      9                         "It is an approach to medical
     10      decision-making meant to integrate individual
     11      clinical expertise with the best available
     12      external clinical evidence from systematic
     13      research"; right?
     14               A.        I don't think you read that
     15      correctly.
     16               Q.        What do you think that I was
     17      mistaken about?
     18               A.        Well, I'm looking at what she
     19      transcribed and what I'm reading and it's
     20      different.
     21                         I couldn't catch up to the
     22      beginning.        That's why I asked you where you
     23      were.     But you kept reading and I couldn't
     24      follow the language.

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      1               Q.        Did you hear my question, sir?
      2               A.        Yeah, but your question was
      3      whether you read it correctly.                 In order to
      4      know whether you read it correctly, I need to
      5      read it.       And I need to listen to what you're
      6      saying.
      7               Q.        Sir, I actually didn't ask you
      8      whether I read it correctly.                I just asked
      9      you whether that was the approach that you
     10      described in your report.
     11               A.        Well, you read it and then said
     12      that.     And so in order to know whether it was
     13      correctly described, I need to read it.
     14               Q.        You don't remember what
     15      approach you used in your report, sir?
     16               A.        Generally, I do.
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         But you're asking
     19               a specific quote, or attempting to
     20               quote it.       I don't know if you're
     21               correctly quoting or not.              And I need
     22               to read it to see if you're correctly
     23               quoting.
     24                         This is serious business.

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      1               Q.        (BY MS. SAULINO) Yes, it is,
      2      sir, and I'm trying to --
      3               A.        If you leave a word out or
      4      something and I miss it, that's bad.                    I
      5      want -- so I want to read it.
      6               Q.        Right.      Because if I left a
      7      word out, then it might be that someone
      8      reading it later on wouldn't be able to
      9      understand the full basis of your opinions;
     10      right?
     11               A.        Anything's possible, but, for
     12      example, when you left the framing of the
     13      background questions out of what you did
     14      before, that was completely misleading.
     15                         So you might leave a word out,
     16      it might not make a difference.                 I don't
     17      know.     But I'd rather not a take a chance.
     18               Q.        Sir --
     19               A.        That's why if you're going to
     20      read something, I'd like to know where you're
     21      reading so I can follow it.
     22               Q.        Sir, it sounds like you would
     23      agree with me that it's very important that
     24      we be able to look at your report, read it,

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      1      understand the bases for your opinions and
      2      methodology, and then replicate it; right?
      3      That's what any good expert would do.
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         Okay.     Well,
      6               there's two questions there.                Which do
      7               you want me to answer?
      8               Q.        (BY MS. SAULINO)           Why don't you
      9      pick, sir?
     10               A.        I don't know.
     11               Q.        Sir, according to you,
     12      "Evidence-Based Medicine" -- I'm at the top
     13      of page 40 again -- "is an approach to
     14      medical decision-making meant to integrate
     15      individual clinical expertise with the best
     16      available external clinical evidence from
     17      systematic research"; right?
     18               A.        Correct.       With quotes between
     19      individual and research -- I think it's a
     20      David Sackett quote.
     21               Q.        Are you agreeing with
     22      Mr. Sackett, Dr. Sackett?
     23               A.        I am.
     24               Q.        Okay.

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      1                         And the practice of
      2      evidence-based medicine can be outlined in
      3      five basic steps; right?
      4               A.        Yes.
      5               Q.        The translation of uncertainty
      6      to an answerable question is the first step;
      7      right?
      8               A.        That's the one he numbered
      9      number one.
     10               Q.        Okay.     And that is one of the
     11      steps that should be done by the clinical
     12      expert; right?
     13                         MS. CONROY:        Objection.
     14                         THE WITNESS:         If possible.
     15               It's not always possible.
     16               Q.        (BY MS. SAULINO)           Are you
     17      saying that was not possible in this case?
     18               A.        No.     I'm saying it's not always
     19      possible.       You asked a general question, you
     20      get a general answer.
     21               Q.        Okay.     And it was possible in
     22      this case for you, as the clinical expert, to
     23      translate uncertainty to an answerable
     24      question.       Right?

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      1               A.        To the extent that there was
      2      uncertainty, yes.
      3               Q.        Okay.     But you didn't do that
      4      yourself.       The plaintiffs' lawyers handled
      5      that for you; right?
      6               A.        No.
      7               Q.        Well, I'm basing this on your
      8      testimony just a couple of minutes ago.                     You
      9      told me that your answerable question here
     10      was the assignment you were given by
     11      plaintiffs' lawyers; right?
     12               A.        No.
     13                         MS. CONROY:        Objection.
     14                         THE WITNESS:         I said it was an
     15               assignment that we discussed and
     16               talked about and agreed to together.
     17               Q.        (BY MS. SAULINO) When was that,
     18      sir?
     19               A.        That was discussed three months
     20      ago.
     21               Q.        You don't remember when?
     22               A.        No.
     23               Q.        Okay.     So it wasn't an
     24      assignment; it was an agreed-to research?

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      1               A.        The same difference, to me.
      2               Q.        Okay.     And that was the only
      3      question that you were trying to answer here?
      4               A.        That was the only question I
      5      was asked to answer here.               There may have
      6      been other questions that came up that were
      7      also answered.
      8               Q.        Okay.     And precisely what was
      9      that question, just so we have it here in
     10      your methodology?
     11               A.        I was asked to determine within
     12      a reasonable degree of medical and scientific
     13      certainty whether or not various defendants
     14      working together and/or separately were
     15      significant factors in causing the opioid
     16      epidemic.
     17               Q.        Okay.     Let's mark that as an
     18      exhibit.
     19                         (Whereupon, Deposition Exhibit
     20               Egilman 5, My Assignment, was marked
     21               for identification.)
     22               Q.        (BY MS. SAULINO)           And again,
     23      the way that you just stated that, it says,
     24      "I was asked"; right?

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      1               A.        That's correct.
      2               Q.        Okay.     So we've marked as
      3      Exhibit 5, what you've titled "My
      4      Assignment," which you just read into the
      5      record.
      6                         And just so we're clear, you
      7      didn't record that question in your report;
      8      right?
      9               A.        That's correct.
     10               Q.        Why did you not put that in
     11      your report?
     12               A.        No reason --
     13               Q.        You didn't --
     14               A.        -- in particular.
     15               Q.        You didn't think it was
     16      important to put down the answerable question
     17      that was step 1 in your evidence-based
     18      medicine method?
     19               A.        That's correct.
     20               Q.        And then you added your
     21      background and foreground question; correct?
     22               A.        Correct.
     23               Q.        Your background question is
     24      "What are the treatment options for chronic

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      1      non-cancer pain?"           Right?
      2               A.        Correct.
      3               Q.        Your foreground question is "In
      4      patients with chronic non-cancer pain, how do
      5      opioids and NSAIDs compare in terms of
      6      efficacy and adverse effect?"                 Right?
      7               A.        Correct.
      8               Q.        Neither of those answers the
      9      question whether or not various defendants
     10      working together or separately were
     11      significant factors in causing the opioid
     12      epidemic; correct?
     13               A.        Not by themselves, but they are
     14      a part of the answer.
     15                         MS. CONROY:        Objection.
     16               Q.        (BY MS. SAULINO) You don't list
     17      any other background or foreground questions
     18      that you were exploring; correct?
     19               A.        That's correct.
     20               Q.        So there's no way for us to
     21      know what those were?
     22               A.        Correct.
     23               Q.        Now, your next step is
     24      systematic retrieval of best evidence

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      1      available; right?
      2               A.        Correct.
      3               Q.        You say, "Once an answerable
      4      question has been posed, the researcher must
      5      select an evidence resource, execute a search
      6      strategy, and then evaluate the evidence
      7      summary"; right?
      8               A.        Correct.
      9               Q.        And you say your evidence
     10      resource included medical literature and
     11      company documents; right?
     12               A.        And depositions.
     13               Q.        Okay.
     14                         And you --
     15               A.        And other documents.            I think I
     16      mentioned that already.              Institute of
     17      Medicine reports, FDA reports, GAO reports.
     18      Those are all probably incorporated into
     19      company documents as well.
     20               Q.        I'm looking at step 2 that
     21      you've listed in your report.
     22                         And here under "Systematic
     23      retrieval of the best evidence available,"
     24      you first list where you went to review

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      1      medical evidence; right?
      2                         You say, "I conducted computer
      3      searches of several different databases";
      4      right?
      5               A.        Yes.
      6               Q.        And then you say, "I also
      7      searched corporate records for unpublished
      8      studies"; right?
      9               A.        Yes.
     10               Q.        And then you identify some
     11      search terms that you used; right?
     12               A.        Yes.
     13               Q.        Those are the only sources that
     14      you list under step 2; right?
     15               A.        Correct.
     16               Q.        Okay.     So you're now adding to
     17      the sources that you used under step 2?
     18               A.        I'm not sure what you mean by
     19      "adding to sources."
     20               Q.        Well, you said "and
     21      depositions, and other documents."                   Those
     22      aren't listed here in step 2; right?
     23               A.        No.     They're listed elsewhere.
     24      Other -- as I said, all of the government

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      1      documents I relied on I believe were also
      2      corporate documents, but I wanted to
      3      distinguish to be clear.              They weren't
      4      generated by the companies but the companies
      5      had them.
      6                         So that's a distinction without
      7      a difference.
      8                         Depositions, I didn't include
      9      them, but I think I included them in the
     10      introductory materials before this section in
     11      this report.         I think they're on the first or
     12      second page.
     13               Q.        You did.       But here, where you
     14      talked about your systematic retrieval of the
     15      best evidence available, you didn't list
     16      them, did you?
     17               A.        Correct.       I only listed them at
     18      the beginning.          It was a mistake.          I should
     19      have relisted depositions here.
     20               Q.        Okay.     And let's look at your
     21      reference to corporate records here on
     22      page 41.
     23               A.        Okay.
     24               Q.        You say, "In addition to

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      1      published evidence, I also searched corporate
      2      records for unpublished studies"; right?
      3               A.        Right.
      4               Q.        Not for anything else; right?
      5               A.        No.     I searched for all kinds
      6      of other things.
      7               Q.        Well, you qualify it here by
      8      saying you simply searched corporate record
      9      for unpublished studies in step 2 of your
     10      evidence-based methodology, don't you?
     11               A.        Yeah, but if you look at the
     12      search terms, it's obvious I was searching
     13      for other things.
     14               Q.        Sir, there's nothing obvious
     15      about that.        Those search terms could easily
     16      be found in unpublished studies, couldn't
     17      they?
     18                         MS. CONROY:        Objection.
     19                         THE WITNESS:         I don't think so.
     20               Q.        (BY MS. SAULINO)           So it's your
     21      testimony --
     22               A.        Not all of them.           I don't think
     23      so.
     24               Q.        So it's your testimony, sir,

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      1      that while you didn't say that you used more
      2      than one -- that you used corporate records
      3      for more than unpublished studies, and in
      4      fact said exactly the opposite here, we
      5      should have known based on the search terms
      6      you listed?        That's your testimony?
      7               A.        No.     I think elsewhere in the
      8      report I explained that I reviewed all of the
      9      documents in the repository, and I said that
     10      in that section.           It says, "I have accessed
     11      the entire repository documents."                  Okay?      And
     12      so the -- the -- it says, "In addition to
     13      published literature, I also searched
     14      corporate records for unpublished studies."
     15      There's a period.           And then "I also had
     16      access to the entire repository documents
     17      listed in this litigation."                Another period.
     18                         So the rest of that paragraph
     19      or bullet points in the bullet points of 42,
     20      are the other topics for which I searched the
     21      entire database.
     22               Q.        Sir, with respect --
     23               A.        Not respective of whether or
     24      not they were an unpublished study.

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      1               Q.        Sir, with respect, that's not
      2      what that paragraph says, is it?
      3               A.        Well, with respect, it is what
      4      it says.
      5               Q.        Sir, you say you "searched
      6      corporate records for unpublished studies."
      7      You then list the corporate records that you
      8      searched, and you list the search terms that
      9      you used in order to find unpublished
     10      studies.       That is what you say in your
     11      report; right?
     12                         MS. CONROY:        Objection.
     13                         THE WITNESS:         No.    The second
     14               sentence says, "I have had access to
     15               the entire repository of documents
     16               produced in the litigation," and it
     17               goes through what documents -- who
     18               provided those documents, and then it
     19               also has another sentence, okay?
     20               Which includes the search terms,
     21               without reference or limitation, to
     22               published studies.           Unpublished
     23               studies.
     24               Q.        (BY MS. SAULINO)           You'd agree

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      1      with me all of that is qualified by the
      2      paragraph that you start with that
      3      specifically identifies unpublished studies
      4      as what you were looking for?
      5               A.        I do not agree with you,
      6      because that is a second -- a different
      7      sentence.
      8               Q.        Okay.
      9               A.        I had a "none" once and I'd
     10      have to defer to the "none" as to whether or
     11      not the sentence before the definition of
     12      search terms is an independent clause rather
     13      than the initial paragraph which is separated
     14      from that sentence by a list of companies
     15      whose documents were produced.
     16               Q.        Let's look at your search
     17      terms, sir.
     18                         You would agree with me that
     19      it's important to get key terms right,
     20      because otherwise you might miss relevant
     21      documents in your searches?
     22               A.        Well, if you limit it to terms,
     23      that would be true.            I didn't limit it to
     24      those terms.

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      1               Q.        So there are other terms that
      2      you used that you did not list here in your
      3      report?
      4               A.        Sure.     It's an iterative
      5      search.       I mentioned the -- when the lawyer
      6      for Insys was asking.             We did all kinds of
      7      sex terms.        And I didn't mention that in here
      8      either.       This is an iterative process.
      9      That's what grounded theory is.                 You find
     10      something, then you pursue other things
     11      related to what you found.               And you do a
     12      variety of searches based on what you find in
     13      previous searches.
     14               Q.        Sir, I'm looking at the
     15      evidence-based medicine methodology right
     16      now, not the grounded theory methodology.
     17               A.        That's fine.         I'm just telling
     18      you what -- that that's what I did.                   The
     19      grounded theory applies to how I reviewed
     20      this evidence-based medicine.                 Remember,
     21      evidence-based medicine is pretty much
     22      limited to evidence, not as it's written.                      So
     23      I'm adopting that method as a basis for using
     24      grounded theory method, which allows me to do

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      1      a broader analysis beyond the confines of
      2      published medical evidence.
      3               Q.        And what you just said is not
      4      written anywhere in your report, is it?
      5               A.        That's correct.
      6               Q.        So there was no way for us to
      7      know that until you just told me right now;
      8      right?
      9               A.        No.     Not at all.
     10               Q.        Now, you said that -- you say
     11      in your report, "I initially searched the
     12      sources above for" --
     13               A.        Wait.     Will you tell me where
     14      you're reading from?
     15               Q.        Page 42, your words, sir.
     16               A.        Okay.     Go ahead.
     17               Q.        "I initially searched the
     18      sources above for key terms identified by me
     19      including," and you list them; right?
     20               A.        Correct.
     21               Q.        You identified these terms
     22      yourself?
     23               A.        Correct.
     24               Q.        No one helped you?

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      1               A.        Well, I discussed them all with
      2      the staff, so we had a group discussion.                      But
      3      I think pretty much these are mine.
      4               Q.        Okay.
      5                         And --
      6               A.        It could be that one of my
      7      staff suggested one or another one.
      8               Q.        And you just told me there are
      9      a number of other terms that you used; right?
     10               A.        Sure.
     11               Q.        But you don't list them here?
     12               A.        Correct.
     13               Q.        And you don't list them
     14      anywhere else in the report?
     15               A.        That's correct.
     16               Q.        And so there's no way for us to
     17      know what other search terms you used; right?
     18               A.        That's correct.
     19               Q.        Now, is it the case --
     20               A.        I got a list of the sex terms,
     21      I think.
     22               Q.        Sir, I understand that you want
     23      to talk about the sex terms, but I'd like to
     24      talk about your report.

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      1                         MS. CONROY:        Objection.
      2               Q.        (BY MS. SAULINO)           So you list
      3      here a set of terms; right?
      4                         Is it fair to say that these
      5      are the first terms that you put through the
      6      database?
      7               A.        Yes.
      8               Q.        Okay.     So your initial search
      9      was based on these terms; right?
     10               A.        Yes.
     11               Q.        Okay.     And then from there, you
     12      added additional terms after?
     13               A.        Sure.
     14               Q.        Okay.     So, isn't it true that
     15      anything that wouldn't be caught by these
     16      initial search terms, you then wouldn't have
     17      later reviewed?
     18               A.        No.
     19               Q.        So you did the initial search
     20      over again with additional terms?
     21               A.        You can only do an initial
     22      search once, so the answer to that is no.
     23               Q.        I'm asking you about your
     24      process, sir.

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      1                         Do you have any way to describe
      2      the process that you used with your initial
      3      search terms?
      4               A.        Sure.     You get -- you do the
      5      initial search, you read the documents.
      6      Then, for example, if you find -- let's say
      7      you find some document with Sade name on it.
      8      Okay?     So then you do a search by Sade's
      9      name, because you want to know what else Sade
     10      is involved in.
     11                         Or you find Katz's name.              So
     12      you put Katz name in.             What else can you find
     13      out about Katz.          Or you do a search and
     14      you'll find the word "impact."                 And then you
     15      do a search by impact.
     16                         So you search by individual
     17      names, you search by entities, you -- you
     18      know, then you find the American Pain
     19      Foundation and the result.               And then you do a
     20      search by that.          And then if you find
     21      something in those documents, you do
     22      subsequent searches.            It's an iterative
     23      process.
     24               Q.        Okay.     I understand that you're

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      1      saying it is an iterative process, which is
      2      the grounded theory approach; right?
      3               A.        Yes.
      4               Q.        And you used the grounded
      5      theory method in combination with the
      6      evidence-based medicine approach?                  Is that
      7      what we're now understanding?
      8                         MS. CONROY:        Objection.
      9                         THE WITNESS:         I used the
     10               evidence-based medicine approach
     11               primarily for evidence, but I
     12               incorporated aspects of the
     13               evidence-based approach in the
     14               grounded theory method.              Because some
     15               of what I was doing in evidence-based
     16               medicine was looking at evidence.                  In
     17               order to understand some of the
     18               development of evidence, you have to
     19               use grounded theory.            Particularly
     20               when you're looking at manipulation of
     21               study data, or influencing
     22               researchers, things that are not
     23               within the four corners of what
     24               Sackett and others would generally, at

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      1               the time frame, have considered
      2               important to evidence.             But which now
      3               turns out to be a whole subfield of
      4               evidence.       So you have to combine them
      5               both.
      6               Q.        (BY MS. SAULINO)           What you have
      7      just been referring to as evidence in your
      8      answer, you mean by that data generated from
      9      quantitative studies; right?
     10               A.        In part.
     11               Q.        I'm trying to understand your
     12      previous answer, sir.             And you said you used
     13      the evidence-based medicine approach
     14      primarily for evidence, but then you
     15      explained that you had to incorporate the
     16      grounded theory method for things that aren't
     17      typically a part of evidence.
     18                         And so I'm trying to understand
     19      what evidence is to you.
     20               A.        Well, everything in my report
     21      is evidence, if you want a short answer.                      The
     22      bases of my opinions are evidence, that
     23      support my opinions.            But in this particular
     24      case, if you want this distinction, mostly in

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      1      medicine, you're looking at, say, a
      2      randomized controlled trial.                Let's look at
      3      the Roth study.
      4                         So you look at the Roth study.
      5               Q.        Sir, I don't need an example,
      6      just an answer to the question.
      7                         MS. CONROY:        Please don't
      8               interrupt the witness when he's in the
      9               middle of a --
     10                         SPECIAL MASTER COHEN:             She's
     11               allowed to say that.
     12                         THE WITNESS:         Okay.     Well, your
     13               question was -- and so I'm trying to
     14               understand what evidence is to you.
     15               Okay?     So --
     16               Q.        (BY MS. SAULINO)           And I think
     17      you've answered that, sir.               You were about to
     18      give an example, but you had answered it;
     19      right?
     20                         MS. CONROY:        Objection.
     21                         THE WITNESS:         I gave an
     22               incomplete answer, but the judge has
     23               ruled so you can go on.
     24                         SPECIAL MASTER COHEN:             So just

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      1               let me just step in there and offer an
      2               observation.        This is a discovery
      3               deposition.        It's not de bene esse.
      4               You're not testifying in court.                 If
      5               you were testifying in court, you
      6               would be allowed to give a complete
      7               answer.      You would be allowed to
      8               finish your answer.
      9                         But this is a discovery
     10               deposition, and they control what it
     11               is they want to discover, including,
     12               as I said earlier, a decision not to
     13               discover some things, for example, the
     14               examples you want to give to better
     15               explain your answer.
     16                         That's their choice.
     17                         So she is allowed to say, all I
     18               want is a "yes" or "no" answer, even
     19               if it's not really a "yes" or "no"
     20               answerable question.            Okay?
     21                         THE WITNESS:         Well, Your Honor,
     22               if she'd asked the yes-or-no question,
     23               I would give a "yes" or "no" answer.
     24               Her question was --

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      1                         SPECIAL MASTER COHEN:             In that
      2               case --
      3                         THE WITNESS:         My interpretation
      4               of what evidence-based evidence was.
      5               She didn't ask a yes-or-no question.
      6                         SPECIAL MASTER COHEN:             I agree
      7               with you in that case.             There are
      8               questions she has asked which are
      9               "yes" or "no" answers.
     10                         THE WITNESS:         And I tried to
     11               answer them all "yes" or "no."
     12                         SPECIAL MASTER COHEN:             I'm just
     13               giving you guidance.            I'm not scolding
     14               you.     I'm trying to make this go more
     15               smoothly.
     16                         THE WITNESS:         I understand.
     17                         SPECIAL MASTER COHEN:             I will
     18               also add that there are certain
     19               courtesies that you can give to the
     20               deponent, such as telling him what
     21               page you're reading from, and perhaps
     22               asking with less vigor some of your
     23               questions.
     24                         MS. SAULINO:         Fair enough,

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      1               Your Honor.        Thank you.
      2               Q.        (BY MS. SAULINO)           Let's move on
      3      to step 3.        "Critical appraisal of evidence
      4      for quality clinical relevance and
      5      applicability."          I'm on page 42 where we just
      6      were.
      7               A.        Sure.
      8               Q.        Okay.     You say, "First, the
      9      researcher must consider the type of study
     10      returned."        Right?
     11               A.        Yes.
     12               Q.        "And different guidelines may
     13      be used to critically appraise different
     14      types of studies"; right?
     15               A.        Yes.
     16               Q.        "I used each of these where
     17      appropriate to inform my analysis"; right?
     18               A.        Yes.
     19               Q.        And then you have following for
     20      a couple of pages a list of about 32
     21      questions; right?
     22               A.        I didn't count them, but I'll
     23      take your word for it.
     24               Q.        Okay.     Now, you say, as we just

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      1      read, "I used each of these where appropriate
      2      to inform my analysis"; right?
      3               A.        Yes.
      4               Q.        You don't anywhere in your
      5      report provide any indication of which
      6      questions were used to inform your analysis
      7      for which opinion; right?
      8               A.        Not by number.          That's correct.
      9      But I did refer to certain of these in
     10      certain opinions.
     11               Q.        So unless we see one of these
     12      questions listed as the basis for one of your
     13      opinions, there's no way for us to know which
     14      questions you used in order to form that
     15      opinion; right?
     16                         MS. CONROY:        Objection.
     17                         THE WITNESS:         No.
     18               Q.        (BY MS. SAULINO)           I'm not
     19      right?
     20               A.        You are not correct.
     21               Q.        Okay.     What is not correct
     22      about what I just said?
     23               A.        In some cases, in some
     24      opinions, I have made explicit reference to

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      1      some of the questions in pages 42 to 45.
      2                         In other cases, if you were
      3      well-versed in epidemiology or in analysis of
      4      medical literature, you could know when I was
      5      using one of these methods, even if I didn't
      6      explicitly refer to a particular technique.
      7               Q.        All right.        But unless you
      8      actually list it as one of -- as a part of
      9      the bases for your opinions, there are -- I
     10      agree with you, there are some where you do
     11      list a question or some questions as part of
     12      the bases for your opinion; right?                   As you
     13      just said.
     14                         You and I are agreeing, sir.
     15               A.        I know.      I'm just trying to
     16      understand.        I'm trying to read the --
     17                         Yes.
     18               Q.        Okay.
     19               A.        Yes.
     20               Q.        So unless you've listed it,
     21      there's no way for us to know for sure what
     22      questions you were using for your critical
     23      appraisal of evidence for validity of
     24      clinical relevance and applicability; right?

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      1                         MS. CONROY:        Objection.
      2                         THE WITNESS:         No.
      3               Q.        (BY MS. SAULINO)           And you say
      4      no because if we are versed in epidemiology,
      5      we should be able to figure out precisely
      6      which questions you were using; right?
      7                         MS. CONROY:        Objection.
      8                         THE WITNESS:         In part.      You
      9               also have an opportunity for 14 hours
     10               today and tomorrow to ask anything you
     11               want about them what relates to what.
     12               Q.        (BY MS. SAULINO)           I see.     But
     13      you didn't see that it was necessary to spell
     14      that out in your report; right?
     15               A.        I -- that's correct.            I didn't
     16      think I needed to reference a particular
     17      question to a particular opinion.
     18               Q.        Now, you list more than
     19      36,000 pieces of literature in Exhibit C;
     20      right?
     21               A.        Yes.
     22               Q.        You certainly didn't go through
     23      this critical analysis for all 36,000-plus
     24      pieces of literature there, did you?

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      1               A.        That's correct.
      2               Q.        There is no way for us to know
      3      which pieces of literature of those 36,000
      4      you did use the critical analysis for; right?
      5               A.        Not by reading the report,
      6      that's correct.
      7               Q.        So if an expert, for instance,
      8      for the defendants, wanted to take your
      9      report and replicate your work in that
     10      regard, there's no way to do that; right?
     11                         MS. CONROY:        Objection.
     12                         THE WITNESS:         No.
     13               Q.        (BY MS. SAULINO)           Not based on
     14      your report, is there?
     15               A.        Sure there is.          They could go
     16      through the literature and see if I missed
     17      something as a basis of an opinion for --
     18                         I mean, most of that literature
     19      I was looking at, these questions related to
     20      whether or not opioids were effective for
     21      chronic pain.         That was a big issue.
     22                         And the big issues would be
     23      easy to check.          We just searched that
     24      database for chronic non-malignant pain

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      1      opioids, you won't find much in those
      2      searches.       Somebody could do that search and
      3      see if I missed it.            That's one example.
      4               Q.        Sir, the searching the database
      5      for chronic -- I'm sorry, what was --
      6               A.        Chronic non-malignant pain.
      7               Q.        Non-malignant pain and opioids
      8      is not one of the questions that's listed
      9      here that you used where appropriate for your
     10      critical appraisal; right?
     11               A.        That specific question is not
     12      there, but it's in the opinions.
     13               Q.        Okay.     So you used additional
     14      questions to make your critical appraisal?
     15               A.        Sure.     Those are just the
     16      background questions.
     17               Q.        I see.      But you would agree
     18      with me that on page 42, under step 3 --
     19               A.        Right.
     20               Q.        -- you say, "I used each of
     21      these where appropriate to inform my
     22      analysis," and then you follow that with
     23      several pages of questions; right?
     24               A.        Are we on the -- you're at

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      1      page 42?
      2               Q.        Mm-hmm.
      3               A.        333.1?
      4               Q.        I was reading the sentence that
      5      just precedes 333.1.
      6               A.        Right.
      7               Q.        Okay.     So when you -- when you
      8      indicated here in your report, "I used each
      9      of these where appropriate to inform my
     10      analysis" and followed that with several
     11      pages of the types of questions that you used
     12      where appropriate, you didn't think it was
     13      necessary -- it was important to put in all
     14      of the questions that you were using?
     15               A.        Correct.
     16               Q.        And nowhere is that written
     17      down?     All the questions that you were using?
     18               A.        Correct.
     19               Q.        Okay.
     20                         Now, the searches that you ran
     21      on the 36,292 pieces of medical literature
     22      that you list on Exhibit C, did you run those
     23      searches yourself?
     24               A.        Yes.

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      1               Q.        All of them?
      2               A.        Yes.
      3               Q.        So you didn't rely on your
      4      students or staff for those searches?
      5               A.        No, they checked some of it.
      6               Q.        And once the results were
      7      returned, you reviewed the abstracts, study
      8      descriptions or results to determine whether
      9      each study addressed your questions; right?
     10               A.        Correct.
     11               Q.        And you did that with respect
     12      to everything that was returned by your
     13      search terms?
     14               A.        Correct.
     15               Q.        Do you know how many pieces of
     16      medical literature were returned by your
     17      search terms?
     18               A.        No.
     19               Q.        But you do know that you
     20      reviewed them all yourself?
     21               A.        I did iterative searches after
     22      the initial search.
     23               Q.        Again, which you don't document
     24      in your report; right?

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      1               A.        Correct.
      2               Q.        Now, earlier you said that
      3      you've spent 384 hours on this litigation;
      4      right?
      5               A.        Correct.
      6               Q.        How many of those 384 hours did
      7      you use for this running of search terms,
      8      iteratively rerunning them and reviewing
      9      critically the published literature that
     10      resulted?
     11               A.        No idea.
     12               Q.        Can you give me any kind of
     13      estimate?
     14               A.        No.
     15               Q.        Do you remember doing it at
     16      all?
     17               A.        Sure.
     18               Q.        And about how many hours do you
     19      remember doing it?
     20               A.        I don't remember how many
     21      hours.
     22               Q.        Do you know how many pieces of
     23      literature you ultimately reviewed
     24      critically?

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      1               A.        No.
      2               Q.        Can you give me any estimate at
      3      all?
      4               A.        No.
      5               Q.        You would agree with me it
      6      would have been tough for you to review
      7      36,292 pieces of literature in 384 hours;
      8      right?
      9               A.        To read them all?           Yes.
     10      Impossible.
     11               Q.        But you can't give me any
     12      estimate as to how many of them you did read?
     13               A.        No.     I could tell you that the
     14      search for, for example, chronic
     15      non-malignant pain and opioids probably comes
     16      up with less than 20 papers, I think.
     17               Q.        Okay.
     18               A.        Those, I read them all.
     19                         So then others, there were lots
     20      of papers that I didn't consider to be
     21      relevant.       They didn't come up in the search
     22      or there weren't many.
     23               Q.        Okay.     But you choose not to
     24      identify in Exhibit C or anywhere else which

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      1      papers it was you did actually read; right?
      2                         MS. CONROY:        Objection.
      3                         THE WITNESS:         No, it's some
      4               cases.      For example, the chronic
      5               non-malignant pain, for the number of
      6               people who have pain, I think there's
      7               specific literature cited for the EERW
      8               section.       There's lot of literature
      9               mentioned.
     10                         In other cases there's specific
     11               literature mentioned.
     12               Q.        (BY MS. SAULINO)           Are you
     13      testifying that unless -- that every piece of
     14      specific literature that you reviewed and
     15      relied on is listed somewhere in your report?
     16               A.        No.
     17               Q.        So there are some missing?
     18                         MS. CONROY:        Objection.
     19                         THE WITNESS:         I'm -- well,
     20               first of all, there's 35,000, 36,000
     21               articles that were part of the general
     22               search.      Aside from giving you the
     23               titles, I didn't cite them because
     24               most of them I didn't rely on.

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      1               Although, I reviewed them to the
      2               extent that searching the abstracts
      3               and key words reviews them.
      4                         There are other sections where
      5               there is detail on the number of
      6               papers and cites.           For example, the
      7               impact of marketing on physician
      8               behavior and conduct.             There's a lot
      9               of cites there.          Probably not all of
     10               them.
     11                         There's two papers that came
     12               out last week -- oh, I should have
     13               mentioned those before.              They would be
     14               supplemental bases for my opinion, one
     15               that came out, I think yesterday.
     16               So -- that are relevant.              And those
     17               are not in the report for obvious
     18               reasons.       They didn't exist.
     19               Q.        (BY MS. SAULINO)           So those are
     20      additional new bases for your opinions?
     21               A.        They're additional new bases
     22      for my opinions.
     23               Q.        And they're not included in
     24      anything you've testified to already; right?

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      1               A.        Correct.       Forgot about those
      2      two.
      3               Q.        What are the names of those
      4      articles?
      5               A.        One came out of Yale, was --
      6      Ross is one of the authors.                That paper deals
      7      with -- correlates the money spent to
      8      influence physicians with the dose of opioids
      9      used by physicians.
     10                         And the other one correlates
     11      death rates to higher dose.                It's kind of
     12      like a matched set.            They're both in JAMA, I
     13      think.      Ross is in JAMA.          I think the other
     14      one is also in JAMA.
     15               Q.        Now, if you look at page 48 of
     16      your report, at the top.
     17               A.        Okay.
     18               Q.        You have a section titled
     19      "Evaluation of funding source and conflicts
     20      of interest"; right?
     21               A.        I do.
     22               Q.        And there you say, "In addition
     23      to the factor reviewed above" -- I believe
     24      you meant to say "factors" there, right?

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      1               A.        Correct.       That's a
      2      typographical error.
      3               Q.        "Funding source and conflicts
      4      of interest should be reviewed and considered
      5      for all studies"; right?
      6               A.        Yes.
      7               Q.        Okay.     And you say that because
      8      you believe -- and I'm now quoting from the
      9      top of page 49 of your report -- that "There
     10      is a high risk of bias when the producers of
     11      evidence have an invested interest in the
     12      results."
     13               A.        Where are you now?
     14               Q.        I'm looking at the second line
     15      of the top of page 49.
     16               A.        Okay.     Halfway through the
     17      sentence.       Yes.     That's part of that
     18      sentence.
     19               Q.        Okay.     I'm just asking whether
     20      you believe that to be true?
     21               A.        Let me read the whole sentence.
     22               Q.        Well, sir, I'm not really
     23      asking you whether you believe the sentence
     24      to be true.        I'm just asking whether you

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      1      believe that there is a high risk of bias
      2      when the producers of evidence have an
      3      invested interest in the results.                  I actually
      4      thought that would be an easy one for you.
      5                         MS. CONROY:        Objection.
      6                         THE WITNESS:         That's a more
      7               complicated question than you might
      8               think.      That's true, but there's
      9               evidence that disclosure also induces
     10               misrepresentation.           So it goes both
     11               ways.
     12               Q.        (BY MS. SAULINO)           Okay.     Well,
     13      you also believe that whoever funds your
     14      organization owns it; right?
     15               A.        Are you reading from someplace?
     16               Q.        It is something that you
     17      included in one of your opinions, but I'm
     18      just asking you whether you believe that.
     19               A.        Out of context?          No.
     20               Q.        So it's not something you
     21      generally believe?
     22                         MS. CONROY:        Objection.
     23                         THE WITNESS:         Yeah, I don't
     24               have a statistic on that.              It's

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      1               certainly not always true.
      2               Q.        (BY MS. SAULINO)           In any event,
      3      for the reasons of potential bias, you
      4      included funding source and industry bias as
      5      one of the factors that would decrease your
      6      confidence in a particular source of
      7      evidence; right?
      8               A.        That's generally the direction
      9      of the medical literature, correct.
     10               Q.        Okay.     And there, I wasn't
     11      quoting but I was looking at the very last
     12      sentence of 333.5.
     13                         Just letting you know where I
     14      was looking, sir.
     15               A.        Okay.
     16               Q.        Okay?
     17               A.        There's no question.
     18               Q.        So you are agreeing that you
     19      included funding source and industry bias as
     20      one of the factors that would decrease your
     21      confidence in a particular source of
     22      evidence?
     23               A.        Unless it was a statement
     24      against interest.

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      1               Q.        Okay.     You didn't say that
      2      here, did you?
      3               A.        That's correct.          I just
      4      modified it.
      5               Q.        And have you modified your
      6      thinking on that since March 25th?
      7               A.        No.     It was incomplete, this
      8      sentence.       I didn't incorporate the entire
      9      idea.
     10               Q.        Now, you testified earlier that
     11      while you haven't been paid yet in this case,
     12      you are owed $600 times 384 hours to date;
     13      right?
     14               A.        Correct.
     15               Q.        Probably more for today because
     16      it would be 650 for today; is that right?
     17      650 per hour?
     18               A.        Correct.
     19               Q.        Okay.     And that, I did it on a
     20      calculator and I got $230,400 owed up until
     21      this morning.         Does that sound right to you?
     22               A.        I didn't do the math.             I'll
     23      take your word for it.
     24               Q.        And that's just for your hours;

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      1      right?
      2               A.        Correct.
      3               Q.        So we then need to add to that
      4      all of the hours that have been spent by your
      5      staff and students; right?
      6               A.        Correct.
      7               Q.        At their hourly rates; right?
      8               A.        Correct.
      9               Q.        And do you get some of that
     10      money as well?
     11               A.        That money is all paid to me
     12      and then I pay them.
     13               Q.        Is it a complete pass-through
     14      or do you keep some of it?
     15               A.        There's no way to complete
     16      pass-through.         I pay benefits, vacation,
     17      things like that.           So I -- there's no way for
     18      me to calculate what the overage is.                    It's
     19      not a complete pyramid scheme like a law firm
     20      might run.
     21               Q.        So they each make their own
     22      hourly rate that's not the same as you're
     23      charging the plaintiffs?
     24               A.        They make an hourly rate and

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      1      time and a half for overtime that's -- I have
      2      a fixed rate for the plaintiffs.
      3               Q.        What is your hourly rate for
      4      your students?
      5               A.        I don't -- the students are $20
      6      an hour.
      7               Q.        No, I know.        That you pay them.
      8               A.        $20 an hour.
      9               Q.        And what about for each of your
     10      staff members?
     11               A.        What their hourly rates are?
     12               Q.        Yes.
     13               A.        I don't recall.
     14               Q.        Less than $70 an hour?
     15               A.        Well, I think their rate's
     16      generally between 25 and 35 or 40.                   But when
     17      they're working time and a half or
     18      double-time, which happens, then they could
     19      get up to 60 or $70 an hour.
     20               Q.        Do you charge the plaintiffs
     21      overtime?
     22               A.        No.     Plaintiffs get a fixed
     23      rate.     So that's why I'm saying I -- the
     24      overage I get from them is not much, usually,

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      1      because I don't -- they're billed at a fixed
      2      rate.
      3               Q.        Okay.     In addition to that, you
      4      have previously testified that you've made
      5      certainly more than 5 million, probably more
      6      than $6 million from testimony that you have
      7      given for plaintiffs over the years; right?
      8               A.        Well, in litigation, I think
      9      it's both at the request of plaintiffs and
     10      defendants, yes.
     11               Q.        Well, earlier you said that of
     12      your -- I think you said 4 to 500 times
     13      testifying, although previously you've said 6
     14      to 700 times testifying -- that the vast
     15      majority of that was testimony that the
     16      plaintiffs had been retained -- had retained
     17      you to do; right?
     18               A.        That's correct.
     19               Q.        And you've previously testified
     20      to that as well; right?
     21               A.        Yes.
     22               Q.        Now, you've never testified on
     23      behalf of a pharmaceutical company in
     24      litigation, where a plaintiff is alleging a

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      1      personal injury, have you?
      2               A.        I don't testify on behalf of
      3      anybody, and I've not been retained by a
      4      pharmaceutical company in any cases.
      5               Q.        Okay.     And you've not been
      6      retained by a pharmaceutical distributor in
      7      any cases?
      8               A.        Correct.
      9               Q.        And you've not been retained by
     10      a pharmacy in any cases; right?
     11               A.        Correct.
     12               Q.        But you have said publicly that
     13      you believe that companies deserve full
     14      credit for lying, cheating, and endangering
     15      people's health; right?
     16               A.        Correct.
     17               Q.        You've also said that you
     18      believe that "Every day executives from
     19      corporations spanning the pharmaceutical and
     20      medical device industry, preoccupied with
     21      increasing profits and maintaining status as
     22      viable competitors in the industry, knowingly
     23      market unsafe or inadequately tested drugs
     24      and medical devices to raise their bottom

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      1      line"; right?
      2               A.        I think that's a correct quote.
      3      It's from the science article?
      4               Q.        It is a quote from an article
      5      by you and Dr. Ardolino?
      6               A.        Oh.     So that's a published
      7      paper.      That's a published book chapter now.
      8      Correct.
      9               Q.        You do hold that belief,
     10      though; right?
     11               A.        True.
     12               Q.        And you've made a lot of money
     13      off of those beliefs that you hold; right?
     14                         MS. CONROY:        Objection.
     15                         THE WITNESS:         No.
     16               Q.        (BY MS. SAULINO)           Well, you've
     17      made certainly more than 5 million, probably
     18      more than 6 million up until this litigation,
     19      and then another couple hundred thousand so
     20      far; right?
     21               A.        That's correct.          Those are not
     22      related ideas.
     23               Q.        So you're saying that your work
     24      for the plaintiffs in this case and in other

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      1      cases where you've testified holds no
      2      relationship to your beliefs that we just
      3      recounted?
      4               A.        No.     It doesn't relate to my
      5      beliefs.       That's correct.          It relates to the
      6      fact that led to my beliefs.
      7               Q.        I see.      And so isn't it true,
      8      though, sir, based on your own logic that you
      9      explain in your report, that all of the
     10      hundreds of thousands of dollars you've made
     11      in this case and the millions of dollars
     12      you've made over the years, testifying for --
     13      as having been retained by plaintiffs'
     14      lawyers is a factor that should lead jurors
     15      to decrease their confidence in the evidence
     16      that you present?
     17               A.        It's certainly something they
     18      should consider in evaluating my testimony.
     19               Q.        Okay.
     20               A.        There is a difference between
     21      this and the other biases discussed in the
     22      medical literature.            That difference is this
     23      process, and it is not a trivial difference.
     24               Q.        When you say "That difference

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      1      is this process," you mean your
      2      evidence-based medicine combined with
      3      grounded theory approach that you have been
      4      discussing today?
      5               A.        No.     I mean your
      6      cross-examination.           I mean your ability to
      7      research and review everything I've written.
      8                         This room full of lawyers who
      9      are looking for any and every mistake I may
     10      have made limits my ability to twist, slant,
     11      or in any other way deviate from the facts.
     12      This process is much more rigorous, not even
     13      close, to peer review, to dissertation review
     14      or anything else.           So when I prepare reports
     15      or testimony for this process, it's in
     16      anticipation of being reviewed in immense
     17      detail.
     18                         And not only that.           I
     19      understand that everything that I've said in
     20      my entire life will be reviewed and will be
     21      compared to the opinions that I give in this
     22      litigation, as we sit here today.
     23                         So there's nothing like this
     24      process in the other areas or aspects of

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      1      bias.     And so when I know -- when you know
      2      you're in this process, and I know I'm in
      3      this process, there's a lot of reasons that I
      4      want to stick to the truth as much as
      5      possible and not spin anything, or take
      6      anything out of context.              Because I have
      7      great faith that you will be able, with all
      8      of your resources and with your great
      9      intelligence, to try to catch every minor or
     10      major error I make.
     11               Q.        So those reasons that you just
     12      laid out would also lead you, wouldn't they,
     13      sir, to want to detail in your report every
     14      step that you took in order to get to each of
     15      the conclusions that you made?
     16               A.        No.     Can't do that.         I don't
     17      have enough time.           I'd be dead by the time
     18      the report was written.
     19               Q.        So you're agreeing with me,
     20      sir, that you choose here not to detail each
     21      of the steps that you took to reach each of
     22      the conclusions that you made?
     23                         MS. CONROY:        Objection.
     24                         THE WITNESS:         Correct.      I

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      1               had -- I detailed what I thought were
      2               the bases of my opinions that could be
      3               evaluated, as you have been evaluating
      4               them, if it was a way that was
      5               sufficient for someone to understand
      6               what I did and look at what I did and
      7               evaluate whether it was compatible
      8               with the data that I reviewed.
      9                         And I am sure that if there was
     10               something that I said that was wrong,
     11               you will find it and you will correct
     12               it.
     13                         In some ways, I very much value
     14               this process because if I made a
     15               mistake, I don't want to make a
     16               mistake.       And so if you find someplace
     17               where I made a mistake, I want to
     18               correct it.        I certainly want to say
     19               it in a public forum.
     20               Q.        Now, sir, you just -- I'm sure
     21      you were joking, but you just said "I would
     22      be dead if I wrote down each of the steps
     23      that I took."         Right?      Meaning that it would
     24      take a long time to write that down?

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      1               A.        Hopefully I'm going to live
      2      long enough, yes.           That's correct.
      3               Q.        Okay.
      4               A.        Yes.
      5               Q.        But you're saying that they are
      6      steps that you did take, right?
      7               A.        Well, yes.        I take a lot of
      8      steps in my head that I don't write down.
      9               Q.        And these are steps that you've
     10      taken in less than four months; right?
     11               A.        No.
     12               Q.        Well, you were retained in
     13      November of 2018; right?
     14               A.        Yes.
     15               Q.        You were presented with your
     16      assignment in November of 2018; right?
     17               A.        Yes.
     18               Q.        And that was the answerable
     19      question that you then applied your
     20      methodology to; right?
     21               A.        Yes.
     22               Q.        And that was about four months
     23      ago, wasn't it?
     24               A.        Those facts individually are

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      1      correct.       But remember, I've been working on
      2      this case and had access to some of these
      3      documents since 2003.
      4                         I've been reviewing opioid
      5      literature and studying opioids and pain
      6      since 1974.
      7                         So a lot of the information
      8      that goes into the report dates from 1974.
      9               Q.        And there's no way for us to
     10      know what in the report dates from 1974 and
     11      what in the report is something that you
     12      reviewed in connection with this litigation?
     13               A.        Well, you can assume anything
     14      that I read after November, okay? -- was at
     15      least in part -- that I incorporated into the
     16      report -- was in part related to my work in
     17      this case.        Although, some of that literature
     18      I would have seen and read otherwise.
     19                         In other words, the Ross paper
     20      that I mentioned.           Well, that was e-mailed to
     21      me last night by my other kid who's at Yale.
     22                         So -- because it just came out
     23      yesterday.
     24                         So now that, I would not have

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      1      read that last night had he not sent it to
      2      me.
      3               Q.        You say we can assume anything
      4      that you read after November was a part of
      5      the -- or related to your work on the report;
      6      right?
      7               A.        I think that's fair.
      8               Q.        Okay.     Where do you list that?
      9               A.        I don't list it.           You go by the
     10      dates.
     11               Q.        Oh, I see.        So anything written
     12      after November?
     13               A.        Correct.       Yeah.     Anything
     14      written after November after I was retained
     15      in the case that was related to the case
     16      that's in the report, I read it in relation
     17      to the case.
     18               Q.        That's not terribly specific
     19      guidance, is it?
     20                         MS. CONROY:        Objection.
     21               Q.        (BY MS. SAULINO)           Not much of
     22      your opinion is based on things that were
     23      written after November of 2018; isn't that
     24      right?

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      1               A.        I don't -- I imagine most of
      2      what I wrote is based on things written
      3      before.
      4               Q.        Okay.     So what I'm asking you
      5      is, you said it would take a really long time
      6      for you to write down all of the steps you
      7      took in order to answer the question that you
      8      were asked in this litigation and then
      9      applied your methodology to; right?
     10                         We've been talking about you
     11      would be dead by then, but we all know you
     12      were joking, and we all hope that doesn't
     13      happen, so it took a really long time is what
     14      I said.
     15               A.        Right.      We could take a vote on
     16      whether anybody hopes it doesn't happen, but
     17      that's correct.          I bet you it won't be
     18      unanimous.
     19                         SPECIAL MASTER COHEN:             I'm
     20               neutral, I don't vote.
     21                         MR. MIGLIORI:         Can some of us
     22               vote twice?        I'd like to vote twice.
     23               Q.        (BY MS. SAULINO)           But we can
     24      agree to what you were saying there.

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      1               A.        And that includes plaintiff
      2      lawyers.       I guarantee that.
      3               Q.        Fair enough.         We can discuss
      4      this at a break.
      5                         So what you were saying there
      6      is it would take you a really long time to
      7      write down all of the steps that you took;
      8      correct?
      9               A.        Correct.
     10               Q.        But these are steps that you
     11      took in four months; right?                That's what I'm
     12      trying to get at.
     13               A.        No, No.      A lot of the steps
     14      began, as I said in 1974.               I've been reading
     15      literature --
     16                         Look, I did the reports in 2004
     17      in the Purdue literatures.               I did the FDA
     18      presentation in 2013.             I wasn't involved in
     19      any litigation between 2005, 2013 till
     20      November; right?           I obviously had been
     21      staying up with the literature.                 Okay?
     22      Because -- and I was staying up with the
     23      issue because I, on my own, did the paper and
     24      presentation at FDA.

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      1                         Also, I brought that story to
      2      the L.A. Times.          The L.A. Times story, that
      3      was based on my bringing that stuff to them.
      4               Q.        Okay.
      5               A.        So, I mean, I've been doing
      6      things got nothing to do with the litigation.
      7      I've been concerned about this issue for a
      8      long time.        I've been reading about this
      9      issue for a long time, applying this same
     10      methodology.
     11               Q.        Okay.     So but I'm asking you
     12      about your expert work in this case.                    Your
     13      methodology requires you to start with an
     14      answerable question, which you got in
     15      November of 2018; right?
     16               A.        I got that -- but that question
     17      is the question I've been applying --
     18                         That question came from me,
     19      modified slightly by the lawyers.                  And that's
     20      the question I've been asking all the time.
     21      It's a similar question to what I ask -- I
     22      develop in every case I do.
     23                         In other words, it's -- that's
     24      the -- the question of -- it's really a

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      1      general -- a more general question is, you
      2      know, why did this person get addicted and
      3      die?     That's the question.
      4                         I mean, it's a simple question,
      5      really.
      6               Q.        Okay.
      7               A.        But it's translated into kind
      8      of a more bite-sized piece there.                  Because
      9      when I go to the why question, you -- most
     10      people stop at the patient level.                  I don't
     11      stop at the patient level.
     12                         Okay?     I ask that question all
     13      the way to the generators of the
     14      manufacturers of the product, the
     15      distributors of the product, et cetera.
     16               Q.        Okay.
     17               A.        So that's just how I frame the
     18      question.
     19               Q.        All right, sir.          So --
     20               A.        Sorry, go ahead.
     21               Q.        It is fair to say that you
     22      didn't have access to the database of
     23      documents produced by defendants until
     24      November 2018; right?

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      1               A.        No.     I had some of them in
      2      2003, 2004, and 2005.
      3               Q.        And those were Purdue
      4      documents?
      5               A.        Purdue and others.           Because
      6      they produced other documents.                 I think they
      7      probably had some of the front group
      8      documents that were in that mix.
      9               Q.        Tell me something, sir.              Did
     10      the protective orders that you signed in
     11      those cases require you to destroy those
     12      documents after the litigation was over?
     13               A.        The Purdue documents?
     14               Q.        Uh-huh.
     15               A.        I don't think so.           I don't
     16      recall.
     17               Q.        Well, clearly, you didn't.               You
     18      kept them; right?
     19               A.        Yeah.     There were five CDs of
     20      documents that were released by the attorney
     21      general of Florida.            I got those CDs.          Those
     22      are not confidential.
     23               Q.        So nowhere in your report do
     24      you give us any idea of which of your

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      1      opinions are based on things that you've
      2      known since 1970 and which of your opinions
      3      are based on things that you've learned since
      4      November of 2018; right?
      5                         MS. CONROY:        Objection.
      6                         THE WITNESS:         Yes, as I
      7               modified before.
      8                         MS. SAULINO:         Okay.
      9               Q.        (BY MS. SAULINO)           Now, you say
     10      that step 4 of the evidence-based medicine
     11      method, which you list on page 49, you say,
     12      "This step speaks for itself.
     13                         "Once a critical analysis of
     14      the evidence has been completed, the findings
     15      can be applied to the situation at hand";
     16      right?
     17               A.        Correct.
     18               Q.        And you don't document what the
     19      situation at hand is, right?
     20               A.        Well, the situation at hand
     21      would be the assignment, yeah.
     22               Q.        Okay.     And you didn't write
     23      that down here, did you?
     24               A.        I did not write that down.

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      1               Q.        And step 5 is a
      2      self-evaluation; right?              An evaluation of
      3      performance?
      4               A.        Correct.
      5               Q.        And you say, "Guidelines exist
      6      for self-evaluation of each of the previous
      7      steps of EBM practice"; right?
      8               A.        Right.
      9               Q.        And then you said -- you then
     10      list seven questions for self-evaluation of
     11      finding the best external evidence; right?
     12                         Or sorry -- for ask -- you
     13      start with asking answerable questions.
     14      There's a self-evaluation for that; right?
     15                         I apologize.         I skipped ahead.
     16               A.        You skipped a section.             That's
     17      right, yes.
     18               Q.        Right.      So you start with your
     19      self-evaluation for answering answerable
     20      questions; right?
     21               A.        Right.
     22               Q.        You then list a number of
     23      questions, but you say, "Not all of these
     24      questions applied to my practice of EBM in

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      1      this context.         Of those which did apply, I
      2      found that my performance was satisfactory";
      3      right?
      4               A.        Correct.
      5               Q.        Which ones applied?
      6               A.        Am I asking any clinical
      7      questions at all that apply?                And am I asking
      8      well-formulated questions based on the
      9      guidance reviewed above?              I think I apply.
     10      Am I using a map to locate my knowledge gaps
     11      and articulate questions?               I didn't do that
     12      explicitly.        I don't think that's doable in
     13      this situation because of the grounded theory
     14      method doesn't really apply to that kind of
     15      construct.
     16                         Can I get myself unstuck when
     17      asking questions?           Doesn't really apply.
     18      More clinical -- limited clinical stuff.
     19                         Am I modeling the asking of
     20      answerable questions for my learners?                    I did
     21      not do that.         That's really related to
     22      teaching.
     23                         Am I writing any educational
     24      prescriptions in my teaching?                 Are they being

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      1      filled?       I didn't do that.          It's not part of
      2      my role here.
      3                         Are we incorporating questions
      4      asking and answering it to everyday
      5      activities?        No.     Not part of my role here.
      6      Well, because I'm blocked from doing that
      7      because of the confidentiality orders.
      8                         How well am I guiding my
      9      learners in the questions that -- in their
     10      question asking?           Well, I did discuss the
     11      assignment, and when they got my report, the
     12      plaintiff lawyers asked a lot of questions
     13      about the report and the -- we discussed the
     14      nature of the report.
     15                         Are my learners writing
     16      educational prescriptions for me?                  No.     The
     17      plaintiff lawyers didn't write me any
     18      educational prescriptions.               So those are the
     19      ones that didn't.
     20               Q.        So of your one, two, three,
     21      four, five, six, seven, eight, nine, ten
     22      questions here, three of them applied in this
     23      context?
     24               A.        I guess so, if you counted

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      1      right.
      2               Q.        And you chose, however, to list
      3      all of these questions and not give us any
      4      indication of which ones you were actually
      5      using.
      6               A.        Correct.       I didn't explicitly
      7      state.
      8               Q.        Now, you have a -- the next
      9      self-evaluation is finding the best external
     10      evidence, which I accidently skipped to
     11      earlier; right?
     12               A.        Correct.
     13               Q.        Okay.
     14               A.        No demerit points for that.                Go
     15      ahead, skip anything you want.
     16               Q.        And you list a number of
     17      questions here; right?
     18               A.        Correct.
     19               Q.        Now, here you just say, "I
     20      found that my performance was satisfactory";
     21      right?
     22               A.        Right.
     23               Q.        So you didn't skip any of
     24      those?

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      1               A.        No, I didn't skip any of those,
      2      but the test is yours.
      3               Q.        I'm sorry?
      4               A.        The test is yours.           Better than
      5      the self-evaluation is this two days.
      6               Q.        You then -- well, you -- you
      7      say here in your report you performed a
      8      self-evaluation, sir; right?
      9               A.        Correct.
     10               Q.        That's what I'm asking you
     11      about right now.
     12               A.        That's correct.          But what I'm
     13      saying is this external evaluation is much
     14      better than my own.
     15               Q.        You then say, "Self-Evaluation
     16      for critically appraising the evidence for
     17      its validity and potential usefulness";
     18      right?
     19               A.        Correct.
     20               Q.        Here again, not all of the
     21      questions applied, but you chose to write
     22      them all down and not give us any indications
     23      of which ones you used; right?
     24               A.        Correct.

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      1                         MS. CONROY:        Objection.
      2               Q.        (BY MS. SAULINO)           And then
      3      self-evaluation for applying results in
      4      practice; right?
      5               A.        Right.
      6               Q.        And again, not all of them
      7      applied.       You wrote them all down and didn't
      8      give us any indication of which ones you
      9      used; right?
     10               A.        None of these apply to practice
     11      because there's a confidentiality order in
     12      the case.
     13               Q.        Well you say here of those
     14      which did apply, I found that my performance
     15      was satisfactory.
     16               A.        Let me just --
     17                         Well, the second one applies,
     18      but it's not really relevant to this process.
     19                         It does apply, but not relevant
     20      to what we're doing here today.
     21               Q.        All right.        Well, let me ask
     22      you:     Your evaluations, your self-evaluations
     23      that you performed here, where are those
     24      documented?

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      1               A.        They're not documented.
      2               Q.        They're not documented
      3      anywhere?
      4               A.        Correct.
      5               Q.        Okay.     So there's no way for us
      6      to replicate them?
      7               A.        No.     You can go through this
      8      process.       I mean, that's what -- I have no
      9      doubt that you have taken great effort over
     10      the past four weeks to attempt to replicate
     11      and test every opinion I've given and every
     12      basis.      So there's plenty -- I imagine that's
     13      what we're going to spend most of the day
     14      doing.
     15                         So you can certainly critically
     16      evaluate what I've done, based on your access
     17      to the database and the literature, the same
     18      as I have.
     19               Q.        Sir, what you seem to be saying
     20      is, I too can look at the database and the
     21      literature that you -- the massive database
     22      that you've listed and the massive set of
     23      literature that you've listed and I can come
     24      to the same conclusions you did.                  That's what

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      1      you're saying?
      2               A.        No.     You can criticize -- I
      3      don't think you want to do that.                  That would
      4      probably not be in your client's best
      5      interest.
      6                         What I'm saying is you can look
      7      at the data.         You can talk to your client.
      8      You can talk to lots of experts, and you can
      9      evaluate what I've written and criticize me,
     10      based on the same data sets I have.
     11               Q.        So, sir --
     12               A.        And I expect that you've done
     13      that, and that we'll see the results.
     14               Q.        You understand that you're
     15      being offered as an expert in this
     16      litigation; right?
     17               A.        Right.
     18               Q.        That you have some expertise to
     19      offer to bring to bear on this methodology
     20      that you've laid out and the approaches that
     21      you've taken; right?
     22               A.        Correct.
     23               Q.        That you have something above
     24      and beyond what other people have; right?

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      1               A.        I have something beyond --
      2      above and beyond what a layman has.
      3               Q.        I see.      But anyone else who has
      4      a little more knowledge of looking at legal
      5      databases could do what you do?
      6               A.        I don't know what they could
      7      do.
      8               Q.        Okay.     What I'm asking you,
      9      sir, is --
     10               A.        That's not what I referred to
     11      before.       I referred to you folks.
     12               Q.        Let me be more clear.             What I'm
     13      asking you, sir, is I have asked you a number
     14      of questions about how to replicate
     15      statements you've made in your report as an
     16      expert; right?
     17               A.        Yes.
     18               Q.        And your response has been
     19      repeatedly that you're sure I'm doing that
     20      already; right?
     21                         MS. CONROY:        Objection.
     22                         THE WITNESS:         No, that's not
     23               exactly true.         You didn't ask that
     24               question explicitly.            If you want to

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      1               know how to replicate what I did, you
      2               take an opinion, okay?             Take a sample
      3               opinion.       Okay?




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      1                         Nowhere in this report do you
      2      provide us the ability to replicate what you
      3      did in order to come to any particular
      4      opinion.
      5               A.        Wrong.
      6               Q.        Nowhere in this report do you
      7      provide us the ability to look at one opinion
      8      and know what you looked at, what iterative
      9      searches you made, what conclusions you came
     10      to, how you challenged them, how you
     11      self-appraised them, none of that; right?
     12               A.        In detail, that's correct.
     13               Q.        Okay.     That's all I was asking.
     14               A.        All right.
     15                         THE WITNESS:         Can we take a
     16               break?
     17                         MS. SAULINO:         Yeah, I think now
     18               is a good time for a break.
     19                         THE VIDEOGRAPHER:           Off the
     20               record.      2:41.
     21                         (Recess taken, 2:41 p.m. to
     22               3:10 p.m.)
     23                         THE VIDEOGRAPHER:           We are back
     24               on the record at 3:11.

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      1                         THE WITNESS:         Okay.     So these
      2               are the two articles that I mentioned
      3               that came up this week as new bases.
      4               Q.        (BY MS. SAULINO)           Okay.     So
      5      thank you, Doctor.           You're looking at a
      6      folder that you have marked 26, which is a
      7      red folder and we're going to mark as
      8      Exhibit 6 to your deposition.
      9                         (Whereupon, Deposition Exhibit
     10               Egilman 6, Folder 26 arrow up does =
     11               arrow up death, was marked for
     12               identification.)
     13               Q.        (BY MS. SAULINO)           All right.
     14      Dr. Egilman, I'd like to turn to the grounded
     15      theory approach, which you begin discussing
     16      on the bottom of page 38 of your report.
     17               A.        Okay.
     18               Q.        Now, you say that "Grounded
     19      theory is an inductive method which allows
     20      analytical categories to emerge from the data
     21      presented"; right?
     22                         Second sentence.
     23               A.        38?
     24               Q.        Yeah.     Second sentence under

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      1      "State of the art methods."                The portion
      2      where you start talking about the grounded
      3      theory approach.
      4               A.        Oh, yeah, right.           Go ahead.
      5               Q.        Okay.     And you then two
      6      sentences later say, "The grounded theory
      7      approach recognizes that data collection and
      8      analysis are inherently interrelated
      9      processes and calls for analysis to begin at
     10      the time of first data collection"; right?
     11               A.        Correct.
     12               Q.        And the grounded theory
     13      approach -- and I'm not reading right now,
     14      but based on what I have seen in your report,
     15      is it fair that the grounded theory approach
     16      entails an initial formulation of hypotheses
     17      and then you -- as you've said over and over
     18      today, you constantly revise those during the
     19      course of research; right?
     20               A.        Well, you start with a -- you
     21      just start with a question.                And then not
     22      necessarily a hypothesis.
     23               Q.        Well, then let's look at your
     24      report.       You say towards the bottom of

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      1      page 38, "As described by Corbin and Strauss,
      2      the hypotheses are constantly revised during
      3      the course of the research, until they hold
      4      truth of the phenomena under study as
      5      evidence in repeated interviews, observations
      6      or documents"; right?
      7               A.        Right.
      8               Q.        Do you agree with that
      9      statement?
     10               A.        Well, I would say hypotheses
     11      are questions.
     12               Q.        Okay.     Do you see a distinction
     13      between the two?
     14               A.        I think you could perhaps --
     15      yeah, there's a distinction because
     16      hypothesis generally is a -- generally
     17      used --
     18                         Well, in science use a null
     19      hypothesis, which implies a non-causal
     20      relationship between two items.                 And a
     21      question is broader than that.
     22               Q.        Okay.     With respect to the
     23      grounded theory approach, which you discuss
     24      here on pages 30 -- starting on 38 and moving

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      1      on to 39, you don't list either initial
      2      hypotheses or initial questions, do you?
      3               A.        No, not exactly.
      4               Q.        And you don't list your initial
      5      hypotheses or questions to be used in the
      6      grounded theory approach anywhere in your
      7      report, do you?
      8               A.        No.     Not correct.
      9               Q.        Where do you list them?
     10               A.        Well, we've gone over some of
     11      them.     Some of the background questions were
     12      listed.       And then I think in the EERW
     13      section, I think there are hypotheses or
     14      questions listed there.
     15                         In the critique of the
     16      Rappaport, chicken and egg constructs, I
     17      think in the chronic pain analysis with
     18      respect to opioid treatment.
     19                         Off-label promotion.            And the
     20      12-hour dosing regimens, I think certainly
     21      those incorporate questions.
     22               Q.        You're talking about particular
     23      opinions that you remember?
     24               A.        Correct.

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      1               Q.        Okay.     So with respect to
      2      particular opinions, if we see questions --
      3      if we see initial questions or initial
      4      hypotheses listed there, then you intended
      5      those to be an indication of the initial
      6      questions or hypotheses that you were using
      7      with the grounded theory approach?
      8               A.        Or questions, yes.
      9               Q.        You said "or questions"?
     10      Sorry?
     11               A.        Or questions, yes.
     12               Q.        And I said "initial hypotheses
     13      or questions."          Yes.    So I think we're saying
     14      the same thing.          If we see them listed with
     15      respect to an opinion, hypotheses or a
     16      question, you intended that to be a question
     17      of what you used as your initial question or
     18      hypothesis for the grounded theory approach?
     19               A.        Yes.     Or the evidence-based
     20      medicine question, depending on what the
     21      issue was.
     22               Q.        But again, even for the
     23      opinions where you do list questions or
     24      hypotheses, you don't tell us which approach

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      1      you're using explicitly in the report.
      2               A.        It's not written explicitly,
      3      that's correct.
      4               Q.        Okay.     And for -- and
      5      otherwise, we have no way of knowing what
      6      your initial hypotheses or questions were;
      7      right?
      8                         MS. CONROY:        Objection.
      9               Q.        (BY MS. SAULINO)           For the
     10      grounded theory approach?
     11               A.        No.
     12               Q.        No, we do not?
     13               A.        No, I don't agree with your
     14      statement/question.
     15               Q.        Will you agree with me that
     16      only a few of your opinions list initial
     17      questions or hypotheses; right?
     18               A.        No, not necessarily.            I gave
     19      you the ones I could remember.                 I'd have to
     20      go through them all to see.
     21               Q.        Okay.     Well, is it fair to say
     22      that for those that do not list an initial
     23      hypothesis or question, there's no way for us
     24      to know what it was?

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      1               A.        No.
      2               Q.        How would we be able to find
      3      that in your report?
      4               A.        Well, if you look at
      5      Opinion 185, Purdue trained Walgreens'
      6      pharmacists.         So that would be the question.
      7      Did Purdue train Walgreens' pharmacists?
      8      That's the question that I was answering, for
      9      example.
     10                         186.     Did Purdue use friend
     11      groups?       I put Purdue use friend groups.                 You
     12      just put a "did" in front and that's your
     13      question.
     14               Q.        So for each and every one of
     15      your opinions, we should assume, then, that
     16      the opinion turned out to be what the initial
     17      question was?
     18                         That's what you're saying?
     19               A.        No.
     20               Q.        So again I ask you, sir, how do
     21      we know for any individual opinion what the
     22      initial question or hypothesis was if you
     23      didn't list it for us?
     24               A.        I gave you two examples.              I can

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      1      go through each opinion.
      2               Q.        Well, sir --
      3               A.        And give you -- and go through
      4      them if you want.           I don't think you want me
      5      to do that.
      6               Q.        The two examples that you just
      7      gave me were 185 and 186.
      8                         And for each of those examples,
      9      you read the opinion and put a did in front
     10      of it.      Right?
     11               A.        Correct.
     12               Q.        Which means, then, that you
     13      started with the question that ended up being
     14      your opinion; right?
     15               A.        No.     It means there was a
     16      question and I gave the answer.
     17               Q.        I see.      For any of your
     18      opinions, was there -- is there a way to see
     19      that you started with a question that is
     20      different than where you ended up?
     21               A.        I think so.
     22               Q.        Is there a way to see it in
     23      your report?
     24               A.        I think so.

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      1               Q.        Okay.     So we would do that by
      2      looking at your opinion, looking at the
      3      basis, and if we see a question there, we'll
      4      know what question you started with; right?
      5               A.        That would be true.
      6               Q.        Okay.     If we look at the
      7      opinion, look at your report, there is no
      8      question there, we don't have any way of
      9      knowing whether you started with something
     10      different than where you ended up; right?
     11               A.        No.
     12               Q.        We don't have any way of
     13      knowing one way or the other, do we?
     14               A.        No, you do.        I gave you some
     15      examples.
     16               Q.        Well, sir, I -- I see your
     17      examples.       Example 185 you said, your opinion
     18      is Purdue trained Walgreens pharmacists.                      And
     19      that we should then assume that your question
     20      was, did Purdue train Walgreens pharmacists;
     21      correct?
     22               A.        Correct.
     23               Q.        So what you're telling me is
     24      that for each and every one of your opinions,

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      1      unless you otherwise list a question or
      2      hypothesis, we should assume, then, that the
      3      question you asked was the opinion you ended
      4      up with; right?
      5               A.        No.
      6               Q.        Well then how else will we know
      7      how to figure it out?
      8               A.        Well, it's going to be
      9      different for different opinions.                  I'd have
     10      to go through each and every one.
     11               Q.        And you didn't provide that
     12      information in your report; right?
     13               A.        It's not explicit.           It's
     14      implicit.       You would have to infer that when
     15      I wrote "Purdue trained Walgreens'
     16      pharmacists," that that was a relevant answer
     17      to a question about whether Purdue was
     18      involved in the training of Walgreens'
     19      pharmacists.
     20               Q.        You say that's implicit?
     21               A.        Yes.
     22               Q.        There's no indication in your
     23      report that your question was did Purdue
     24      train Walgreens pharmacists, is there?

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      1               A.        That question is not part of
      2      that opinion.
      3               Q.        So, again, unless you list an
      4      actual question in the bases for your
      5      opinion, we have no way of knowing where you
      6      started.
      7                         MS. CONROY:        Objection.
      8                         THE WITNESS:         No.
      9               Q.        (BY MS. SAULINO)           How will we
     10      know by looking at your report?
     11               A.        It's obvious in the case of
     12      many of the answers, if not all of them.
     13               Q.        Sir, if it's obvious then why
     14      did it require expertise?
     15                         MS. CONROY:        Objection.
     16                         THE WITNESS:         The formulation
     17               of the question required expertise.
     18               The understanding of what the question
     19               was may also require expertise.
     20               Q.        (BY MS. SAULINO)           If the
     21      formulation of the question required
     22      expertise, then wouldn't we need to see your
     23      expertise in order to know what the question
     24      was?

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      1               A.        I'm not sure I understand that
      2      question.       The answer, I think, is no, beyond
      3      knowing what I've already told you about my
      4      expertise.
      5               Q.        So you can't give me any other
      6      way to figure out what question you began
      7      with for any opinion for which you don't list
      8      a question.
      9               A.        I said I think it's obvious
     10      from most of the opinions what the question
     11      was.
     12               Q.        Okay.
     13               A.        Remember that the overriding
     14      question is the assignment.                So all of these
     15      are subanswers to the assignment question.
     16                         So the question for all of
     17      these is the assignment, and then all of
     18      these are answers to the assignment.
     19                         Now, there are implicit
     20      subquestions that require expertise, and
     21      that's what all of these opinions are.
     22               Q.        Okay.     You didn't say anywhere
     23      in Section 3.2, starting on page 38, that
     24      your overall question that you were answering

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      1      was the assignment that you've now given us;
      2      right?
      3               A.        Correct.
      4               Q.        And you do say, though, on
      5      page 39 at the bottom --
      6               A.        Hang on one sec.
      7                         Go ahead.
      8               Q.        On page 39 at the bottom, you
      9      do say that after -- so you -- you list some
     10      search terms that you used; right?
     11               A.        In the middle?
     12               Q.        Mm-hmm.
     13               A.        Yes.
     14               Q.        And then you say, "After the
     15      emergent" set of -- I'm sorry -- emergent
     16      "subset of documents was reviewed, key themes
     17      and concerns were identified, including
     18      documents specifically pertaining to
     19      evidence-based medicine, third-party interest
     20      groups, public/private partnerships, EERW
     21      study design, chronic pain treatment, return
     22      on investment for marketing techniques,
     23      hospital licensing and accreditation, state
     24      medical board licensing, off-label promotion,

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      1      diversion, and 12-hour dosing regimens";
      2      right?
      3               A.        Yes.
      4               Q.        You don't list what the key
      5      themes and concerns were that you identified;
      6      right?
      7               A.        You just read them.
      8               Q.        So those are the key themes and
      9      concerns?
     10               A.        Those were some, probably not
     11      all of the key themes and concerns.
     12               Q.        And there's no way for us to
     13      see from your report what all of your key
     14      themes and concerns were; right?
     15               A.        No.     All of the ones -- they
     16      were all in the report.              So anything in the
     17      report you can assume is a key theme or
     18      concern.
     19               Q.        And the only way that we would
     20      be able to get there from your report is just
     21      by making an assumption?
     22                         MS. CONROY:        Objection.
     23                         THE WITNESS:         No.
     24               Q.        (BY MS. SAULINO)           Well, if I

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      1      wanted to identify all of the key themes and
      2      concerns that you identified when you
      3      reviewed the emergent subset of documents
      4      that came out of the search terms that you
      5      identify on page 39, I would start with the
      6      list you provide here.             And where else would
      7      I find the rest of them?
      8               A.        If there are others that are
      9      not mentioned here, they would be in the
     10      opinions.
     11               Q.        So -- but there is no way for
     12      us to know precisely which opinions contain a
     13      key theme or concern that you identified
     14      after reviewing the documents that emerged
     15      from your search using the key terms
     16      identified on page 39.
     17               A.        No.
     18               Q.        There is a way for us to know?
     19               A.        Yes.
     20               Q.        And what is that way?
     21               A.        They all came out of the
     22      searches.       It's not that -- they weren't -- I
     23      didn't dream them like Kaiko dreamed that,
     24      you know, OxyContin was a 12-hour drug.                     That

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      1      all came out of the searches.
      2               Q.        Well, you'd agree with me,
      3      wouldn't you, sir, that grounded theory
      4      approach is an iterative process?
      5               A.        Yes.
      6               Q.        So you do one set of searches.
      7      You come up with key themes and concerns.
      8      You do more searches.             You continue to test;
      9      right?
     10               A.        Yes.
     11               Q.        Testing and repetition is
     12      important to the grounded theory approach;
     13      right?
     14               A.        Well, it may or may not be
     15      important.        There's no real -- in general,
     16      yes.
     17               Q.        You and I just looked on
     18      page 38 at a quote you put in your report
     19      from Corbin and Strauss that says, "The
     20      hypotheses are constantly revised during the
     21      course of research until they hold true for
     22      the phenomena under a study as evidenced in
     23      repeated interviews, observations or
     24      documents"; right?

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      1                         So repetition is important;
      2      right?
      3               A.        Correct.
      4               Q.        All right.        So what you're
      5      telling me now is that in order to figure out
      6      what key themes and concerns you started with
      7      and then tested with your repeated process,
      8      we just look at the opinions and every
      9      opinion is a key theme or concern that you
     10      started with?
     11               A.        No.     It doesn't say what you
     12      start with.        It says -- this is an iterative
     13      process, and it says -- this sentence that
     14      you just didn't read says they're constantly
     15      revised.
     16               Q.        Right.
     17               A.        So the end revision of whatever
     18      the key theme or concern is is what appeared
     19      in the report as an opinion.
     20               Q.        And I'm asking how we figure
     21      out where you started, sir.
     22                         It's not in the report, is it?
     23               A.        Yes, it is.        You start on
     24      page 39 in the middle with all those

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      1      searches.
      2               Q.        Okay.
      3               A.        And then those searches
      4      resulted in a subset of other items, not --
      5      this is not a complete list of all the other
      6      items but many of these.              And then all of
      7      these then resulted in opinions.
      8               Q.        Okay.     And what I'm looking for
      9      is where you list the subset of other items
     10      that you were just talking about.                  Some of
     11      them are listed here, as you just
     12      acknowledged, but not all of them.
     13               A.        I don't think all of them, but
     14      I -- you know, it's possible that all of the
     15      opinions are subsets of these opinions.
     16               Q.        You don't know one way or the
     17      other sitting here today?
     18               A.        I haven't evaluated it for that
     19      question.       That's not something I did.
     20               Q.        And then you say, "Additional
     21      searches were conducted to explore these and
     22      other more specific topic areas as they
     23      arose."       Right?
     24               A.        Correct.

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      1               Q.        You don't give us any search
      2      terms or parameters for those additional
      3      searches that you conducted; right?
      4               A.        That's correct.
      5               Q.        Okay.     So there's no way for us
      6      to know what those were?
      7               A.        That's correct.
      8               Q.        Okay.     And then you say, "This
      9      iterative analysis formed the basis for my
     10      state-on-the-art opinions in this case."
     11               A.        That's correct.
     12               Q.        Did you mean "state of the
     13      art"?
     14               A.        Yes.
     15               Q.        Okay.     And you believe that
     16      your opinions are state of the art; right?
     17               A.        What do you mean by "state of
     18      the art"?
     19               Q.        I'm using your words, sir.
     20               A.        My words are they're state of
     21      the art -- there's various definitions of
     22      state of the art.           There's a medical state of
     23      the art, and then there's this -- this
     24      description of state of the art which

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      1      generally is historical analysis of what went
      2      on and why.        And that's what this is.
      3               Q.        Okay.     But again, you don't
      4      provide us a roadmap to your historical
      5      analysis of what went on and why; right?
      6                         MS. CONROY:        Objection.
      7                         THE WITNESS:         That's not true.
      8               I think it's incorporated in the
      9               opinions.
     10               Q.        (BY MS. SAULINO)           Other than
     11      assumptions that one would make by looking at
     12      the opinions, you don't provide a roadmap to
     13      us about how you've used your process to get
     14      there; right?
     15                         MS. CONROY:        Objection.
     16                         THE WITNESS:         No.
     17               Q.        (BY MS. SAULINO)           You do
     18      provide a roadmap?
     19               A.        Well, I provide in some cases a
     20      specific roadmap.           In other cases, I give you
     21      a general idea of where to go.




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      7                         Do you have the McKesson
      8               Redweld?
      9                         MS. SAULINO:         Okay.     Can I see
     10               what you're giving him right now?
     11               Q.        (BY MS. SAULINO)           So,
     12      Dr. Egilman, what you have just asked the
     13      plaintiffs' lawyers to provide you is what
     14      you called the McKesson Redweld?
     15               A.        Correct.
     16               Q.        And I only just briefly flipped
     17      through what you called the McKesson Redweld,
     18      but is the McKesson Redweld a compilation of
     19      documents that mention McKesson?
     20               A.        Correct.
     21               Q.        So what you're saying is that
     22      in order to figure out the basis for any one
     23      of your opinions that reference McKesson, we
     24      need to look at all of your opinions that

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      1      reference McKesson?
      2               A.        Not necessarily.           But --
      3               Q.        Okay.
      4               A.        Not necessarily, no.
      5               Q.        Then how would we know, from
      6      looking at your report, sir, anything but
      7      other than the one document that you list in
      8      Exhibit B.85 which you list as the only
      9      support for your Opinion 85?
     10               A.        You would ask me here.             Okay?
     11      Or you could search the report for all of the
     12      McKesson opinions, which are searchable by
     13      McKesson.
     14                         You could pull the documents,
     15      as I have done, and put them all in a
     16      Redweld, and then you'd have everything that
     17      I wrote that might be relevant to all of my
     18      McKesson opinions.
     19               Q.        Okay.     So what you're saying
     20      is, if I took everything in your report that
     21      mentioned McKesson, each of the McKesson
     22      opinions, and put them together, I would have
     23      the basis for any one of your McKesson
     24      opinions?

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      1               A.        No, not necessarily.
      2                         If you wanted to know if there
      3      were other opinions that related to this
      4      opinion, then you'd look at the other
      5      opinions and say, "Oh, I see.                 That's related
      6      too," because there's a contract between
      7      Purdue and McKesson for marketing services,
      8      which is obviously related to this Redweld.
      9               Q.        You don't provide that roadmap
     10      in your report, do you?
     11               A.        No.     You'd have to actually
     12      search for all of the McKesson opinions and
     13      assume and find the contract between McKesson
     14      and its distributors showing that they were
     15      marketing for them.
     16               Q.        Okay.
     17                         Now, are you willing to agree,
     18      sir, that if we take the compilation of each
     19      of the opinions that mentions McKesson, then
     20      we would have the full set of pieces of
     21      evidence that you relied on for -- that you
     22      possibly relied on for any one McKesson
     23      opinion?
     24               A.        No.

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      1               Q.        So there's no way for us to
      2      know the full set of evidence that you relied
      3      on for any one McKesson opinion?
      4               A.        No.     Not true.
      5               Q.        You don't believe that's true?
      6               A.        Correct.
      7               Q.        There is a way for us to know
      8      the full set of evidence that you relied on
      9      for any one McKesson opinion?
     10               A.        True.
     11               Q.        In your report you say that
     12      somewhere?
     13               A.        No.
     14                         It depends on the opinion.
     15                         Maybe.      Yes and no.        Probably
     16      "yes" and "no" is the answer to that
     17      question.
     18               Q.        When you say "It depends on the
     19      opinion," what do you mean?
     20               A.        I mean, some opinions may have
     21      all of the documents that I could find
     22      relevant to that opinion.
     23                         Other opinions may -- may be
     24      supported by other opinions also in the

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      1      report.
      2               Q.        You don't tell us in any of
      3      your opinions that this opinion also relies
      4      on evidence related to another opinion;
      5      right?
      6                         There's no -- there's no
      7      opinion that says that?
      8               A.        There's no cross-reference
      9      opinion.       I think that's -- I think there are
     10      a couple of cross-reference opinions, but in
     11      general that's correct.
     12               Q.        And there's no way for us to
     13      know if we're looking at any one opinion,
     14      that this happens to be one of the opinions
     15      that lists all of the information that you
     16      relied on?
     17               A.        Well, that's true.           Absolutely.
     18      Because all of the opinions -- all of the
     19      information I relied on is all the
     20      information that I reviewed, all of the
     21      database.       I didn't put that in every
     22      opinion.
     23               Q.        You relied on the entire
     24      database to come to each and every one of

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      1      your opinions?
      2               A.        Sure.     I searched the entire
      3      database.       That means I relied and considered
      4      the documents in the database.                 The same with
      5      the medical literature.
      6               Q.        And you did all of that in four
      7      months?
      8               A.        Sure.




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      6               Q.        Okay.     So --
      7               A.        I'm not trying in each of these
      8      opinions to give you every piece of evidence
      9      that may support the opinion.                 I didn't have
     10      enough time to do that.
     11               Q.        Well, you had enough time to
     12      come to the conclusion; right?
     13               A.        I did.
     14               Q.        You had enough --
     15               A.        With the evidence that I
     16      thought I had.
     17               Q.        And you had enough time to
     18      figure out that you had enough evidence for
     19      that conclusion; right?
     20               A.        Right.
     21               Q.        So surely you had looked at the
     22      evidence in order to come to that conclusion;
     23      right?
     24               A.        Right.

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      1               Q.        But you didn't have time to
      2      then simply note the documents?
      3                         MS. CONROY:        Objection.
      4                         THE WITNESS:         I couldn't note
      5               for every opinion all the evidence
      6               that I looked at to -- that related to
      7               that particular opinion.              It would
      8               take too long and it would be too
      9               voluminous.
     10               Q.        (BY MS. SAULINO)           We looked
     11      earlier today at your steps of your
     12      evidence-based medicine method; right?
     13               A.        Correct.
     14               Q.        Okay.     And on page 41, you list
     15      step 2.       3.3.2.
     16               A.        Hang on one second.
     17                         What page?
     18               Q.        Page 41.
     19               A.        Okay.
     20               Q.        Step 2 is "Systematic retrieval
     21      of best evidence available"; right?
     22               A.        Correct.
     23               Q.        So you didn't do that here?
     24                         MS. CONROY:        Objection.

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      7               Q.        All right.        Let's look at --
      8               A.        Did you want to mark this one
      9      or no?
     10               Q.        We did mark it.          I gave you the
     11      marked copy.
     12               A.        Oh, I'm sorry.
     13                         Do you want to take -- hang on
     14      one second while I give this to the court
     15      reporter.
     16                         MS. SAULINO:         Sure.
     17               Q.        (BY MS. SAULINO)           Let's look at
     18      Exhibit -- let's look at page 77 of your
     19      report.
     20               A.        Okay.
     21               Q.        Do you see Opinion 7.100?
     22               A.        I do.
     23               Q.        Opinion "Healthcare
     24      Distribution Management Association, HDMA,

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      1      now HDA, was responsible for sale of
      2      unapproved opioids"; right?
      3               A.        Correct.
      4               Q.        And you say, "See Exhibit B.100
      5      hereto attached"; right?
      6               A.        Correct.
      7               Q.        And we -- I'm going to hand you
      8      Exhibit B.100, unless you have a different
      9      version of it.
     10               A.        Which number is it?
     11               Q.        100.
     12               A.        I have a different version.
     13               Q.        Okay.     Shall we mark that one?
     14               A.        If you like.
     15               Q.        Okay.     So I've handed you what
     16      we've marked as Exhibit 9 to your deposition,
     17      which is your version of Exhibit 100 to your
     18      report.
     19               A.        Right.
     20                         (Whereupon, Deposition Exhibit
     21               Egilman 9, Opinion - HDMA was
     22               responsible for sale of unapproved
     23               opioids, was marked for
     24               identification.)

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      1               Q.        (BY MS. SAULINO)           And again,
      2      here, for Opinion 100, you cite a single
      3      exhibit; right?
      4               A.        Well, I cite a single exhibit,
      5      but it references several FDA documents.
      6               Q.        Your opinion does not reference
      7      several FDA documents; right?                 The exhibit
      8      itself does?
      9                         MS. CONROY:        Objection.
     10                         THE WITNESS:         The exhibit,
     11               which is the basis of the opinion,
     12               references several FDA documents.
     13               Q.        (BY MS. SAULINO)           And when I
     14      say, "The exhibit itself does," I mean not
     15      your writing, but in fact the e-mail chain
     16      dated Monday April 27, 2009.
     17               A.        That's correct.
     18               Q.        Okay.     So you're saying that
     19      the FDA documents that are referenced in the
     20      document that you have screenshotted into
     21      Exhibit 100 should also be considered part of
     22      the basis of your opinion?
     23               A.        Yes.
     24               Q.        Okay.     And that's everything

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      1      that is the basis of your Opinion 100?
      2               A.        Correct.
      3               Q.        And so there were no other
      4      interviews that supported this opinion?
      5               A.        Correct.       I didn't know I could
      6      interview your personnel.
      7               Q.        No deposition testimony?
      8               A.        Correct.       I can't take
      9      depositions for sure.
     10               Q.        Well, you said you read a
     11      number of them, sir.
     12               A.        Right.      There's no deposition
     13      testimony on this issue.
     14               Q.        Did you look?
     15               A.        Yes.
     16               Q.        And so you don't cite any
     17      deposition testimony about the HDMA at all
     18      here, right?
     19               A.        Not on this opinion.            That's
     20      right.
     21               Q.        Okay.
     22                         There's no other data listed
     23      here; right?
     24                         MS. CONROY:        Objection.

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      1                         THE WITNESS:         Correct.
      2               Q.        (BY MS. SAULINO)           No documents
      3      other than those we've just talked about;
      4      right?
      5               A.        Correct.
      6               Q.        There's no way that we can see
      7      your original question or hypothesis for this
      8      opinion; right?
      9               A.        Right.      You'd have to put a
     10      "did" in front of the opinion.
     11               Q.        But you don't tell us here;
     12      right?
     13               A.        I didn't put the "did" in.
     14               Q.        You didn't give us any
     15      indication that we were supposed to assume a
     16      "did"; right?
     17               A.        Correct.
     18               Q.        And there's no indication here
     19      that you've revised your hypothesis or
     20      ensured it held true under repeated study;
     21      right?
     22               A.        Except for checking the
     23      underlying of FDA documents, right.
     24               Q.        So by checking the underlying

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      1      FDA document, we would know that you started
      2      with a different original hypothesis and
      3      revised it?
      4               A.        No.
      5               Q.        Okay.     Well, that was my
      6      question.
      7               A.        No, it wasn't.
      8               Q.        There's no way for to us know
      9      if you started with a different original
     10      hypothesis and revised it; right?
     11               A.        That's correct.
     12               Q.        And you say checking the
     13      underlying FDA documents.               What do you
     14      believe that would provide us?
     15               A.        Well, that was under the
     16      question about whether you'd done -- checked
     17      other supporting documents or contradictory
     18      evidence that indicated that this was not
     19      true.
     20               Q.        And so you're saying you
     21      checked the FDA documents that were cited in
     22      this e-mail --
     23               A.        Correct.
     24               Q.        -- as contradictory evidence?

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      1               A.        No.     As either confirmatory or
      2      contradictory.
      3               Q.        Which one was it?
      4               A.        Confirmatory.
      5               Q.        But you didn't provide those
      6      documents here?
      7                         MS. CONROY:        Objection.
      8                         THE WITNESS:         No, I just cited
      9               them in the context of -- they were in
     10               the document that was the basis of the
     11               opinion.
     12               Q.        (BY MS. SAULINO)           And you
     13      didn't explain how those documents were
     14      confirmatory of your opinion.                 Right?
     15               A.        No, I didn't explain that, but
     16      there's a quote from the documents that's a
     17      correct quote in this e-mail.
     18               Q.        In the e-mail that you're
     19      citing, there is a quote from one of the FDA
     20      documents?        That's what you're saying?
     21               A.        Correct.
     22               Q.        Okay.     That's not your quote.
     23      That's not something you pulled out; right?
     24                         MS. CONROY:        Objection.

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      1                         THE WITNESS:         That's correct.
      2               It says it's an FDA quote.
      3               Q.        (BY MS. SAULINO)           And you're
      4      aware, correct, Dr. Egilman, that the HDMA is
      5      a trade association?
      6               A.        I am.
      7               Q.        And the HDMA doesn't actually
      8      sell anything?
      9               A.        Do you mean sell any product?
     10               Q.        Right.
     11               A.        That's correct.
     12               Q.        Okay.
     13               A.        Are you done with this one?
     14               Q.        I am.     Thank you.
     15               A.        I've been accused of stealing
     16      exhibits before, so I just wanted to make
     17      sure I give them to the court reporter.
     18               Q.        I'm sure she appreciates it.
     19                         Let's look at page 82 of your
     20      report.
     21               A.        Okay.
     22                         Okay.




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      1               A.        Okay.
      2               Q.        Do you see Opinion 7.21?
      3               A.        I do.
      4               Q.        And your opinion there is
      5      "Walgreens' solution to red flag stores was
      6      to find a distributor who would sell to them.
      7      All three Walgreens distributor facilities
      8      failed to implement SOM procedures"; right?
      9               A.        Correct.
     10               Q.        Okay.     And then you refer to
     11      Exhibit B.21; right?
     12               A.        Correct.
     13               Q.        Okay.     I have a copy if you
     14      would like it.
     15               A.        Okay.     I'll use yours.
     16               Q.        Okay.     I'm handing you what's
     17      been marked as Exhibit 11.
     18                         (Whereupon, Deposition Exhibit
     19               Egilman 11, Opinion - WAG solution to
     20               red flagged stores was to find a
     21               distributor who would sell to them.
     22               All 3 WAG distributor facilities
     23               failed to implement SOM procedures,
     24               was marked for identification.)

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      1               Q.        (BY MS. SAULINO)           And looking
      2      at Exhibit 11 --
      3               A.        Okay.
      4               Q.        -- it appears that you cite for
      5      this opinion one document; right?
      6               A.        Correct.
      7               Q.        And it is an e-mail that you
      8      have screenshotted onto the page; right?
      9               A.        Correct.
     10               Q.        Okay.     And you provided some
     11      red arrows there; right?
     12               A.        Correct.
     13               Q.        You don't list any other
     14      documents; right?
     15               A.        Not for this opinion -- not in
     16      this -- not in Opinion B.21, but there are a
     17      lot of other documents that relate to this
     18      issue in the other opinions.
     19               Q.        Okay.     You don't provide any
     20      cross-referencing of those other opinions;
     21      right?
     22               A.        Correct.       You'd have to read
     23      them.
     24               Q.        You don't provide any way --

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      1      any roadmap that would tell us precisely
      2      which of your other 490 opinions we should be
      3      looking at; right?
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         No.
      6                         I think it's pretty clear when
      7               you look at the documents that they
      8               relate to the -- this situation
      9               between Walgreens, Jupiter, Cardinal,
     10               and ABC.       You know, there's a whole
     11               narrative there.
     12               Q.        (BY MS. SAULINO)           You don't
     13      write anywhere in this report or its attached
     14      exhibits what you believe is obvious about
     15      the situation you just described; right?
     16               A.        No.
     17               Q.        You don't provide any kind of
     18      roadmap to your initial hypotheses; right?
     19                         MS. CONROY:        Objection.
     20                         THE WITNESS:         That's true.
     21               Q.        (BY MS. SAULINO)           You don't
     22      provide the question that you were looking to
     23      answer; right?
     24               A.        That comes under the assignment

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      1      question generally, so that's -- that's where
      2      that question is.
      3               Q.        Well, you didn't provide the
      4      assignment question in your report either,
      5      did you?
      6               A.        That's correct.
      7               Q.        Okay.
      8                         You don't show us any
      9      re-evaluation from other data or documents in
     10      this opinion; right?
     11               A.        No.     There are other documents
     12      that relate to this situation.
     13               Q.        But you don't list them here;
     14      right?
     15               A.        They're not listed in B.21, but
     16      they are otherwise in the report, including
     17      reference to Jupiter Walgreens.
     18                         I cite the Walgreens
     19      $80 million payment for violating DEA rules
     20      on selling and a variety of other documents.
     21               Q.        You don't cite that here?               In
     22      Exhibit B.21?
     23               A.        I do not cite those other
     24      opinions that relate to this opinion in this

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      1      agreement.        That is correct.
      2               Q.        Nowhere do you tell us that
      3      those other opinions relate to this opinion,
      4      explicitly in your report.               Right?
      5               A.        That's correct.
      6               Q.        You don't cite any deposition
      7      testimony here; right?
      8               A.        Correct.
      9               Q.        Okay.     And this single document
     10      that we're looking at right here, that you
     11      provide here, as support for your opinion,
     12      doesn't even mention anywhere in it SOM
     13      procedures; right?
     14               A.        By name, correct.
     15                         MS. SAULINO:         Okay.     We can go
     16               off the record.
     17                         THE VIDEOGRAPHER:           Off the
     18               record.      4:13.
     19                         (Recess taken, 4:12 p.m. to
     20               4:25 p.m.)
     21                         THE VIDEOGRAPHER:           We are back
     22               on the record at 4:26.
     23               Q.        (BY MS. SAULINO)           Okay.
     24      Dr. Egilman, a number of your opinions in

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      1      your report pertain to what you call "the
      2      venture."       Correct?
      3               A.        Yes.
      4               Q.        And on page 51 of your report,
      5      you define the venture at 4.4; right?
      6               A.        Correct.
      7               Q.        And you say, "As referred to
      8      herein, 'the venture' refers to all
      9      defendants in the opiate litigation,
     10      including their associated individuals and/or
     11      organizations acting in a concerted fashion
     12      separately or together to effect a particular
     13      objective"; right?
     14               A.        Correct.
     15               Q.        That's a definition that you
     16      came up with; right?
     17               A.        I'm sure I discussed it with
     18      the lawyers.
     19               Q.        Okay.     Do you remember when
     20      that was?
     21               A.        Over the last two or three
     22      months.
     23               Q.        And was that a definition that
     24      you came up with or that they gave you?

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      1               A.        It was a discussed definition
      2      between the two of us.             I don't know -- I
      3      can't tell you which words came from whom.
      4               Q.        Okay.     So this definition is
      5      not something that was the result of your
      6      iterative process of research?
      7               A.        Well, that's not necessarily
      8      true, no.
      9               Q.        Well, you just said that it
     10      came from a discussion with the plaintiffs'
     11      lawyers; right?
     12               A.        Yeah, but it also -- my part of
     13      that came from reading the documents and
     14      trying to figure out what had gone on.
     15               Q.        Are discussions with
     16      plaintiffs' lawyers typically a part of your
     17      expert process?
     18               A.        Certainly they are.            Depends on
     19      what the issues are.            For example, I was
     20      asking for depositions --
     21               Q.        Okay.
     22               A.        -- to be taken.          I was asking
     23      for further discovery to be taken.
     24               Q.        You've answered my question,

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      1      sir.     You said, "Certainly they are."
      2               A.        Yeah, but I have to -- it's not
      3      everything.        It's limited to certain areas.
      4               Q.        Okay.
      5               A.        So it's just "Certainly they
      6      are" is a misleading little snippet.                    Which I
      7      prefer not to leave on the record alone.
      8               Q.        Well, sir, I asked you:              "Are
      9      discussions with plaintiffs' lawyers
     10      typically a part of your expert process?"
     11                         And your answer was, "Certainly
     12      they are.       Depends on what the issues are,"
     13      and then you started giving examples.
     14                         I don't think we need any
     15      further examples.           I understand your answer.
     16      Okay?
     17               A.        No.     But go right ahead.
     18               Q.        My next question for you,
     19      though, is --
     20               A.        Just let my put on the record
     21      my answer is incomplete.              Now go ahead.
     22               Q.        My question for you, sir, is
     23      your definition for "the venture," do you
     24      document anywhere here the iterative process

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      1      that you went through to come up with this
      2      definition?
      3               A.        No.     And there's -- there's, I
      4      think there are at least three different
      5      times when I discussed the venture in the
      6      report, and it's expanded on in at least one
      7      of those times.
      8               Q.        Okay.     So looking at the
      9      definitions that you provide on page 51, we
     10      can't rely on that definition?
     11                         MS. CONROY:        Objection.
     12                         THE WITNESS:         No, you can rely
     13               on that definition.            There's an
     14               expanded version of this definition --
     15               well, first of all, let me see
     16               Exhibit 473.        Maybe we're talking
     17               about the same thing.
     18               Q.        (BY MS. SAULINO)           We will get
     19      to Exhibit 473.          I'm just looking at the
     20      definition that you put here in your report
     21      here, sir, under the section called
     22      "Definitions."
     23               A.        Okay.     Well, hold on one
     24      second.

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      1               Q.        I have a copy if you need it.
      2               A.        Sure.
      3               Q.        I've handed you Exhibit 12 to
      4      your deposition, Dr. Egilman.
      5                         (Whereupon, Deposition Exhibit
      6               Egilman 12, Definition - "Venture"
      7               refers to all defendants (including
      8               their associated individuals and/or
      9               organizations) and covers all aspects
     10               of marketing, distribution, and supply
     11               they engaged in, was marked for
     12               identification.)
     13                         THE WITNESS:         Right.     So this
     14               is exactly what I was referring to.
     15               This is -- the opinion's not limited
     16               to the definition in 4.4, but there's
     17               an expanded basis for the opinion
     18               which elaborates more -- elaborates on
     19               what that means.
     20               Q.        (BY MS. SAULINO)           I see that,
     21      sir.
     22                         This does not provide us any
     23      information about how you came to the
     24      opinion; correct?

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      1               A.        You mean came to the
      2      definition?        Or the opinion?
      3                         It's not an opinion; it's a
      4      definition.
      5               Q.        Okay.     Actually, sir, it is
      6      both.     If you look at page 133 of your report
      7      at 7.473?
      8               A.        What page?
      9                         What page?
     10               Q.        133.
     11               A.        Okay.     Where?
     12               Q.        I'm looking at 7.473, which
     13      also refers to Exhibit B.473, which is the
     14      exhibit that we're looking at right now which
     15      is Exhibit 12 to your deposition.
     16               A.        This is a different issue.
     17               Q.        Okay.
     18               A.        This is -- this is called
     19      "Opinion definitions."             It's really a
     20      definition.        I mean, so you could call that
     21      an error or a typo.
     22                         This should be "Definition."
     23               Q.        Well, it's listed in your
     24      Opinions section as 473, right?

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      1               A.        Yeah, it's listed as 473 as an
      2      opinion, but if you'll look at the actual
      3      opinion, it's listed as a definition.
      4               Q.        Okay.     So this is not an
      5      opinion?
      6               A.        It's a definition.           If you want
      7      to call it an opinion, I'm not offended.
      8               Q.        Sir, I'm looking at what you
      9      put in your report, which says that it was an
     10      opinion, and it's in the opinion section, and
     11      it cites the very same document that is cited
     12      in the "Definitions" section.
     13               A.        Well, the same document is --
     14      has two different headings to it.                  In the
     15      summary of opinions, it's listed as an
     16      opinion.       But if you look at 473, the word
     17      "opinion" doesn't appear.               Okay?     Whereas
     18      most of my opinions actually have the word
     19      "opinion."        Here, it calls it -- it says
     20      "Definition."
     21                         So I would say that what you
     22      see on 133, the word "opinion" -- I mean, it
     23      doesn't really matter, to tell you the truth.
     24      You can call it an opinion.                You can call it

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      1      a definition.         Because the definition is
      2      probably an opinion.            But it's definitely --
      3      I meant it to frame what I was referring to
      4      when I used the word "venture."
      5               Q.        Okay.     Well, as you noted,
      6      these two definitions on page 133 and on
      7      page 51 actually say different things; right?
      8               A.        Not really.        I mean, because
      9      one says "Opinion-Definition" and the other
     10      says "Definition" without "Opinion."
     11               Q.        I'm referring to what happens
     12      after the word "Definition."
     13               A.        Yeah, there's a modifying
     14      sentence in 473 that doesn't appear in --
     15      that appears in 473 that was not typed into
     16      the same opinion when it was typed that
     17      appears on page 133.
     18               Q.        Did you do that typing
     19      yourself, sir?
     20               A.        I don't think I did that
     21      typing.
     22               Q.        Who did?
     23               A.        I don't know.         Probably one of
     24      my staff did the typing.

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      1               Q.        Okay.     And so you're saying now
      2      that you did not intend 7.473 to be an
      3      opinion in your report?
      4               A.        No, I intended 473 to be what
      5      473 says.
      6               Q.        Which is a definition?
      7               A.        Which is a definition.
      8                         I also intended 473, the
      9      summary of 473 to be identical to the actual
     10      opinion -- the actual definition 473, so
     11      what's in this summary of opinions is missing
     12      the last sentence.
     13               Q.        Okay.
     14                         And then under -- and then you
     15      provide a basis; right?              For the definition?
     16               A.        Correct.
     17               Q.        Okay.     And the basis for the
     18      definition is -- you provide two sentences,
     19      and then the second sentence has an A, B, and
     20      C; right?
     21               A.        Correct.
     22               Q.        Okay.     You don't cite any
     23      documents; right?
     24               A.        Not in this definition,

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      1      correct.
      2               Q.        Well, not in -- not on page 51
      3      in the "Definitions" sections; right?
      4               A.        Correct.
      5               Q.        Well, except for Exhibit B.473.
      6               A.        Correct.
      7               Q.        And not on page 132 under
      8      opinion -- I'm sorry, and not on page 133,
      9      under Opinion 7.473; right?
     10               A.        Correct.
     11               Q.        Except for Exhibit B.473;
     12      right?
     13               A.        Correct.
     14               Q.        And then if we look at
     15      Exhibit B.473, there are no documents cited
     16      here either; right?
     17               A.        Correct.
     18               Q.        Okay.     You also don't cite to
     19      any deposition testimony; right?
     20               A.        Correct.
     21               Q.        You also don't cite to any
     22      literature; right?
     23               A.        Not here.
     24               Q.        Right.      You don't cite to any

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      1      literature here, right?
      2               A.        Not in this opinion, not in
      3      473.     There's other literature cited to that
      4      describes the same activity by Saper.
      5      Saper's speech.
      6               Q.        Okay.
      7               A.        He didn't call it a venture.
      8      He called it a narco pharma.
      9               Q.        Okay.     And you don't link that
     10      citation to this definition; right?
     11               A.        I didn't use "narco pharma."
     12               Q.        So you don't link that citation
     13      to this definition in your report; right?
     14               A.        Correct.       But he describes the
     15      same activities in his 2008-2009 talk, where
     16      he calls what I call the venture, narco
     17      pharma.
     18               Q.        So you don't provide anywhere
     19      in either of the places where you cite the
     20      definition nor in Exhibit B.473, anywhere to
     21      look to see how you came to the conclusion
     22      that this was the definition for venture;
     23      right?
     24               A.        No, it's my definition for

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      1      venture.
      2               Q.        Well, it's yours and the
      3      plaintiffs' lawyers; right?
      4               A.        Yeah, they agreed with this
      5      definition of venture.
      6               Q.        And if they had disagreed, you
      7      would have changed it?
      8               A.        No.     You don't know me very
      9      well.
     10               Q.        Well, you told me just a couple
     11      of minutes ago that this was a definition
     12      that was created in combination with them;
     13      right?
     14               A.        In conversation with them, but
     15      if they disagreed with something that I
     16      thought should be here, I wouldn't change it.
     17                         MS. SAULINO:         Whoever is on the
     18               phone, can you mute, please?
     19               Q.        (BY MS. SAULINO)           Well, now,
     20      let's look at --
     21               A.        Are you done with this one?
     22               Q.        For now, but don't give it
     23      away.     Keep it nearby.
     24                         MS. SAULINO:         And, Debbie,

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      1      we're out of stickers.
      2               Q.        (BY MS. SAULINO)           If you could
      3      look at page 135 of your report.
      4               A.        Sure.
      5               Q.        The very last opinion on that
      6      page.
      7               A.        Yeah.
      8               Q.        Are you there?
      9               A.        I just want to -- these --
     10      these things are all being named Egilman?
     11      All of these exhibits?
     12                         MS. SAULINO:         Oh, I hadn't
     13               noticed that.
     14                         THE WITNESS:         Yeah, I did
     15               notice that.        Is that how you want it
     16               to be?
     17                         MS. SAULINO:         We probably
     18               should correct it to just Egilman.
     19                         THE WITNESS:         That would be my
     20               thought, but I'm not thinking here.
     21                         MS. SAULINO:         Okay.     Well,
     22               thank you for that.
     23                         (Discussion off the record.)
     24                         MS. SAULINO:         Thank you.       We'll

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      1               discuss it with the court reporter at
      2               the next break and we'll work it out.
      3               Thank you.
      4                         THE WITNESS:         No problem.
      5               Sorry to interrupt.
      6               Q.        (BY MS. SAULINO)           So last
      7      opinion on page 135.            7.488.
      8                         "Opinion, these are the members
      9      of the venture."           Do you see that?
     10               A.        Correct.
     11               Q.        Okay.     I have a copy of
     12      Exhibit B.488.          If you'd like it.
     13               A.        Right.      You've got to include
     14      489, because that also includes additional
     15      members of the venture.
     16               Q.        Well, you don't cross-reference
     17      those two --
     18               A.        No, they're just sequential.
     19               Q.        Okay.     But you told me earlier
     20      that they weren't necessarily sequential when
     21      they went together; right?
     22               A.        They aren't.         In this case
     23      they're sequential.
     24               Q.        And so there was no way for us

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      1      to know that those two were supposed to be
      2      read together except that they were
      3      sequential?
      4               A.        No.
      5               Q.        You don't say anywhere in your
      6      report that those two opinions are supposed
      7      to be read together; right?
      8               A.        Explicitly in those words?               No.
      9               Q.        Okay.
     10                         Well, let's look at 4.88 first.
     11                         Do you want it or do you have
     12      your own copy?
     13               A.        I don't think it matters.               I'll
     14      have this one.
     15               Q.        Okay.
     16                         MS. SAULINO:         It's marked as
     17               Exhibit 14.
     18                         (Whereupon, Deposition Exhibit
     19               Egilman 14, Opinion - these are the
     20               members on the "venture" with two
     21               Redweld folders", was marked for
     22               identification.)
     23                         MS. SAULINO:         I think we
     24               realized that we were missing a 13.

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      1                         THE WITNESS:         13 is always good
      2               to be left out.
      3               Q.        (BY MS. SAULINO)           If you look
      4      at Exhibit 4.88 under "Basis," you provide a
      5      spreadsheet with colors; right?
      6               A.        Correct.
      7               Q.        And it is four pages long and
      8      then you provide some citations on page 5;
      9      right?
     10               A.        Right.
     11               Q.        Okay.     So these are the members
     12      of the venture; is that right?
     13               A.        Across the top.
     14               Q.        Across the top of what?
     15               A.        Across the top.          Name, type.
     16      The companies across the top are the members
     17      of the venture.          And they were also in red.
     18               Q.        And where do you explain that
     19      in your report or in this exhibit?
     20               A.        I don't.
     21               Q.        So there was --
     22               A.        Except elsewhere where I name
     23      the defendants in the case as the members of
     24      the venture.

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      1                         So it's -- they're here, by the
      2      same name that they're in the case.
      3               Q.        Do you believe that these are
      4      the only defendants in the case?
      5               A.        No.     They're also in 489.
      6               Q.        Okay.     So when you say, in
      7      Opinion 4.88, "These are the members of the
      8      venture," you don't actually mean that?
      9               A.        No, I mean it.          You've got
     10      names across the top, and then you've got in
     11      red.     And what I said explicitly elsewhere
     12      is -- and we've read that already -- that the
     13      defendants in the case -- we read that
     14      several times during this deposition -- are
     15      members of the venture.
     16               Q.        Well, I understand that you say
     17      different things in different places about
     18      who makes up the venture, Dr. Egilman, which
     19      is why I'm asking you these questions,
     20      because it's unclear to me from your report
     21      who makes up the venture.
     22               A.        Okay.     Do you want to ask that
     23      question?
     24               Q.        From looking at Document 7.488,

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      1      when you say, "These are the members of the
      2      venture," you're now telling me that this is
      3      not -- that that opinion is incomplete?
      4               A.        Well, I said you had to
      5      conclude -- you had to include 4.89, for one
      6      thing.
      7               Q.        All right.
      8               A.        And I've already said elsewhere
      9      that the members of the venture were the
     10      manufacturers and distributors in the case.
     11               Q.        But you don't say that in
     12      Opinion 7.488; right?
     13               A.        I don't say that in
     14      Opinion 4.88 explicitly, that's right.
     15               Q.        But you don't say it
     16      explicitly, nor do you say it implicitly,
     17      sir; right?        You say "These are the members
     18      of the venture," not "These are some of the
     19      members of the venture"; right?
     20               A.        That's correct.
     21               Q.        Okay.
     22               A.        That one should have been
     23      clear.
     24                         This had a different purpose

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      1      originally, this document.
      2               Q.        All right.        Dr. Egilman, I'm
      3      trying to get you Exhibit 489.                 We seem not
      4      to have it in our little box here.
      5               A.        Do you want me to see if I have
      6      it in my box?
      7               Q.        Oh, it is in the binder that is
      8      Exhibit 1.        And there may be other copies
      9      your counsel have.           But I won't be able to
     10      provide Ms. Conroy a copy from me.
     11                         MS. SAULINO:         Okay.     Let's go
     12               off the record for about a minute.
     13                         THE VIDEOGRAPHER:           Off the
     14               record.      4:46.
     15                         (Recess taken, 4:45 p.m. to
     16               4:47 p.m.)
     17                         THE VIDEOGRAPHER:           Back on the
     18               record at 4:48.
     19               Q.        (BY MS. SAULINO)           Okay.
     20      Dr. Egilman, I'm going to give you an exhibit
     21      sticker, or I can put it on if you'd like.
     22                         So we're marking as Exhibit 15,
     23      Exhibit 4.89 to your report?
     24                         (Whereupon, Deposition Exhibit

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      1               Egilman 15, Opinion B.489 Redweld
      2               folder, was marked for
      3               identification.)
      4               Q.        (BY MS. SAULINO)           Which is --
      5               A.        4.89 is actually this and that.
      6               Q.        I'm sorry, when you say "this
      7      and that," I have one page that is 4.89.
      8      That was what was produced to us.                  You have
      9      something else?
     10               A.        Yeah.     I think you were
     11      supplied all these underlying documents.
     12                         MS. CONROY:        I don't think the
     13               notebooks have all of the underlying
     14               documents.
     15                         THE WITNESS:         You don't have
     16               the underlying documents.              You weren't
     17               given all of this.
     18               Q.        (BY MS. SAULINO)           Dr. Egilman,
     19      I'm just looking at the one page that we've
     20      marked as Exhibit 15.             I want to work through
     21      this, so let me figure this out.
     22                         So Exhibit 15 in front of you
     23      is one page; right?
     24               A.        Yeah, that's correct.

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      1               Q.        So -- and you'd agree with me
      2      that there are no documents cited here;
      3      right?
      4               A.        That's correct.          They were
      5      provided separately as attached to
      6      Exhibit 15.
      7               Q.        But that's not indicated
      8      anywhere here on --
      9               A.        They were provided with the
     10      opinion, digitally.
     11                         MS. CONROY:        They're attached
     12               electronically to the document.
     13               Q.        (BY MS. SAULINO)           So it's your
     14      testimony that there were supposed to be
     15      documents that went along with opinion 4.89,
     16      Exhibit B.489?
     17               A.        Yeah.     All of these.
     18               Q.        But that they're not cited on
     19      the page that is the basis for your opinion?
     20               A.        Well, that's the index,
     21      basically, to these documents.
     22               Q.        I see what you're saying, sir,
     23      but I'm trying to figure out what you relied
     24      on here.       Because we didn't have those

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      1      documents as being associated with your
      2      opinion.
      3                         MS. CONROY:        Objection.
      4                         THE WITNESS:         Well, I don't
      5               know that that's the case or not.
      6               Q.        (BY MS. SAULINO)           Okay.
      7               A.        I'm telling you that the way
      8      the report was delivered by me, it included
      9      the documents in my hands.
     10               Q.        All right.        Can I see those
     11      documents?
     12               A.        Sure.
     13               Q.        Can I have the little Redweld
     14      so I don't --
     15               A.        Sure.
     16               Q.        All right.        So let's make
     17      Exhibit 15 to your deposition what you are
     18      calling Exhibit 4.89, which is the one
     19      page -- I think it's in that blue folder.
     20               A.        Right.
     21               Q.        Okay.     Which is the one page
     22      that you're calling an index, plus the
     23      Redweld that you're saying is the backup?
     24                         We'll make that all Exhibit 15

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      1      to your deposition.
      2               A.        Sure.
      3               Q.        Okay.
      4               A.        Do you want to put the sticker
      5      on the folder?
      6               Q.        Yeah.     That's what I'm going to
      7      do.
      8                         Okay.     And your Opinion 4.89 is
      9      "Members of the venture entered agreements
     10      with the DEA and DOJ for violating the law";
     11      right?
     12               A.        Correct.
     13               Q.        And you say that -- you say now
     14      that this opinion was supposed to be read in
     15      combination with Opinion 4.88 as comprising
     16      all of the members of the venture?
     17               A.        Yes.
     18               Q.        Okay.     But, again, the Redweld
     19      that you just handed me still doesn't tell us
     20      that, does it?
     21                         MS. CONROY:        Objection.
     22                         THE WITNESS:         This says
     23               "Members of the venture entered
     24               agreements with the DEA and DOJ for

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      1               violating the law," so I think it does
      2               say that.
      3               Q.        (BY MS. SAULINO)           Well, I agree
      4      that you read what the opinion says, but it
      5      doesn't say that it should be read together
      6      with 4.88 to comprise the members of the
      7      venture; right?
      8               A.        That's correct.
      9               Q.        Okay.
     10                         Now, do you still have B.473
     11      that I asked you to hang on to?
     12                         I believe it's Exhibit 12.
     13               A.        Yes, I do.
     14               Q.        Okay.
     15                         Exhibit 12 to your deposition?
     16               A.        Yes.
     17               Q.        So I'm still trying to figure
     18      out what the basis is for your determining
     19      who made up the venture other than the words
     20      that you use here on Exhibit 12.
     21                         You don't cite any documents in
     22      Exhibit 12, as we've already agreed; right?
     23               A.        That's correct.
     24               Q.        Okay.     We've already agreed you

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      1      don't cite any kind of evidence; right?
      2               A.        For the definition.            Correct.
      3               Q.        Okay.
      4                         And so there's no way for us to
      5      reconstruct from your written opinion or the
      6      exhibits to your written opinion how you came
      7      to determine who the members of the venture
      8      were; right?
      9               A.        No.
     10               Q.        There is a way for us to
     11      reconstruct that?
     12               A.        Yes.
     13               Q.        From your written materials?
     14               A.        Yes.
     15               Q.        And what is that method?
     16               A.        Well, first I named them
     17      "Members of the venture."               And then if you
     18      want to know how they got to be members of
     19      the venture, you look at the definition.
     20      They relied on each other's lies about
     21      addiction and treating mild pain to push the
     22      drugs.      They worked together to influence
     23      public perceptions of the class of narcotic
     24      drugs with respect to drug toxicity, quote

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      1      untreated pain, closed quote, and they
      2      encouraged the use of narcotics instead of
      3      non-medication treatments or less addictive
      4      drugs.
      5                         So that -- that's the main
      6      activities.
      7                         Now, you know, elsewhere, I --
      8               Q.        So I think --
      9               A.        I think elsewhere --
     10               Q.        I think we're good there, sir.
     11                         So you started with saying,
     12      "First, I named the members of the venture."
     13      And as we've just seen, you named them
     14      differently in different places; right?
     15               A.        I'm just saying my answer is
     16      incomplete.        Now go ahead.
     17               Q.        You named them differently in
     18      different places; right?
     19               A.        That's correct.
     20               Q.        And here, the basis that you
     21      just read to us doesn't have any citation of
     22      any kind of support; right?
     23               A.        The basis for the definition
     24      doesn't have any cites.

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      1               Q.        So there are no --
      2               A.        But the -- but there are lots
      3      of citations, examples, et cetera, for how
      4      various members of the venture met the
      5      definition I laid out here.
      6               Q.        Well, I realize that you are
      7      testifying to that, sir, but there's no way
      8      for us to see how you came to that conclusion
      9      by looking at the definition of the venture
     10      presented in B.473; right?
     11               A.        Wrong.
     12               Q.        And why do you say that's
     13      wrong?
     14               A.        Well, because we could start
     15      with B7.       If you look at B7 --
     16               Q.        Sir, my question was about
     17      B.473.
     18               A.        You asked, "Why do you say
     19      that's wrong?"          Okay?     That's a wide
     20      question.       That is not a yes-or-no question,
     21      as far as I can determine it.
     22               Q.        Respectfully --
     23               A.        I cannot answer that question
     24      "yes" or "no."

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      1               Q.        Respectfully, sir --
      2               A.        If I cannot answer the
      3      question, then no problem.               So I have no
      4      answer that's not -- because it's not a
      5      yes-or-no question.            I can't answer the
      6      question.       Go ahead.
      7               Q.        Respectfully, sir, my question
      8      was:     "There's no way for us to see how you
      9      came to that conclusion by looking at the
     10      definition of venture presented in B.473;
     11      right?"
     12                         And your answer to that was
     13      "Wrong."
     14                         We were looking at B.473 --
     15               A.        Well, now you have like four
     16      questions above.
     17               Q.        Looking at --
     18               A.        Go ahead.
     19               Q.        Looking at --
     20               A.        Start again.
     21               Q.        Looking at B.473 --
     22               A.        Right.
     23               Q.        -- there's no way for us to
     24      know how you came to the conclusions listed

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      1      in B.473 by looking at the definition of the
      2      venture presented in B.473; right?
      3                         MS. CONROY:        Objection.
      4                         THE WITNESS:         There's no
      5               conclusions in B.473, so I don't
      6               understand the question.
      7               Q.        (BY MS. SAULINO)           Okay.     And
      8      what you said just prior to that is "There
      9      are lots of citations, examples, et cetera
     10      for how various members of the venture met
     11      the definition I laid out here."
     12                         But we don't see those
     13      citations, examples, et cetera, listed in
     14      your definitions for venture where they
     15      appear in your report; right?
     16               A.        You don't see those examples in
     17      4.73?     Correct.
     18               Q.        Or 4.88?
     19               A.        Or --
     20                         Well, no, 4.88's got examples.
     21      Okay?
     22                         4.88's got examples.            It has a
     23      Redweld folder full of legal violations where
     24      the members of the venture paid fines for

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      1      violating the law.
      2               Q.        Respectfully, sir, that was
      3      4.89, but --
      4               A.        Oh, I'm sorry.
      5               Q.        -- I take your point.
      6               A.        4.89.     Sorry.
      7               Q.        Sitting here today, can you
      8      name each member of the venture?
      9               A.        Not without looking at the
     10      notes, without making a mistake, no.
     11                         Maybe I can.         Let me see.        I
     12      had two card stocks.
     13               Q.        What are you looking at right
     14      now?
     15               A.        Looking at the members of the
     16      venture.
     17               Q.        I'm just asking you whether,
     18      without looking at your notes and other lists
     19      that you have there, whether you can name the
     20      members of the venture.              It's a yes-or-no
     21      question.
     22               A.        Do you mean as a closed -- as a
     23      closed-book test?
     24                         Maybe I can, maybe I can't.                 I

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      1      don't know.        But I'm not going to guess.
      2               Q.        All right.        So looking back at
      3      B.473, which is Exhibit 12, number 1, you
      4      say, "They relied on each other's lies about
      5      addiction and treating mild pain to push the
      6      drugs."
      7               A.        Correct.
      8               Q.        That's a conclusion; right?
      9               A.        No, that's not a conclusion.
     10      That's how you qualify for the membership.
     11               Q.        And you don't provide any way
     12      for us to know how you came to that
     13      conclusion that that is how you qualify for
     14      membership; right?
     15               A.        I do not explain why that is
     16      part of the definition for venture, that's
     17      correct.       But I do provide examples or
     18      evidence that the venture lied about
     19      addiction and treating mild pain to push the
     20      drugs.      That's what the whole report is
     21      about, more or less.
     22               Q.        You don't lay out here any way
     23      for the defendants to pick up your report,
     24      take your definition, reconstruct the work

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      1      that got you to your conclusion; right?
      2               A.        Wrong.
      3               Q.        You don't explicitly in writing
      4      provide any way to do that, do you?
      5               A.        No, that's not exactly true
      6      either.       I gave you the methodology.               If you
      7      look at the grounded method, there's the
      8      methodology there, there's the beginning of
      9      search terms.         You could then do the same
     10      iterative process I did.
     11               Q.        Absolutely, sir.           You and I
     12      have talked at length today about the
     13      processes that you used and how you didn't
     14      document many steps of those processes;
     15      right?
     16               A.        Right.
     17               Q.        Okay.
     18                         So there's no way for us to
     19      pick up your report and recreate what brought
     20      you to this conclusion.
     21               A.        Well, it's an iterative
     22      process.       It's never going to be the same.
     23                         We do it two or three times,
     24      and there will be certainly minor differences

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      1      in what search terms you come up with and
      2      what you pursue.
      3                         So you know, there's -- there's
      4      no way to have a -- you can reproduce the
      5      method.       You can reproduce the search terms,
      6      and you can then look at the documents and
      7      then do other iterative searches.
      8               Q.        By my count, more than a third
      9      of your 489 or 490 opinions pertain to the
     10      venture.       Do you have any reason to disagree
     11      with that?
     12               A.        No reason to agree or disagree.
     13               Q.        Is it your view that each and
     14      every one of the opinions that is cited for
     15      the venture applies to each and every
     16      defendant in the opiate MDL?
     17               A.        I'm not sure.
     18                         In the aggregate, yes.             I don't
     19      know about each --
     20                         Well, here's a situation.
     21      Depends how you define "applied to."
     22                         I can give you a definition
     23      where I think the answer would be yes, and if
     24      that's the definition you accept, the answer

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      1      is yes.
      2               Q.        Why don't we start with my
      3      first question.          Is it your view that each
      4      and every one of the opinions that is cited
      5      for the venture applies to each and every
      6      defendant in the opiate MDL?
      7               A.        Based on my understanding of
      8      membership in the venture, participation in
      9      the venture, yes.
     10               Q.        So if we look at any one
     11      opinion about the venture, we should be able
     12      to find support for every defendant in the
     13      opiate MDL for that opinion?
     14               A.        Oh, no.      Not necessarily.
     15      That's not how it works.
     16               Q.        Well, so how is there any way
     17      for us to understand how you applied that
     18      opinion to every member of the venture?
     19               A.        Works like a bank robbery.               One
     20      person -- or a series -- a bank robbery
     21      network.
     22                         So you have lots of different
     23      people.       You have the guy outside watching.
     24      You've got the guy inside with the gun.

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      1      You've got the teller who may be complicit.
      2      You've got the guys in the car, the getaway
      3      car, and you've got some people looking out
      4      for the cops.         Okay?
      5                         So they're all 100 percent
      6      responsible for robbing that bank.                   And in
      7      this case, that means destroying these
      8      communities, costing them misery and some
      9      money.
     10                         And then it goes forward and
     11      back.     So in other words, that bank -- that
     12      group of bank robbers, okay?                One of those
     13      guys was robbing banks since 1984, okay?
     14                         But the other bank robbers
     15      joined 1996, 1997.           Once they agree to the
     16      same purpose of continuing to rob banks,
     17      they're also responsible for the bank
     18      robberies that go back to 1994.                 And the same
     19      thing going forward.
     20                         So by that definition of
     21      concerted action, they're all participants.
     22      They all don't have to hold a gun to the
     23      teller's head.          They didn't all have to be
     24      the guard.        They're all 100 percent

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      1      responsible.
      2               Q.        The definition of concerted
      3      action that you just laid out in your
      4      testimony is not stated anywhere in your
      5      report, is it?
      6               A.        Correct.
      7               Q.        And you haven't provided
      8      anywhere in your report your basis for
      9      believing that that definition applies to the
     10      defendants in the opiate MDL; right?
     11               A.        That's correct.
     12               Q.        I'd like to look at some of
     13      your venture opinions.
     14                         Let's look at Opinion 81 which
     15      is on page 75 of your report.
     16               A.        Why don't you wait a second
     17      while he yanks the whole opinion.
     18               Q.        Well, I can give you a copy of
     19      the whole exhibit.
     20               A.        Yeah.     But the exhibit books
     21      have got --
     22               Q.        This is the exhibit.            It's one
     23      page.     Would you like it?
     24               A.        I don't think so.

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      1                         MS. CONROY:        Objection.
      2                         THE WITNESS:         But we'll see.
      3                         Okay.     You're correct.
      4               Q.        (BY MS. SAULINO)           What made you
      5      think that this exhibit should be more than
      6      one page, Dr. Egilman?
      7               A.        First, it's two pages.
      8               Q.        I was only given one page,
      9      Dr. Egilman, so could I see what you have?
     10               A.        Sure.
     11               Q.        I'm looking at what was
     12      produced to us two days ago.
     13               A.        Well, I'm looking at my opinion
     14      that should have been produced to you.
     15               Q.        Right.      Okay.     What you have
     16      here, Dr. Egilman, the second page that you
     17      have here is what was originally produced to
     18      us which was cut off.             And so the first page
     19      is what was reproduced to us.                 Both were
     20      represented to be the same document.
     21                         Is that your understanding?
     22               A.        I don't have any understanding
     23      about that.
     24               Q.        Okay.     Well, looking at

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      1      Exhibit B.81, is that the basis for your
      2      opinion, "The venture should have known that
      3      higher doses kill and warned about this"?
      4               A.        Correct.
      5               Q.        Okay.     And let's mark that as
      6      Exhibit 16 to your deposition.
      7                         (Whereupon, Deposition Exhibit
      8               Egilman 16, The "venture" should have
      9               known that higher doses kill and
     10               warned about this, was marked for
     11               identification.)
     12               Q.        (BY MS. SAULINO)           You can mark
     13      both pages.        And so as I just explained, the
     14      first page was what was reproduced to us.
     15      The second page is what we originally got,
     16      which was cut off.
     17                         It's my understanding those
     18      were supposed to be the same.
     19               A.        Yes.     Okay.     I'm not fighting.
     20               Q.        Okay.     So what we have here as
     21      the basis for Opinion 81, first, let's look
     22      at what Opinion 81 is, and that is "The
     23      venture should have known that higher doses
     24      kill and warned about this"; right?

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      1               A.        Right.
      2               Q.        And here you have a screenshot
      3      of the first page of an article; right?
      4               A.        Correct.
      5               Q.        And that's all you provide as
      6      the basis for this opinion.                Right?
      7               A.        Correct.
      8               Q.        Okay.     You don't actually
      9      attach the full article; right?
     10               A.        That's apparently correct.
     11               Q.        Okay.     And your opinion here,
     12      the way that you have phrased it said "The
     13      venture should have known that higher doses
     14      kill and warned about this"; right?
     15               A.        Correct.
     16               Q.        You don't give a date at which
     17      they should have known; right?
     18               A.        No.     This is known for a long
     19      period of time.
     20               Q.        Okay.
     21               A.        This is -- I mean, this is
     22      known since, you know, probably 3500 in the
     23      Greek scrolls, in the Greek, you know,
     24      writing.

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      1               Q.        You would agree with me,
      2      Dr. Egilman, that the bottom of the first
      3      page of this article is cut off; right?
      4               A.        Correct.
      5               Q.        Okay.     Would you have any
      6      reason to doubt me if I told you that this
      7      article that you screenshotted here was
      8      published in 2016?
      9               A.        No.
     10               Q.        And that is the only basis that
     11      you provide for Opinion 81?
     12               A.        That's the only basis listed in
     13      this opinion.
     14               Q.        And you don't --
     15               A.        This is -- I mean, this is just
     16      documenting in numbers what's been known
     17      forever.
     18               Q.        Well, you don't provide any
     19      detail about what you believe has been known
     20      forever here in Opinion 81; right?
     21               A.        That's correct.
     22               Q.        You don't provide any roadmap
     23      to where we should look to find what you
     24      believe has been known forever; right?

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      1               A.        That's correct.
      2               Q.        You don't provide any original
      3      hypothesis that you used in order to come to
      4      this opinion; right?
      5               A.        Correct.
      6               Q.        You don't provide us any
      7      roadmap of how you tested that hypothesis;
      8      right?
      9               A.        Correct.
     10               Q.        You don't cite to any
     11      deposition testimony that discusses this
     12      opinion; right?
     13               A.        That's correct.
     14               Q.        So other than this screenshot
     15      of the first page of an article from 2016, we
     16      have nothing written in your report that
     17      shows us how you came to the opinion in
     18      Opinion 81?
     19               A.        That's correct.
     20               Q.        All right.
     21                         All right.        So let's look at
     22      Opinion No. 8, which is at page 63 of your
     23      report.
     24                         Do you have your report?

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      1               A.        I have the index to the report.
      2               Q.        I'm sorry?
      3               A.        I have the index to the report.
      4               Q.        What do you mean, sir?
      5               A.        Well, you keep referring to
      6      this as "the report."             I think this is -- the
      7      report is 35, 400 pages, I think.                  So as
      8      we've been going through things, you can see
      9      this is not the entire report.
     10               Q.        So what you are looking at in
     11      front of you -- I just want to make sure on
     12      the record we have -- so what's it been
     13      marked as for your deposition?
     14               A.        It's been marked as "Report of
     15      David S. Egilman, M.D. MPH."
     16               Q.        For your deposition, sir.
     17      Exhibit 1F?
     18               A.        Exhibit 1F.
     19               Q.        So Exhibit 1F, which you were
     20      handed this morning --
     21               A.        Right.
     22               Q.        -- which is named on the title
     23      page "Report of David S. Egilman, M.D. MPH."
     24               A.        Right.

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      1               Q.        You're telling me that that's
      2      not a report.         That's just an index?
      3               A.        This is the -- this is the
      4      beginning of a report that's 3,200,
      5      3,300 pages; correct.             With all the
      6      associated documents which have even more
      7      pages.
      8                         That's the whole report.              Do
      9      you see that?         All these boxes?          That's the
     10      report.       That's what was shipped to you.
     11               Q.        Actually, sir, nothing was
     12      shipped to us.
     13               A.        That was what was digitally
     14      transmitted to you.
     15               Q.        I understand what you're trying
     16      to say here.         Is there any way that we would
     17      know from looking at this document that is
     18      titled "Report of David S. Egilman," that
     19      this is not actually your report?
     20                         MS. CONROY:        Objection.
     21                         THE WITNESS:         It's part of the
     22               report.      Do you want the whole report?
     23                         Well, one way would be to say
     24               oh, there's all these exhibits listed.

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      1               Okay?     In there.
      2                         And so those are obviously --
      3                         I'm sorry.
      4                         MS. SAULINO:         We need to take a
      5               time out.
      6                         THE VIDEOGRAPHER:           Off the
      7               record.      5:12.
      8                         (Recess taken, 5:11 p.m. to
      9               5:17 p.m.)
     10                         THE VIDEOGRAPHER:           We're back
     11               on the record at 5:18.
     12                         THE WITNESS:         Do you want me to
     13               keep going with the answer?
     14                         MS. SAULINO:         Do you remember
     15               where you were?
     16                         THE WITNESS:         I think so.
     17                         MS. SAULINO:         Okay.     Well --
     18                         THE WITNESS:         The question was
     19               how would someone know that this was
     20               not the entire report?
     21                         The answer that I gave already
     22               was well, there's exhibit numbers
     23               attached under -- cited in each of the
     24               opinions.       So you'd know there'd be

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      1               that.     And that's number one reason.
      2                         Number 2A is, I think that's
      3               how it was transmitted digitally,
      4               although I didn't do the transmission.
      5               Q.        (BY MS. SAULINO)           Okay.     So I
      6      just want to clarify, Dr. Egilman.                   You've
      7      referred to this document that we have marked
      8      as Exhibit 1F to your deposition as the index
      9      to your report.
     10                         And I'm trying --
     11               A.        It's the introduction and index
     12      to the opinions.
     13               Q.        And so then we need to add
     14      everything in B1 through 4.89, Exhibits B1
     15      through 4.89.
     16               A.        And the attached documents
     17      which were also submitted, that in many cases
     18      are supplemental to the few pages that are in
     19      the "opinion" opinion.
     20               Q.        Okay.
     21               A.        Like we went through on that
     22      Exhibit 15 that's marked here.
     23               Q.        I'm following you.
     24                         And so if we look at what

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      1      you're now calling the index to your
      2      opinions, we see the name of the opinion, and
      3      then we go to the exhibit that matches that
      4      number, and we see the support for the
      5      opinion; right?
      6               A.        Well, first, I don't agree with
      7      the predicate.
      8               Q.        I'm sorry, which predicate?
      9               A.        What you're now calling the
     10      index to your opinions.
     11               Q.        Dr. Egilman, that was something
     12      you said just before the break.
     13               A.        And I just corrected it and
     14      said it's the introductory materials and the
     15      index.
     16                         And so -- next question.
     17               Q.        Your report is the opinions
     18      that you list in Deposition Exhibit 1F plus
     19      all of the exhibits in Exhibit B1 through
     20      4.89 and their attached documents.                   That's
     21      your report?
     22               A.        No.
     23               Q.        What else is a part of your
     24      report?

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      1               A.        The methodology sections and
      2      the other sections in Exhibit 1F.
      3               Q.        Right.      Those are already in
      4      1F; right?
      5               A.        Yeah, but you didn't say it
      6      that way.       When you gave your question, you
      7      limited it to things called opinions.                    And I
      8      wanted to make sure that the record was clear
      9      that it was everything in 1F.
     10               Q.        I appreciate that, Dr. Egilman.
     11                         Is there anything else that you
     12      consider to be part of your report that is
     13      not Exhibit 1F or all of the exhibits
     14      attached to Exhibit B and their attached
     15      documents?
     16               A.        No.
     17               Q.        Okay.     Let's look at page 63,
     18      Opinion 7.8.
     19               A.        Okay.
     20               Q.        Opinion 7.8 is "All for one and
     21      one for all.         The venture knew collective
     22      marketing increased the size of the opioid
     23      pie.     Similarly, had any venture member
     24      broken ranks, the opioid market would have

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      1      slowed or if the complete truth was told, no
      2      efficacy and high addiction risk, the market
      3      would have crashed."
      4                         Right?
      5               A.        Yes.
      6               Q.        You wrote that opinion?
      7               A.        I did.
      8               Q.        Before we even get to
      9      Exhibit B8, you hold the opinion that opioids
     10      have no efficacy?
     11               A.        No efficacy for chronic
     12      non-malignant pain.
     13               Q.        I see.      You don't say that
     14      here, though; right?
     15               A.        I left that part out.
     16               Q.        All right.        Now let's look at
     17      Exhibit B8.        I have a copy here if you need
     18      it.
     19                         Do you want --
     20                         Okay.     I didn't know if you
     21      wanted to use your own copy.
     22                         THE WITNESS:         Jayne, do you
     23               want to see if I've got marks on mine.
     24               Q.        (BY MS. SAULINO)           So I'm

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      1      marking this as Exhibit 17 to your --
      2                         MS. SAULINO:         There's a
      3               different version?
      4                         MS. CONROY:        There's an arrow
      5               on this one.
      6                         (Whereupon, Deposition Exhibit
      7               Egilman 17, All for one and one for
      8               all - the "venture" knew collective
      9               marketing increased the size of the
     10               opioid pie.        Similarly had any
     11               "venture" member broken ranks, the
     12               opioid market would have slowed or if
     13               the complete truth was told (no
     14               efficacy and high addiction risk) the
     15               market would have crashed, was marked
     16               for identification.)
     17               Q.        (BY MS. SAULINO)           Okay.     So
     18      I've marked as Exhibit 17 to your deposition,
     19      our copy of Exhibit B8.              Your copy that
     20      Ms. Conroy just handed you has an arrow
     21      pointing at the far left -- the far right,
     22      sorry.      I had to reverse myself --
     23      description under the far right green box; is
     24      that right?

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      1               A.        Right.
      2               Q.        And otherwise, they're the
      3      same?
      4               A.        Right.      But the whole document,
      5      I think, is provided.             So here's the whole
      6      opinion, I think.           Maybe not.        The whole
      7      opinion is the whole document.                 Apparently,
      8      that wasn't sent, but this is enough.
      9               Q.        So Dr. Egilman, your basis for
     10      this opinion is again one document; right?
     11               A.        Correct.
     12               Q.        You don't identify any
     13      deposition testimony; right?
     14               A.        Correct.
     15               Q.        You don't identify any other
     16      documents that led to this opinion; right?
     17               A.        Correct.
     18                         The basis for my opinion as
     19      stated in this opinion is one document.
     20      There is other bases elsewhere in the report.
     21                         But go ahead.
     22               Q.        Okay.     But you don't state any
     23      of those other bases here under your opinion;
     24      right?

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      1               A.        Correct.
      2               Q.        You don't provide us any kind
      3      of cross-reference that would allow us to
      4      know where else in your report you provide
      5      bases for this opinion; right?
      6                         MS. CONROY:        Objection.
      7                         THE WITNESS:         Correct.
      8               Q.        (BY MS. SAULINO)           Now, breaking
      9      this opinion down, because it seems to have
     10      several parts.          Would you agree with me on
     11      that?
     12               A.        Sure.
     13               Q.        Okay.     You first say, "The
     14      venture knew collective marketing increased
     15      the size of the opioid pie"; right?
     16               A.        Correct.
     17               Q.        And we've just established you
     18      cite one document for that; right?
     19               A.        In this opinion, correct.
     20               Q.        Okay.     And this document
     21      doesn't actually name any members of the
     22      venture; right?
     23               A.        Well, it's a Janssen document.
     24               Q.        Well, it's simply --

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      1               A.        And the name's OxyContin, which
      2      is a Purdue product.
      3               Q.        Well, sir, when you say it's a
      4      Janssen document, all you know is that it was
      5      produced by Janssen; right?
      6               A.        No, I think it's a Janssen
      7      document.       If you look at the document, it's
      8      a Janssen document.
      9               Q.        Okay.     I'm looking at your
     10      Exhibit 8.
     11               A.        Yeah.     I say if you look at
     12      the -- if you look at the Bates numbered
     13      actual document, it's a Janssen document.
     14      That's my recollection.
     15               Q.        A document that was produced by
     16      Janssen?
     17               A.        Written -- yeah.           It's not an
     18      FDA document produced by Janssen.                  It's a
     19      Janssen document produced by Janssen.
     20               Q.        Do you have any basis for that
     21      knowledge?
     22               A.        I think it says it on the
     23      document.
     24               Q.        Did you see any deposition

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      1      testimony to that effect?
      2               A.        No.
      3               Q.        Did you do any research to that
      4      effect?
      5               A.        No.
      6               Q.        And you say similar -- your
      7      next piece of your opinion is "Similarly, had
      8      any venture members broken ranks, the"
      9      opinion marked -- I'm sorry -- "Had any
     10      venture member broken ranks, the opioid
     11      market would have slowed or if the complete
     12      truth was told, no efficacy and high
     13      addiction risk, the market would have
     14      crashed."       Right?
     15               A.        Right.
     16               Q.        And you base that again on this
     17      one screenshotted document that you have here
     18      on B8?
     19               A.        No.     There's other documents
     20      that --
     21                         MS. CONROY:        Objection.
     22                         THE WITNESS:         There's other
     23               documents that support that as well
     24               elsewhere in the report.              But the --

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      1                         So there's other documents.
      2               There's other bases for that opinion.
      3               Q.        (BY MS. SAULINO)           Nothing
      4      listed here; right?
      5               A.        Correct.
      6                         Not in this opinion.
      7               Q.        And there's nothing on this
      8      document that talks about breaking ranks, is
      9      there?
     10               A.        That's correct.
     11               Q.        Okay.     And you don't cite to
     12      any deposition testimony that leads to that
     13      conclusion; right?
     14               A.        Correct.
     15               Q.        Okay.     Let's look at
     16      Opinion 62, which is on page 71.
     17               A.        Okay.
     18               Q.        In Opinion 62 you say,
     19      "Opinion.       When the FDA tried to limit use in
     20      2001 by changing the label from more than a
     21      few days to extended period of time, the
     22      venture used this language to increase the
     23      market"; right?
     24               A.        Correct.

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      1               Q.        Okay.
      2                         And if you then look at
      3      Exhibit B62 -- I can hand it to you.
      4                         Oh.     What do you have there?
      5               A.        B62.
      6               Q.        All right.        Well, let me make
      7      sure that your B62 and mine are the same.
      8                         You have a Redweld as well?
      9                         MS. CONROY:        Of the Bates
     10               documents.
     11                         THE WITNESS:         This is the
     12               online Bates document.
     13               Q.        (BY MS. SAULINO)           Okay.     Let
     14      me -- I will hand you the exhibit,
     15      Dr. Egilman.         I'm just trying to make sure I
     16      understand what you have here.
     17               A.        I think I've got a mark on
     18      mine, so.
     19               Q.        I'm sorry?
     20               A.        I've got -- this is the one I
     21      read and marked.
     22               Q.        Okay.
     23                         Would you like a sticker?
     24               A.        Sure.

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      1               Q.        You have it for 18?
      2                         (Whereupon, Deposition Exhibit
      3               Egilman 18, Opinion - When the FDA
      4               tried to limit use in 2001 by changing
      5               the label from "more than a few days"
      6               to "extended period of time," the
      7               "venture" used this language to
      8               increase the market, was marked for
      9               identification.)
     10               Q.        (BY MS. SAULINO)           Can you show
     11      me what you've marked?
     12               A.        Okay.
     13               Q.        All right.        So looking at
     14      Exhibit 62 --
     15                         MS. CONROY:        Exhibit 18.        B62.
     16                         MS. SAULINO:         Sorry,
     17               Exhibit 18.        B62.
     18               Q.        (BY MS. SAULINO)           On the first
     19      page of Exhibit 18, you quote from a CBS News
     20      article; right?
     21                         It's the "60 Minutes."
     22               A.        Correct, the "60 Minutes"
     23      piece.
     24               Q.        Right, a "60 Minutes" piece,

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      1      but it's from cbsnews.com; right?
      2               A.        Correct.       It's a transcript of
      3      the "60 Minutes" TV show.
      4               Q.        Well, it's a portion of a
      5      transcript; right?
      6               A.        Correct.
      7               Q.        There's no Bates number listed
      8      there; right?
      9               A.        Correct.
     10               Q.        Okay.
     11                         And then, you then attach a --
     12      one single e-mail chain; right?
     13               A.        Correct.
     14               Q.        That's an internal e-mail chain
     15      from Purdue; right?
     16               A.        Correct.
     17               Q.        Those are the two pieces of
     18      evidence that you cite for saying that the
     19      venture used this language to increase the
     20      market.
     21               A.        Correct.
     22               Q.        You don't cite to any other
     23      documents; right?
     24               A.        Not in this opinion.

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      1               Q.        And you don't cite to any
      2      deposition testimony; right?
      3               A.        Correct.
      4               Q.        And you don't provide us the
      5      question that you were seeking to answer;
      6      right?
      7               A.        Well, that's again the
      8      assignment.
      9               Q.        You don't provide us the
     10      question that resulted in this opinion;
     11      right?
     12               A.        Not the specific question that
     13      resulted in this opinion.               I gave you the
     14      methodology that resulted in this opinion.
     15               Q.        Well, sir, you actually haven't
     16      given us the methodology that resulted in
     17      this opinion.         That's not written here, is
     18      it?
     19               A.        It's not on the opinion.
     20               Q.        And you agreed with me earlier
     21      that you used different types of methodology
     22      for different opinions; right?
     23               A.        No.     It's the same methodology.
     24      It's the same search techniques and review of

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      1      documents for all of the non, say, medical
      2      opinions.       The medical opinions are based on
      3      evidence-based medicine to the extent
      4      possible.       That's mostly the efficacy, other
      5      things like that.
      6                         And the non-medical opinions --
      7      non-medical drug efficacy opinions are based
      8      on grounded method theory.
      9               Q.        Well, okay.        So that's a bit
     10      different than what you told me earlier.
     11                         So where in your report have
     12      you indicated which are the medical opinions
     13      based on evidence-based medicine and which
     14      are the other opinions that are based on
     15      grounded method theory?
     16                         MS. CONROY:        Objection.
     17                         THE WITNESS:         First, I don't
     18               think that's different from what I
     19               told you before.          I think I told you
     20               that specifically before.              And you
     21               need to obviously -- when I'm talking
     22               about EERW, I'm talking about medical
     23               opinions.       If I'm talking about the
     24               Roth paper, I'm talking about medical

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      1               evidence.
      2                         If I'm talking about the
      3               efficacy of opioids for chronic
      4               non-malignant pain, I'm talking about
      5               medical opinions.
      6               Q.        (BY MS. SAULINO)           Let's just
      7      talk --
      8               A.        If I'm talking about policy
      9      issues of how the companies marketed, took
     10      advantage of FDA language, that's a grounded
     11      theory opinion.
     12               Q.        And this breakdown appears
     13      nowhere in your report; correct?
     14               A.        I think it's pretty clear if we
     15      look at the methodology.              Evidence-based
     16      medicine deals with medical questions.                     If
     17      you look at the rest of that section, it
     18      deals with cause-effect relationships,
     19      choice-of-treatment modalities, efficacy,
     20      side effects, et cetera.
     21                         I think it's clear that
     22      marketing and other related, over --
     23      overselling, things like that, that's not
     24      based on a similar kind of evidence base that

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      1      will determine whether or not you use opioids
      2      for chronic non-malignant pain.
      3               Q.        The explanation you just gave
      4      does not appear in your report; correct?
      5                         MS. CONROY:        Objection.
      6                         THE WITNESS:         Those words do
      7               not appear, but I think it's clear if
      8               you read the introduction to the
      9               report, that that's a distinction.                   It
     10               doesn't need an explicit definition
     11               since evidence-based medicine is
     12               titled evidence-based medicine.
     13                         And I gave you examples.              If
     14               you look at the grounded theory of
     15               five or six papers that I published on
     16               grounded theory, and if you look at
     17               just the titles of those papers, you
     18               see that they're dealing with other
     19               issues, similar ones I deal with here.
     20               Off-label marketing.            Promotion.
     21               Illegal promotion.           False and
     22               misleading advertising.              That kind of
     23               activity.       That's all grounded
     24               theory-based.         And there's examples in

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      1               the introduction that -- for both.
      2               Q.        (BY MS. SAULINO)           So if we
      3      wanted to figure out which methodology you
      4      used for which opinion, we'd have to guess
      5      whether it was a medical opinion or a
      6      marketing opinion.
      7               A.        If you think that's a guess,
      8      then I guess you could call it a guess.                     I
      9      wouldn't call it a guess.               I think it's
     10      obvious.
     11               Q.        Okay.     Let's look at the one --
     12      let's look at Exhibit 15 to your deposition,
     13      the one we were just looking at, No. 8.
     14               A.        Right.
     15               Q.        You'd agree with me that
     16      that --
     17               A.        Wait a minute.          15, did you
     18      say?
     19                         MS. CONROY:        17.
     20                         MS. SAULINO:         17.    Sorry.
     21               Exhibit 17.        It's getting a little
     22               late.     I apologize.
     23                         THE WITNESS:         You did say 15.
     24                         MS. SAULINO:         I'm sure I did,

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      1               sir.     I apologize.        I misspoke.
      2                         THE WITNESS:         I'm on 17.
      3               Q.        (BY MS. SAULINO)           17, Opinion
      4      No. 8.
      5               A.        Okay, right.
      6                         This is obviously a grounded
      7      theory-based issue.            There's no math modeling
      8      here.     There's no data that was collected by
      9      anybody that I know that shows, quote,
     10      business expansion is driven by OxyContin.
     11               Q.        Dr. Egilman, I haven't asked my
     12      question yet.         Could I ask my question?
     13               A.        Go ahead.
     14               Q.        You would agree with me that
     15      this opinion discusses efficacy and high
     16      addiction risks; right?
     17               A.        Correct.
     18               Q.        An opinion that you hold based
     19      on your medical experience; right?
     20               A.        No.     This is dealing with those
     21      that -- those efficacy and high addiction
     22      risks as it should have been told by the
     23      companies.        This is a breaking ranks opinion.
     24               Q.        But your belief that it should

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      1      have been told that way by the companies is
      2      based on your medical opinion; correct?
      3               A.        Probably true.
      4               Q.        Okay.
      5               A.        Okay.     But -- but that --
      6               Q.        So for this opinion, you would
      7      have --
      8                         MS. CONROY:        Let him finish his
      9               answer.
     10                         MS. SAULINO:         He did answer.
     11                         THE WITNESS:         Go ahead.       My
     12               answer is incomplete.             Go ahead.
     13               Q.        (BY MS. SAULINO)           So for this
     14      opinion, we would have to guess whether you
     15      used the grounded theory approach or the
     16      evidence-based medicine opinion; right?
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         No.    Not at all.
     19               Q.        (BY MS. SAULINO)           You think
     20      it's obvious?
     21               A.        I think it's obvious.
     22               Q.        But you don't list it anywhere
     23      here?
     24               A.        Because it's obvious.

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      1               Q.        You don't list, for any
      2      opinion, which approach you took; correct?
      3               A.        Explicitly, no.          But I think
      4      it's obvious.
      5               Q.        So earlier when you testified
      6      that you were actually using a combination of
      7      the two, that was inaccurate?
      8               A.        No, that was for the whole
      9      report.
     10               Q.        When I was asking you questions
     11      about the evidence-based medicine approach
     12      and you were bringing in part of the grounded
     13      theory approach, and I asked you why you were
     14      doing that, and you said because you used
     15      them in combination, that's not actually what
     16      happened?
     17                         MS. CONROY:        Objection.
     18                         THE WITNESS:         The only
     19               combination would be if -- what you
     20               just did with this opinion, right, the
     21               evidence-based medicine leads to
     22               the -- to the conclusion that the
     23               drugs are not efficacious and they're
     24               addictive.        Right?

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      1                         So to the extent that you're --
      2               to the extent that you're correct,
      3               that that's an evidence-based medical
      4               derived opinion, which it probably is,
      5               okay? -- that's a component of this
      6               grounded theory opinion, but for the
      7               most part, this is basically a
      8               grounded theory opinion.
      9               Q.        (BY MS. SAULINO)           Okay.     So
     10      your testimony earlier when you were
     11      explaining to me how you combined the two
     12      methodologies was not accurate?
     13                         MS. CONROY:        Objection.
     14                         THE WITNESS:         I don't recall it
     15               completely.        I just told you an
     16               example of where it would be accurate.
     17                         It doesn't -- I didn't use them
     18               in combination all the time.                Okay?
     19               And I didn't even think about the
     20               example you just pointed out so
     21               deftly, and where they were used in
     22               combination.
     23               Q.        (BY MS. SAULINO)           Well, about
     24      five minutes ago, you told me it was obvious

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      1      this was the grounded theory approach.                     So
      2      that's not true either; right?
      3               A.        Sure it is.        This is obviously
      4      a grounded theory approach.                The small
      5      component of this is that there's a high
      6      addiction risk.          You don't need to do
      7      evidence-based medicine for that.                  Okay?
      8      That -- that's -- that's -- that was obvious,
      9      I think, to the -- to the venture members for
     10      a long time.
     11               Q.        Efficacy is also a medical
     12      opinion; right?
     13               A.        No efficacy?         Yeah, that's
     14      true, and that was also known to them.
     15      That's an easy one.            There's no studies to
     16      date that show that these drugs worked for
     17      chronic, non-malignant pain.
     18               Q.        The fact of the matter is,
     19      Dr. Egilman, there is no way for us to look
     20      at your report and by reading your report
     21      know which theory you used to come to which
     22      opinion; right?
     23                         MS. CONROY:        Objection.
     24                         THE WITNESS:         Wrong.

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      1               Q.        (BY MS. SAULINO)           We'd have to
      2      assume?
      3               A.        No.
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         It's obvious.         If
      6               I'm giving an opinion about EERW or
      7               technical epidemiologic analysis, or
      8               criticizing the methodology used to
      9               come up with 100 million untreated
     10               pain patients, that's -- that's an
     11               epidemiologic evidence-based medical
     12               criticism.
     13               Q.        (BY MS. SAULINO)           You don't say
     14      that in your report, do you?
     15               A.        If I'm giving an opinion like
     16      I -- like this one that -- that the business,
     17      that is, the opioid business was driven by
     18      OxyContin sales, that's based on grounded
     19      theory and these documents.
     20                         It's not based on any
     21      epidemiologic study.
     22               Q.        You don't say any of that in
     23      your report, do you?
     24               A.        Not explicitly.          You would have

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      1      to actually read the introduction and apply
      2      the correct theory to what's the obvious
      3      correct opinion.
      4               Q.        All right.        Let's look at
      5      Opinion 69, which is on page --
      6               A.        72.
      7               Q.        Thank you.        And you have a
      8      different 69 than I do for Exhibit B69?
      9               A.        I do.     And this is also
     10      incomplete.
     11                         But it's one I corrected the
     12      opinion on.
     13               Q.        Okay.     Well, let's just break
     14      this down.
     15                         So can I see what you are
     16      looking at right now?
     17                         Okay.     So what you are looking
     18      at -- okay -- is Exhibit B69 with your
     19      handwriting on it, which is a copy of what we
     20      were given as Exhibit B69, which you have
     21      changed.       Correct?
     22               A.        Correct.
     23               Q.        So let's mark that.
     24               A.        But also the entire article was

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      1      given to you and is in my right hand.
      2               Q.        Okay.
      3                         Sir, I don't know what you
      4      think was given to us, but the one page that
      5      has just been marked as Exhibit 19 to your
      6      deposition is what the defendants received as
      7      Exhibit B69.
      8                         (Whereupon, Deposition Exhibit
      9               Egilman 19, Opinion - the "venture"
     10               corrupted the FDA and Salem --
     11               News.com FDA Corruption Worsens as
     12               Death Toll Mounts in Drug Epidemic!
     13               article, was marked for
     14               identification.)
     15                         MS. CONROY:        Can I see
     16               Exhibit 19?
     17               Q.        (BY MS. SAULINO)           And you've
     18      now written over that and changed the
     19      opinion; is that right?
     20               A.        Right.
     21               Q.        Okay.     What have you changed
     22      the opinion to say?
     23               A.        I changed it to the FDA was --
     24      in -- in -- over -- it should be overworked,

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      1      understaffed, underpaid, and had a revolving
      2      door.
      3               Q.        Okay.     And you've not disclosed
      4      that new opinion to the defendants until just
      5      this moment when I asked about it?
      6               A.        Right.      I changed it last
      7      night.
      8                         MS. CONROY:        Objection.
      9               Q.        (BY MS. SAULINO)           You changed
     10      it last night?
     11               A.        Yes.
     12               Q.        Did you change any of your
     13      other opinions yesterday?
     14               A.        Did I change any of them?               I
     15      don't think so.          I mean, I wrote notes on a
     16      lot of them.
     17               Q.        So to your recollection, this
     18      is the only opinion that you have changed?
     19               A.        Correct.
     20               Q.        Okay.     And there's no way for
     21      us to know -- if you've changed any others,
     22      there's no way for us to know except that you
     23      don't currently recall changing any others?
     24               A.        No. I've got them all in this

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      1      box.     You can mark the box.             You've been
      2      going through the box during some of the
      3      breaks.       I don't think there's any others.
      4               Q.        Okay.     And your original
      5      opinion here was that the venture corrupted
      6      the FDA --
      7               A.        Correct.
      8               Q.        -- right?
      9                         And you now don't believe that
     10      that opinion holds?
     11               A.        Let's say it's -- it depends
     12      how you define "revolving door" and what went
     13      on in the revolving door.
     14               Q.        I --
     15               A.        So --
     16               Q.        How did we get to a revolving
     17      door?     I was looking at your original
     18      opinion.
     19               A.        Okay.     But you didn't ask that.
     20               Q.        Yeah, I did.
     21               A.        No, you said -- you just -- you
     22      didn't --
     23                         Your original opinion [sic] was
     24      that the venture corrupted the FDA?

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      1                         Right.
      2                         And now you don't believe that
      3      opinion holds was your question.
      4               Q.        Correct.
      5               A.        That was not a reference to
      6      this opinion.         That was a general question
      7      about what my opinion was now.
      8               Q.        Okay.     Well, I apologize if you
      9      found that unclear in some way.
     10                         You no longer --
     11               A.        I didn't find it unclear at
     12      all.     I was answering it.
     13               Q.        Let me change the question,
     14      Dr. Egilman.
     15                         You no longer believe the
     16      venture corrupted the FDA?
     17               A.        No longer willing to say that
     18      this evidence is complete support for that
     19      opinion.
     20               Q.        Okay.     But the evidence that is
     21      cited on B69, you believe is complete support
     22      for your new opinion that the FDA was
     23      overworked, understaffed, underpaid, and had
     24      a revolving door --

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      1               A.        Correct.
      2               Q.        -- is that right?
      3                         Okay.     And your complete
      4      support for that is found in Exhibit B69?
      5               A.        Correct.
      6               Q.        No deposition testimony in
      7      addition to this?           Right?
      8               A.        No, there's other --
      9                         Well, no.       I have a lot of
     10      other support for this with respect to --
     11      this all refers to -- this refers to
     12      Rappaport and Curtis Wright.                So there's a
     13      lot of other evidence for this.                 It's not in
     14      the opinion, but there's a lot of other
     15      evidence in other opinions, particularly
     16      about Rappaport.
     17               Q.        When you say "This refers to
     18      Rappaport and Curtis" Knight --
     19               A.        Curtis Wright, right.
     20               Q.        Right.      What do you mean
     21      "this"?
     22               A.        This opinion.         It cites them.
     23               Q.        The opinion cites a single
     24      Salem News article, sir; right?

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      1               A.        The single Salem News article
      2      describes what happened with the approval of
      3      Zohydro, and it also talks about
      4      Curtis Wright.          And the revolving door with
      5      Curtis Wright.
      6               Q.        Okay.     But you don't cite to
      7      anything else besides this single Salem News
      8      article; right?
      9               A.        Those things are in here.
     10      That's correct.
     11               Q.        In the news article?
     12               A.        That's correct.
     13               Q.        Written by someone at the Salem
     14      News; right?
     15               A.        Correct.
     16               Q.        Not written by you?
     17               A.        Correct.       I didn't write the
     18      article.
     19                         What do you want me to do with
     20      the complete article that was supposed to be
     21      attached?
     22               Q.        Okay.     When you say "the
     23      complete article that was supposed to be
     24      attached," what are you handing me right now?

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      1                         MS. CONROY:        It's the link.
      2               It's the printout of the link that is
      3               on the exhibit.
      4               Q.        (BY MS. SAULINO)           So rather
      5      than a third-page snippet that's on
      6      Exhibit B69, you actually meant for the whole
      7      page in a third article to be included on
      8      B69?
      9               A.        That's why I gave you the link.
     10               Q.        Okay.     So why don't we attach
     11      that to Exhibit 19.
     12               A.        I did.
     13               Q.        But there's nothing else that
     14      you intended to attach to Exhibit 19; right?
     15               A.        No.     There's other opinions
     16      that relate to that opinion.
     17               Q.        And you don't cross-reference
     18      other opinions in that opinion; right?
     19               A.        Correct.
     20               Q.        And when we say "that opinion,"
     21      we mean Opinion 69; right?               Which has now
     22      been rewritten?
     23               A.        Correct.
     24               Q.        And you don't provide any

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      1      roadmap in your report that would show us
      2      what other opinions support Opinion 69;
      3      right?
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         I don't have a
      6               roadmap, but the Zohydro story with
      7               Rappaport is in other documents that
      8               are in my opinions.
      9               Q.        (BY MS. SAULINO)           There's no
     10      way for us to look at your opinions and know
     11      which other opinions relate to this opinion;
     12      right?
     13               A.        You'd have to search for
     14      Rappaport and Zohydro and then you'd find
     15      them.
     16               Q.        In all of the 23 boxes that are
     17      behind me, that's what we'd have to do?
     18               A.        No, you'd do it digitally
     19      pretty quickly.
     20               Q.        But the digital version of the
     21      23 boxes that are behind me --
     22               A.        Yes.
     23               Q.        -- we'd have to search for
     24      those two names in the 23 boxes that are

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      1      behind me, and then we would know the other
      2      basis for your opinion?
      3               A.        Well, then you'd know other
      4      supporting evidence, right.
      5               Q.        But not any -- but not all of
      6      the other bases for your opinion?
      7               A.        No.     Not all of the other bases
      8      for my opinion.          I reviewed a lot of other
      9      documents.        There's a lot of other support
     10      for that opinion.           I mean, I've read
     11      Curtis Wright's depositions.                I've read a lot
     12      of Purdue documents.
     13                         Some of them -- some of those
     14      are included in the introductory materials on
     15      Purdue with respect to Curtis Wright,
     16      Curtis Wright's approvals, Curtis Wright's
     17      actions at the FDA in approving OxyContin
     18      initially.        So that's all -- a lot of that is
     19      in there and pretty obvious.
     20               Q.        None of what you just said is
     21      in your report; right?
     22                         MS. CONROY:        Objection.
     23                         THE WITNESS:         No.
     24                         MS. SAULINO:         I know our

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      1               Special Master needs to leave soon,
      2               and wanted to put something on the
      3               record.
      4                         SPECIAL MASTER COHEN:             Do you
      5               want to take a moment to do that now?
      6                         MS. SAULINO:         Yeah.     Why don't
      7               we take a moment to do that.
      8                         SPECIAL MASTER COHEN:             Okay.
      9                         I'm here just today.            I'm not
     10               here tomorrow.         I have very
     11               purposefully tried not to insert
     12               myself into this deposition unless I
     13               was either asked to or it became very
     14               clear I needed to because I won't be
     15               here tomorrow, and so I won't be in a
     16               position to assert myself.
     17                         What I want to do now is just
     18               make a little speech so that hopefully
     19               I won't get a lot of phone calls
     20               tomorrow because I'm going to be in
     21               another deposition doing the same
     22               thing in Washington, D.C.              And what I
     23               want to remind everybody is, first of
     24               all, I'm going to turn to you,

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      1               Dr. Egilman, and ask you to remember
      2               tomorrow all the things that I said
      3               today.      That your answers can and
      4               should be succinct.            If you were to do
      5               a review of all of your answers today,
      6               the longest one was probably a minute,
      7               and most of them were probably about
      8               20 seconds or less.
      9                         That's how it should be
     10               tomorrow, the same way.
     11                         There's no reason to interrupt
     12               each other.        I think it will help if
     13               everybody just lets everybody answer
     14               the question.         And so it's my hope
     15               that I don't receive any calls for
     16               help tomorrow in settling disputes.
     17               It's clear that you can do this
     18               without me.
     19                         Any questions?
     20                         Okay.     And I'm going to leave
     21               in about 15 minutes because I have to
     22               get to the airport to go to D.C. That
     23               doesn't mean you all have to stop.
     24               And thank you for buying me lunch, and

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      1               I'll see you again soon, I'm sure.
      2                         MS. CONROY:        Thank you.
      3                         MS. SAULINO:         Thank you.
      4                         (Discussion off the record.)
      5                         MS. SAULINO:         There have been a
      6               few minutes that were used for
      7               plaintiffs.
      8                         MS. CONROY:        I think two
      9               minutes is an exaggeration.
     10                         THE WITNESS:         You can have an
     11               extra two minutes.
     12               Q.        (BY MS. SAULINO)           Let's look at
     13      Opinion 129.
     14               A.        Let me just tell you what my
     15      desire is, while the Special Master is here,
     16      is to go to seven hours today, to take a
     17      dinner break, and then come back and do
     18      another two or three hours.
     19                         MS. SAULINO:         Okay.     We can
     20               talk about that at the next break.
     21                         I appreciate you telling me,
     22               but I'd like to -- for not to eat up
     23               time right now figuring that out.
     24                         SPECIAL MASTER COHEN:             That's

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      1               not my call.
      2                         THE WITNESS:         Okay.




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     13      McKesson Connect web page?
     14               A.        I think so.
     15               Q.        Okay.
     16                         Handing you what's been marked
     17      as Exhibit 21 to your deposition.
     18                         (Whereupon, Deposition Exhibit
     19               Egilman 21, Login to McKesson Connect,
     20               was marked for identification.)
     21               Q.        (BY MS. SAULINO)           Which is the
     22      log-in page for McKesson Connect.
     23               A.        Okay.
     24               Q.        Is this what you saw?

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      1               A.        I think so.
      2               Q.        Okay.     And you couldn't get
      3      access; right?
      4               A.        Correct.       Because I don't have
      5      Jones Day's skills.
      6               Q.        Because this site is for
      7      McKesson partners and customers only; right?
      8      As it says here?
      9               A.        Correct.
     10               Q.        And physicians are not McKesson
     11      customers; right?
     12                         MS. CONROY:        Objection.
     13                         THE WITNESS:         Depends how you
     14               define "customer."
     15               Q.        (BY MS. SAULINO)           You as a
     16      physician could not get access to this web
     17      portal; correct?
     18               A.        Correct.
     19               Q.        You don't know any physician
     20      who could get access to this web portal;
     21      correct?
     22                         MS. CONROY:        Objection.
     23                         THE WITNESS:         I don't know any
     24               who have tried.

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      1               Q.        (BY MS. SAULINO)           And
      2      physicians are not McKesson partners;
      3      correct?
      4                         MS. CONROY:        Objection.
      5                         THE WITNESS:         Do you mean as
      6               defined in your -- on your web portal?
      7               Q.        (BY MS. SAULINO)           Yes,
      8      Dr. Egilman.
      9               A.        That's my understanding.




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     19               Q.        And the McKesson Redweld that
     20      you're talking about is actually a stack of
     21      Redwelds; right?
     22               A.        Right.
     23               Q.        Okay.     And we're going to mark
     24      that stack as Exhibit 23.

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      1               A.        There was one Redweld for all
      2      of these.       No?
      3                         (Whereupon, Deposition Exhibit
      4               Egilman 23, compilation of Redweld
      5               folders, was marked for
      6               identification.)
      7               Q.        (BY MS. SAULINO)           There was?
      8               A.        I thought so, but maybe I'm
      9      wrong.      I didn't do this part.
     10               Q.        Well, we'll mark that stack
     11      as --
     12               A.        The lawyers did this part.
     13               Q.        We'll mark that stack as
     14      Exhibit 23.




     22                         (Reporter asked for
     23      clarification.)
     24                         THE WITNESS:         That McKesson was

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      1               marketing opioids for manufacturers of
      2               opioids.
      3               Q.        (BY MS. SAULINO)           Okay.     And
      4      you don't provide that stack -- that listing
      5      of that stack in your report anywhere; right?
      6               A.        The listing of the stack is not
      7      here.     Each of the individual documents and
      8      opinions is in the report.
      9               Q.        All right.        Let me ask you
     10      this, Dr. Egilman.
     11                         You've not ever seen any
     12      talking points that McKesson used to market
     13      directly to doctors, have you?
     14               A.        No.
     15                         Just an administrative
     16      question.       Did you want this Exhibit 22 to
     17      include the entire Redweld or just this
     18      document?
     19               Q.        Yes.     Let's make Exhibit 22
     20      include the entire Redweld, which you're now
     21      saying is your complete Exhibit 22 -- the
     22      complete version of Exhibit 22; right?
     23                         MS. CONROY:        Objection.
     24                         (Whereupon, Deposition Exhibit

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      1               Egilman 22, Opinion B.385, was marked
      2               for identification.)
      3                         THE WITNESS:         No problem.        Just
      4               asking.
      5               Q.        (BY MS. SAULINO)           Now,
      6      Dr. Egilman, do you hold yourself out to be
      7      an expert in FDA regulations?
      8               A.        Based on my definition of
      9      "expert," yes.
     10               Q.        Okay.     Have you ever been
     11      qualified by a court as an expert in FDA
     12      regulations?
     13               A.        I've testified in court on FDA
     14      regulations.
     15               Q.        Have you ever been qualified by
     16      a court as an expert in FDA regulations?
     17               A.        I assume if I testified, I was
     18      qualified.
     19               Q.        Okay.     So you don't know?
     20               A.        Well, normally -- I don't
     21      recall -- I'm not -- not usually there when
     22      the motions in limine are made.                 And so I
     23      assume if I come to court and I testify about
     24      FDA regulations, that that's all been dealt

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      1      with before, that a judge has approved my
      2      testimony about FDA regulations.
      3               Q.        You would agree with me that
      4      pharmaceutical manufacturers have to follow
      5      FDA regulations; right?
      6               A.        What do you mean by "have to"?
      7               Q.        You find the question
      8      ambiguous?
      9               A.        I do.
     10                         You know, there's lots of cases
     11      where manufacturers have not followed FDA
     12      regulations.         Right?     I've got -- or
     13      distributors.         I've got all kinds of examples
     14      here.
     15                         So when you say "have to," I
     16      know that there are laws that say they should
     17      or shall, and I know that generally when they
     18      don't, there's no penalty.
     19               Q.        You would agree with me that
     20      FDA regulations hold the force of law for
     21      pharmaceutical manufacturers; right?
     22               A.        Some do.
     23               Q.        And since you are holding
     24      yourself out as an expert in FDA regulations,

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      1      you would agree with me that the message --
      2      the marketing messaging that pharmaceutical
      3      manufacturers use is something that has to be
      4      approved by the FDA; right?
      5                         MS. CONROY:        Objection.
      6                         THE WITNESS:         No, not exactly.
      7               Q.        (BY MS. SAULINO)           What is your
      8      disagreement with that statement?
      9               A.        That's not what happens.
     10                         Marketing messages get sent to
     11      the FDA.       The FDA reviews a small percentage
     12      of them, but they never send an approval
     13      letter out for the ones they don't look at.
     14      So marketing for the most part, the FDA works
     15      on a snitch system where one company snitches
     16      on another company, and that's how they find
     17      out that somebody's violating the off-label
     18      rules generally, and then they may clamp
     19      down.
     20                         But the FDA, by itself, has
     21      very little staff, and they certainly don't
     22      review all of the marketing messages and
     23      approve them.         They get them.
     24               Q.        What's the basis for what you

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      1      just said?
      2               A.        Well, I was at a conference
      3      where the FDA people spoke, and I sat at a
      4      table with the people from DDMAC who told me
      5      what the process was.             That was around 2003,
      6      2004.
      7               Q.        And the officials from DDMAC
      8      told you --
      9               A.        Excuse me, I'm not done with
     10      that answer.         You said what's the basis for
     11      that.     Okay?
     12               Q.        I'd like to know what the
     13      officials from DDMAC told you.
     14               A.        Do you want the incomplete
     15      answer, I'm done with the answer.                  No
     16      problem.       Just it's incomplete.
     17                         If you want to cut me off, no
     18      problem.
     19               Q.        The officials from DDMAC told
     20      you that the FDA process is based on a snitch
     21      system?
     22               A.        They said that that was -- that
     23      generated most of their actions.
     24               Q.        Okay.     And they told you --

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      1               A.        And they told me they had six
      2      staff to review all of the marketing messages
      3      that were submitted annually at that time,
      4      and they didn't -- they didn't review them.
      5               Q.        So your --
      6               A.        They didn't review nearly all
      7      of them.
      8               Q.        So you're basing this expertise
      9      on one conversation you had at a dinner?
     10                         MS. CONROY:        Objection.
     11                         THE WITNESS:         No.    There was a
     12               whole conference on this issue.                 It
     13               was discussed at the conference.
     14               Abrams was speaking at the conference,
     15               and a lot of people -- because of the
     16               lunch, I had a lot of time to have
     17               side conversations and more detailed
     18               conversations about the process than
     19               just what was in the lecture series.
     20               Q.        (BY MS. SAULINO)           So you're
     21      basing this opinion on one conference that
     22      you went to several years ago?
     23               A.        No.     I've read other things
     24      about this process.            I've read documents

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      1      about this process in the Vioxx litigation,
      2      the Actos litigation, in the Zyprexa
      3      litigation, in the Purdue litigation.
      4                         So, I mean, I've seen how the
      5      FDA doesn't regulate marketing over time.
      6               Q.        Okay.     Your opinion at
      7      page 126, 7.430?
      8               A.        7 which?
      9               Q.        430.     Bottom of page 126.
     10               A.        Okay.




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     19               Q.        Okay.     Dr. Egilman, before we
     20      conclude today, I want to make sure to mark a
     21      number of things.
     22               A.        Are we concluding today?
     23               Q.        Well, at least concluding
     24      before the break and then we can talk about

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      1      your request for coming back after dinner.
      2                         So first, you have a number of
      3      colored folders that have numbers on them
      4      that you have sat in front of you here today;
      5      right?
      6               A.        I do.     I also have some notes.
      7               Q.        Some notes.        Okay.
      8                         And you brought those intending
      9      to use these colored folders and notes during
     10      your deposition today?
     11                         MS. CONROY:        Objection.
     12                         THE WITNESS:         No.    Not
     13               necessarily.
     14               Q.        (BY MS. SAULINO)           Well, you've
     15      laid them out very carefully, taken up a good
     16      amount of our precious space here at the
     17      table.      So you brought them for a reason;
     18      right?
     19               A.        I thought they would be helpful
     20      from time to time, yes.
     21               Q.        Okay.
     22               A.        They have been helpful from
     23      time to time.         But I can't predict what the
     24      question is, so I brought things that I

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      1      thought you might ask about that might be
      2      helpful as answers.
      3               Q.        And you've numbered them 1
      4      through -- it looks like 32; is that right?
      5      Is new bias?
      6               A.        I don't know.
      7               Q.        Okay.     Can we move your
      8      McKesson Redweld?
      9               A.        Sure.
     10               Q.        Okay.     And I think this is part
     11      of your McKesson Redweld.
     12                         All right.        And I think that
     13      was Exhibit B62.
     14               A.        Well, it's empty now.
     15               Q.        I'm looking at the title of the
     16      blue folder.
     17                         MS. CONROY:        Give it to me.
     18               Q.        (BY MS. SAULINO)           Okay.     So
     19      these colored folders, you had intended to
     20      rely on these in your deposition?
     21               A.        I did rely on them.
     22               Q.        Okay.     I'd like to mark these
     23      as an exhibit to your deposition.
     24                         And --

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      1               A.        Fine with me.
      2               Q.        We can mark them as one
      3      exhibit.       I'm guessing you want to leave them
      4      laid out here until you're done testifying
      5      tomorrow; is that right?
      6               A.        That would be my preference.
      7               Q.        Okay.     So why don't we mark
      8      these colored folders collectively as 26?
      9                         (Whereupon, Deposition Exhibit
     10               Egilman 26, Dr. Egilman's reference
     11               folders, was marked for
     12               identification.)
     13               Q.        (BY MS. SAULINO)           And what is
     14      that sort of technicolor folder there?
     15               A.        That's the one with five bad
     16      acts and limitations.
     17               Q.        Okay.
     18                         So --
     19               A.        Here's my notes.           Do you want
     20      my notes too?
     21               Q.        Yes.     Why don't we mark those
     22      as Exhibit 27.          So let's give our court
     23      reporter a minute to give us the numbers.
     24                         I just wanted to mark the notes

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      1      as 27.
      2                         So the notes are 27.
      3                         (Whereupon, Deposition Exhibit
      4               Egilman 27, Dr. Egilman's notes, was
      5               marked for identification.)
      6                         MS. SAULINO:         And we'll figure
      7               out where to put the sticker for 26 at
      8               the break.
      9                         So Exhibit 28, then, I'd like
     10               to mark your box of your copies of the
     11               exhibits that you have been
     12               referencing.
     13                         MS. CONROY:        I put the folders
     14               back in it.
     15                         (Whereupon, Deposition Exhibit
     16               Egilman 28, Dr. Egilman's opinion
     17               folders with stickies and notations,
     18               was marked for identification.)
     19                         MS. SAULINO:         Okay.
     20                         Okay.     Now, the colored folders
     21               in front of you we've made Exhibit 26.
     22               Your box with your notes on some
     23               exhibits is 28.
     24                         Your notes are Exhibit 27.

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      1                         Is there anything else that you
      2               have in your vicinity here that you
      3               intended to use today to testify?
      4                         THE WITNESS:         No.
      5               Q.        (BY MS. SAULINO)           Okay.     Now,
      6      the posters behind you --
      7               A.        Oh, yeah, the posters.
      8               Q.        You have a number of posters
      9      there.
     10               A.        Yeah, the posters.
     11               Q.        You brought a number of posters
     12      here?
     13               A.        Yeah.     About 15 posters.
     14               Q.        Why did you bring 15 posters?
     15               A.        No reason for 15, but you saw
     16      we used one that was relevant.
     17                         These are some of the more
     18      important documents in my view.                 So.
     19               Q.        I see.      So the poster boards
     20      behind you are some of the more important
     21      documents?
     22               A.        And also the poster that was
     23      presented on Saturday wasn't given to you.
     24      So we can't read it on a small copy.                    So I

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      1      brought that.
      2               Q.        Are any of the other posters
      3      representing something that wasn't given to
      4      us?
      5               A.        I don't think so.
      6               Q.        So we're going to ask at the
      7      break or overnight to get paper copies of the
      8      posters so that we can mark them.                  Okay?
      9               A.        They all have Bates numbers on
     10      them.
     11               Q.        Okay.     Well, then we can mark
     12      them.
     13                         All right.
     14                         MS. SAULINO:         I think this is a
     15               good time for a break.
     16                         THE WITNESS:         Okay.
     17                         THE VIDEOGRAPHER:           We're off
     18               the record at 6:40.
     19                         (Recess taken, 6:39 p.m. to
     20               7:05 p.m.)
     21                         THE VIDEOGRAPHER:           We are back
     22               on the record at 7:06.
     23                         (Whereupon, Deposition Exhibit
     24               Egilman 29, USA Oxycodone consumption

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      1               (mg/capita) 1980 -- 2015, was marked
      2               for identification.)
      3               Q.        (BY MS. SAULINO)           Dr. Egilman,
      4      we have marked as Exhibit 29 what I
      5      understand from your counsel to be a
      6      compilation of paper copies of the posters
      7      that you brought with you today.
      8               A.        She's not my counsel, but
      9      that's terrific.           These are copies of the
     10      posters.
     11               Q.        Those are the copies of the
     12      posters, you agree?
     13               A.        But Ms. Conroy is not my
     14      counsel.
     15               Q.        So you agree that's what
     16      Exhibit 29 is, though?
     17               A.        Right.
     18               Q.        Dr. Egilman, you said earlier
     19      that there is not anything else that you
     20      consider to be a part of your report other
     21      than Exhibit 1F and Exhibits B1 through B489,
     22      and all of their attached documents; right?
     23               A.        Right.      And cited documents.
     24               Q.        In B1 to B489; right?

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      1               A.        Correct.
      2               Q.        Okay.
      3               A.        You've attached all of this
      4      material, some of which is included there.
      5      Some of which is, as I stated earlier,
      6      supplemental bases to opinions and some of
      7      which would be -- and that would be a
      8      category.       Some of the articles, for example,
      9      came out this week.
     10                         So I don't know whether you
     11      were going to call this part of the report or
     12      not.     But it's here.         It's marked at the
     13      deposition.
     14               Q.        So for the record what you are
     15      pointing at and saying is "this," is
     16      Exhibit 26, which are the colored folders
     17      that you brought with you today?
     18               A.        Yes.     I would say the material
     19      in the folders, yes.
     20               Q.        And you previously had
     21      testified to additional bases that you had in
     22      one of the folders; right?
     23               A.        No, I think I went through
     24      three or four folders of additional bases.

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      1      There was the -- remember, I -- you took me
      2      on -- you put me on plaintiff time, so there
      3      were two plaintiff time breaks.                 So there
      4      were additional bases one, and there was
      5      plaintiff time break two.               That was
      6      additional bases.           And plaintiff time two
      7      which is additional bases.
      8               Q.        Okay.
      9                         Other than those additional
     10      bases that we talked about earlier today, do
     11      you have more additional bases sitting here
     12      in front of us?
     13               A.        No.
     14               Q.        So your complete report and
     15      bases are found in Exhibit 1F, Exhibits B1
     16      through B489, the documents cited in
     17      Exhibits B1 through B489, and the two
     18      additional bases packets that you showed us
     19      today; right?
     20               A.        Three additional bases packets.
     21                         MS. CONROY:        That are reflected
     22               in the transcript.           They were already
     23               gone through the transcript this
     24               morning.

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      1                         MS. SAULINO:         So we've --
      2               Q.        (BY MS. SAULINO)           So
      3      Exhibit 1F, Exhibits B1 through B489, the
      4      exhibits -- the documents cited in Exhibits
      5      B1 through B4.89, and the three additional
      6      bases pieces that you cited earlier today
      7      constitute your complete report; right?
      8               A.        Correct.
      9               Q.        Now, does the report,
     10      Deposition Exhibit 1F and the attached
     11      Exhibits B1 through B14 reflect a complete
     12      set of the opinions you will express in this
     13      case?
     14               A.        Those are a complete set of the
     15      opinions that I'm expressing now at this
     16      deposition.
     17                         I don't know what anybody else
     18      is going to ask.           For example, I think other
     19      opinions have been elicited during this
     20      deposition, during questioning.                 So I can't
     21      predict what any of the defendants might ask
     22      that might elicit other opinions.
     23               Q.        Dr. Egilman, as an expert in
     24      this case, the opinions that you are offering

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      1      as opinions that you are offering under your
      2      expertise are contained in Deposition
      3      Exhibit 1F and the attached Exhibits B1
      4      through B489; correct?
      5               A.        Right.      These are the opinions
      6      I'm offering today.
      7               Q.        And you intend to offer
      8      additional opinions at trial that you are not
      9      disclosing today?
     10                         MS. CONROY:        Objection.
     11                         THE WITNESS:         No.
     12               Q.        (BY MS. SAULINO)           Do the
     13      documents and other evidence that you cite in
     14      Exhibits B1 through B489 to your report
     15      constitute a complete list of all of the
     16      bases and reasons for your opinions?
     17               A.        And now you left things out.
     18      If you go back to the original summary that I
     19      agreed to, yes.
     20               Q.        Okay.     Fair enough.         Do the
     21      documents and other evidence that you cite in
     22      Exhibits B1 through B489 plus the three
     23      additional bases that we discussed earlier
     24      today constitute a complete list of all of

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      1      the bases and reasons for your opinions?
      2               A.        Yes.
      3                         MS. SAULINO:         Okay.     All right.
      4               I'm handing over the mic.
      5                               EXAMINATION
      6      BY MR. MCGARRIGLE:
      7               Q.        Good evening, Doctor.
      8               A.        How are you doing?
      9               Q.        I'm doing fine.          My name is
     10      Tom McGarrigle.          I work with Reed Smith, and
     11      we represent Amerisource in this deposition.
     12      I'm going to have a few questions.                   And I'm
     13      going to hope that you are succinct in giving
     14      us your answers.
     15                         When you were assigning your
     16      office and your staff and your students, were
     17      they assigned to any particular defendant?
     18      So were there certain students and certain
     19      staff members that were designated to focus
     20      solely on one particular or group of
     21      defendants?
     22               A.        Well, do you know what?              I
     23      forgot one student.            Lena Milton.        And she
     24      worked on a couple of things, but she also

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      1      particularly worked on, I think, Allergan.
      2               Q.        Okay.
      3               A.        But otherwise, no.
      4               Q.        Was your staff or students
      5      assigned to any particular issue?
      6               A.        Well, sure over the time,
      7      different staff worked on different issues.
      8               Q.        Okay.     Did you rely on your
      9      staff to review deposition transcripts?
     10               A.        I think some, yes.
     11               Q.        Did you personally review every
     12      deposition transcript in this litigation?
     13               A.        Oh, no.
     14               Q.        I want to direct your attention
     15      to your report, page 110 of your report.                      Our
     16      7.324.
     17                         Do you have that in front of
     18      you?     Do you have a copy of -- can we get it?
     19               A.        It was here.
     20                         MS. CONROY:        Yeah, where did it
     21      go?     With the actual report itself.                We had
     22      that.
     23                         It was 1F.        Is it in the
     24      exhibits, then?

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      1               Q.        (BY MR. MCGARRIGLE)            Doctor,
      2      while you're looking at that you might want
      3      to look to see if you have a copy of the
      4      corresponding exhibit and whether it has been
      5      changed or whether it has any notes on it.
      6                         MS. CONROY:        324?
      7                         MR. MCGARRIGLE:          Yes.
      8                         THE WITNESS:         Do you have the
      9               324?
     10                         Okay.
     11                         Oh, she's looking at that.
     12                         MS. CONROY:        I'm going to tell
     13               you.
     14                         Yeah.     You've got writing on
     15               it.
     16               Q.        (BY MR. MCGARRIGLE)            Let's get
     17      this on the record.
     18                         Doctor, in opinion offered on
     19      page 110 of your report, 7.3.24, it says
     20      "AmerisourceBergen (ABC) was light on order
     21      monitoring.        The ABC focuses only on rapid
     22      growth, not steady sales, and the focus on
     23      big accounts only for suspicious order
     24      monitoring."

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      1                         Did I read that correctly?
      2               A.        You did.
      3               Q.        And it's a reference to
      4      Exhibit D324 hereto attached; right?
      5               A.        Correct.
      6               Q.        I'm going to have marked as an
      7      exhibit, Exhibit No. 30, that report --
      8      excuse me, that Exhibit B324.
      9               A.        Do you want the one with my
     10      handwritten notes?
     11               Q.        And did you put some
     12      handwriting on it?
     13                         Let me ask you, first of all,
     14      did you -- have you changed your opinion?
     15               A.        No.
     16               Q.        Okay.     And have you noted --
     17      made notes on the exhibit?
     18               A.        Yes.
     19               Q.        May I see it?
     20               A.        Sure.
     21               Q.        Can you read for me the notes
     22      that you wrote at the bottom?
     23               A.        Yeah.     Walgreens --
     24               Q.        Of the exhibit?

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      1               A.        "Walgreens had data on all
      2      store sales."
      3               Q.        Now, in support of the opinion
      4      offered in your report, the only support that
      5      you cite is this Exhibit B324; is that
      6      correct?
      7               A.        The only opinion -- the only
      8      support for this particular opinion cited in
      9      this opinion is the one document.                  There are
     10      other documents, the Cardinal back-and-forth
     11      with Walgreens, and AmerisourceBergen
     12      stepping in, for example, that also relates
     13      to this.
     14               Q.        Well, there's no reference in
     15      this to any cross-referencing to any other
     16      documents.        Is that fair to say?
     17               A.        Correct.
     18               Q.        Is it also fair to say that
     19      there's no indication that you looked at any
     20      deposition testimony to support this opinion;
     21      correct?
     22               A.        Correct.
     23               Q.        There is no indication that you
     24      looked at any other documents?

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      1               A.        On this opinion?
      2               Q.        On this opinion.
      3               A.        Written on the opinion?              That's
      4      correct.
      5               Q.        So the only thing that you
      6      relied upon in coming up with this opinion is
      7      this e-mail from Tasha Polster of Walgreens
      8      dated October the 31st, 2013; is that
      9      correct?
     10               A.        No.
     11               Q.        In addition to that, what else
     12      have you relied upon in reaching this
     13      opinion?
     14               A.        Do you want give to me the
     15      AmerisourceBergen section?
     16                         There are other documents, but
     17      the main narrative here is when Walgreens got
     18      hit with the $80 million penalty for
     19      overselling, they went to Cardinal to take
     20      over the Jupiter and supply and also the
     21      other six.        Cardinal basically refused to do
     22      that, and they said it's not just six
     23      pharmacies that have problems.                 It's 374
     24      pharmacies that have problems.

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      1                         And since Cardinal refused to
      2      step in, Walgreens went to AmerisourceBergen,
      3      and Bergen stepped in and agreed to supply
      4      all of those stores and take over the Jupiter
      5      facility for Walgreens.
      6                         Notwithstanding Cardinal's
      7      evaluation of the fact that those orders from
      8      those pharmacies were not proper.                  And
      9      subsequent to that, Walgreens bought
     10      26 percent of Amerisource.               So that's the
     11      gist of it.        That's in the other documents.
     12               Q.        And I note that the
     13      Special Master has gone, and ever since he's
     14      gone, your answers are getting longer and
     15      more nonresponsive, so I'm going to ask you
     16      to focus on my questions.
     17                         This opinion that you're
     18      offering is an opinion about the Amerisource
     19      Order Monitoring Program; isn't that correct?
     20               A.        Correct.
     21               Q.        And your opinion about that
     22      program is that it was late on order
     23      monitoring, that it focused only on rapid
     24      growth, not steady sales.               And your only

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      1      basis for those opinions on the Order
      2      Monitoring Program is based on this e-mail.
      3      This is the only thing that you put in your
      4      report that allowed to us figure out what is
      5      the doctor relying on.             Is that fair?
      6               A.        No.
      7               Q.        Is there anything in your
      8      report with respect to this opinion that
      9      allows us to know what the -- what the
     10      hypotheses that you started with?                  The
     11      question that you asked?              Is there anything
     12      that I missed when I read your report and
     13      when I read your exhibit that tells me what
     14      the beginning hypotheses was?
     15               A.        Well, the hypotheses -- is it
     16      explicitly stated here?              No.
     17               Q.        Okay.     And is there anything in
     18      this report that tells me whether or not you
     19      revised your hypotheses during the course of
     20      your investigation and your study?
     21               A.        No.
     22               Q.        Okay.
     23                         Is it fair to say that the
     24      basis for the statement that ABC focuses only

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      1      on rapid growth is in -- is based upon the
      2      second paragraph of Tasha Polster's e-mail,
      3      where it states "Investigators look at rapid
      4      growth for a location and whether the order
      5      triggers a threshold."
      6                         Do you see that?
      7                         The second sentence.
      8               A.        I see that.        You asked a
      9      question.
     10               Q.        Yeah.
     11               A.        Do you want me to answer
     12      that did you read it correctly or do you want
     13      me to answer the question?
     14               Q.        You can answer the question.
     15               A.        No.
     16               Q.        Okay.     The e-mail that you
     17      cited as support refers to rapid growth.
     18      Your opinion, however, adds the word "only";
     19      correct?
     20               A.        Correct.
     21               Q.        So Walgreens wasn't saying that
     22      Amerisource's program only focused on rapid
     23      growth.       That's something that you came up
     24      with; correct?

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      1               A.        No.
      2               Q.        Okay.     Is it fair to say that
      3      in the Walgreen e-mail, they do not limit the
      4      rapid growth by the word "only"?
      5               A.        Yes.
      6               Q.        Is it also fair to say that
      7      the -- that the basis for your opinion that
      8      the focus of the Amerisource Order Monitoring
      9      Program is on big accounts only is the
     10      statement that is highlighted on your exhibit
     11      that they really only focus on heavy hitters?
     12               A.        Yes.
     13               Q.        Okay.     And is it -- did you
     14      write this or did one of your students write
     15      this or did one of your staff members write
     16      this opinion?
     17               A.        I wrote this.
     18                         MS. CONROY:        Objection.
     19               Q.        (BY MR. MCGARRIGLE)            And when
     20      you were writing this opinion, did you
     21      attempt to be very careful and be very
     22      accurate?
     23               A.        I tried to be as accurate as
     24      possible.

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      1               Q.        Okay.     Is it fair to say that
      2      you took the sentence, "They really only
      3      focus on heavy hitters" to mean a reference
      4      to a customer?
      5                         Is that how you interpreted
      6      this?
      7               A.        Yes.
      8               Q.        Yeah, because -- I want you to
      9      be really careful here, because this opinion
     10      is based on double hearsay, isn't it?
     11                         This is -- this is
     12      Tasha Polster writing something based on a
     13      discussion that she had with a Joe Tomkiewicz
     14      of Amerisource; isn't that right?
     15                         MS. CONROY:        Objection.
     16                         THE WITNESS:         No.
     17               Q.        (BY MR. MCGARRIGLE)            Okay.
     18      This isn't a case where Ms. Polster is
     19      talking -- is reporting back of her meeting
     20      with Joe Tomkiewicz at Amerisource and
     21      talking about the Order Monitoring Program?
     22               A.        Not only, no.
     23               Q.        With respect to the sentence
     24      that you have highlighted in red, right after

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      1      the sentence "They really only focus on the
      2      heavy hitters" that you interpreted to mean
      3      the customers, the next sentence says "OxyIR
      4      30 MK combinations of cocktails with
      5      hydrocodone and/or oxycodone advantage of our
      6      system that we monitor CS or controlled
      7      substance."
      8                         Are you familiar with opioid
      9      cocktails?        Are you familiar with opioid
     10      cocktails?
     11               A.        Mixtures?       Yes.
     12               Q.        What's a Trinity?
     13               A.        That, I don't know.
     14               Q.        What's a Las Vegas?
     15               A.        That, I don't know.
     16               Q.        Did you ever hear that a
     17      Trinity opioid cocktail was a combination of
     18      a mixture of either hydrocodone or oxycodone
     19      and benzodiazepine and a muscle relaxer?
     20               A.        No.
     21                         MS. CONROY:        Objection.
     22               Q.        (BY MR. MCGARRIGLE)            You don't
     23      know anything about that.               How about a Las
     24      Vegas being a mixture of either hydrocodone

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      1      or oxycodone and benzodiazepine?                  Did you
      2      ever hear that?
      3                         MS. CONROY:        Objection.
      4                         THE WITNESS:         No.
      5               Q.        (BY MR. MCGARRIGLE)            Do you
      6      think there's anything wrong with an order
      7      monitoring system that takes opioid cocktails
      8      that are used out on the street and looks at
      9      combinations when orders are coming in of
     10      both an opioid with benzo?               Do you think
     11      there's anything wrong with a system that
     12      looks at that?
     13                         MS. CONROY:        Objection.
     14                         THE WITNESS:         That's certainly
     15               something that should be looked at.
     16               Q.        (BY MR. MCGARRIGLE)            So you're
     17      not being critical of the ABC Order
     18      Monitoring Program that is focusing and
     19      looking at cocktail combinations, are you?
     20               A.        I'm not criticizing that part
     21      of the sentence.           Correct.      I'm criticizing
     22      the first part of the sentence.
     23               Q.        Right.      And that's because you
     24      misunderstood what Ms. Polster was talking

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      1      about when she was talking about the heavy
      2      hitters.       She's not talking about customers.
      3      She's talking about drugs and drug
      4      combinations, oxy, hydro, Trinities.
      5               A.        No, that's exactly what I
      6      interpreted.
      7                         MS. CONROY:        Objection.
      8               Q.        (BY MR. MCGARRIGLE)            Oh.    Okay.
      9      So now you agree with me that the heavy
     10      hitter reference that's being made is not to
     11      heavy hitter customers, not big customers,
     12      not major customers, but in fact is a
     13      reference to the drugs that are -- that are
     14      the more powerful opioids that have been
     15      abused; is that your testimony?
     16               A.        No.     This reference to heavy
     17      hitters is to OxyIR, a combination of
     18      cocktails with hydrocodone, and/or oxycodone.
     19               Q.        Okay.     So you agree with me
     20      that the reference to heavy hitters refers to
     21      the drug; correct?
     22               A.        In that section, that's
     23      correct.
     24               Q.        Okay.     And you've inserted the

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      1      word, in your opinion, "only rapid growth."
      2      Isn't that correct?
      3                         MS. CONROY:        Objection, asked
      4               and answered.
      5               Q.        (BY MR. MCGARRIGLE)            I'm happy
      6      with the answer.
      7                         Let's talk to -- in coming up
      8      with this opinion, being critical of ABC's
      9      Order Monitoring Program, did you -- can you
     10      tell me what the OMP is for ABC?
     11               A.        No.
     12               Q.        Is that just too many letters
     13      to deal with?         Do you want me to break it
     14      down?
     15               A.        Go ahead.
     16               Q.        All right.        Order Monitoring
     17      Program.
     18               A.        Right.
     19               Q.        Do you know Amerisource's Order
     20      Monitoring Program?
     21               A.        Do I know how --
     22               Q.        Do you know -- can you give me
     23      the details of it?
     24               A.        They do it.

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      1               Q.        Yes.
      2               A.        No.
      3               Q.        Do you --
      4               A.        It's changed over time.              So
      5      you've got to give me a time.                 But I don't
      6      know what -- as I sit here today without
      7      reviewing it for any period of time.
      8               Q.        For any of the periods of time.
      9      Do you know how they -- how the Amerisource
     10      Order Monitoring Program calculates
     11      thresholds?
     12                         That's a yes, no?
     13               A.        Do you mean at any point in
     14      time?
     15               Q.        Now.     Can you tell me that?
     16               A.        No.
     17               Q.        Can you tell me, Doctor, can
     18      you tell me if you are aware that under the
     19      Order Monitoring Program, the focus is on
     20      looking at all sales, whether the sales come
     21      from a small, a medium, or a large customer?
     22      Do you know that?
     23               A.        That's not what this says.
     24               Q.        Well, this is coming from

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      1      Walgreens, right?
      2               A.        That's a Walgreens memo based
      3      on a meeting with Amerisource.
      4               Q.        Now, I want you to take a look
      5      at another document.
      6                         This will be -- looking at your
      7      report --
      8               A.        Did you mark this?
      9               Q.        That was -- that was marked and
     10      given --
     11                         MR. MCGARRIGLE:          Let's make
     12               that 30 and that 30A.
     13                         (Whereupon, Deposition Exhibit
     14               Egilman 30, Opinion- AmerisourceBergen
     15               ("ABC") was light on order monitoring.
     16               The ABC focus is only on rapid growth,
     17               not steady sales          Focus on big
     18               accounts only for suspicious order
     19               monitoring, was marked for
     20               identification.)
     21                         (Whereupon, Deposition Exhibit
     22               Egilman 30A, Opinion-
     23               AmerisourceBergen ("ABC") was light on
     24               order monitoring.           The ABC focus is

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      1               only on rapid growth, not steady sales
      2               Focus on big accounts only for
      3               suspicious order monitoring, with
      4               revisions, was marked for
      5               identification.)
      6               Q.        (BY MR. MCGARRIGLE)            All right.
      7      Doctor, look at your report, page 80,
      8      paragraph 7121.          "Opinion.       Amerisource
      9      Bergen wanted to low key" -- in
     10      parenthesis -- "hide its association with
     11      pain care forum, PCF."
     12                         Do you see that?
     13               A.        I do.
     14               Q.        And in support of that, you
     15      cite us to Exhibit B121.              I'll have that
     16      marked as Exhibit 31.
     17                         (Whereupon, Deposition Exhibit
     18               Egilman 31, Opinion-AmerisourceBergen
     19               ("ABC") wanted to 'low key' (HIDE) its
     20               association with Pain Care Forum
     21               ("PCF") with attachments
     22               PPLP004210521-4210523,
     23               PPLP004279424-4279425, PPLP004303453,
     24               PPLP004303456-4303457,

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      1               PPLPC018001477198-1477200,
      2               PPLPC022000926958-22000926959, was
      3               marked for identification.)
      4               Q.        (BY MR. MCGARRIGLE)            Did either
      5      your student or your staff member write this
      6      opinion?
      7               A.        No.
      8                         MS. CONROY:        Objection.
      9               Q.        (BY MR. MCGARRIGLE) Do you have
     10      a corresponding exhibit and has it changed or
     11      does it have any notes or modifications on
     12      it?
     13                         MS. CONROY:        There are no notes
     14               or modifications.
     15               Q.        (BY MR. MCGARRIGLE)            Okay.     So
     16      it's clean, and you haven't changed your
     17      opinion; correct?
     18               A.        No.
     19               Q.        And in this, you're actually --
     20      is this one or two opinions?                Is this an
     21      opinion, 1, that AmerisourceBergen is
     22      associated with a pain care forum, and 2,
     23      it's trying to hide that association?
     24                         MS. CONROY:        Do you have a copy

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      1               of the exhibit for me?
      2                         MR. MCGARRIGLE:          Probably not.
      3                         There you go.
      4                         MS. CONROY:        Thank you.
      5                         THE WITNESS:         Two --
      6                         I think --
      7               Q.        (BY MR. MCGARRIGLE)            The
      8      question is --
      9               A.        I think it could be either 1 or
     10      2.
     11               Q.        Okay.




     18               Q.        (BY MR. MCGARRIGLE)            Do you
     19      know if either Mr. Rosen or Ms. Norton were
     20      deposed in this litigation?
     21               A.        I think Rosen was.
     22               Q.        Did you read his deposition?
     23               A.        I can't recall.          It's possible.



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      5               Q.        Do you know if Ms. Norton was
      6      deposed in that case?
      7               A.        That, I don't know.




     13                         THE WITNESS:         I was pretty sure
     14               they weren't deposed on it.
     15               Q.        (BY MR. MCGARRIGLE)            Well,
     16      whatever, Mr. -- I will tell you, and I'll
     17      represent to you that -- I want you to assume
     18      that Ms. Norton was in fact deposed.
     19               A.        That, I understand.            But
     20      whether she was deposed on this topic, I
     21      don't think so.
     22               Q.        Did you ever ask your students
     23      or your staff members to go review
     24      Mr. Rosen's deposition testimony or

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      1      Ms. Norton's deposition testimony before you
      2      came up with the opinion that ABC was
      3      associated with the pain care forum and
      4      really wanted to hide that association?
      5                         Did you do that?
      6               A.        Rosen, I think I read.             Not
      7      Norton.
      8               Q.        Okay.     Not Norton.
      9                         In fact, a large part of your
     10      opinion to hide is based on the fact that
     11      Ms. Norton used the word "low key"; correct?
     12               A.        Correct.
     13               Q.        Among your many specialties and
     14      areas of expertise, do you include the
     15      English language?
     16                         It's not meant to be a joke.
     17      Do you include the English language as an
     18      area where you're an expert.
     19               A.        I think I'm fluent in English.
     20               Q.        All right.        What definition did
     21      you use to equate the word "low key" with the
     22      word "hide"?
     23               A.        I didn't get a dictionary
     24      definition.

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      1               Q.        Why did you use the word
      2      "hide"?       "Hide" sounds sinister.             It sounds
      3      like you did something wrong and you're
      4      trying to hide something.               Is that what you
      5      were trying to imply in your opinion?
      6               A.        Something sinister?
      7               Q.        Yeah.
      8               A.        No.     Just stating a fact.
      9               Q.        People that hide usually are
     10      trying to cover up something, aren't they?
     11               A.        Not necessarily.
     12               Q.        Do you know the definition of
     13      low key means laid back?              It means not
     14      elaborate, not showy, not intense,
     15      restrained.        Low profile.         Relaxed.
     16      Easygoing.        Calm.
     17                         Do you accept those definitions
     18      of the word "laid back"?
     19                         Do you accept those
     20      definitions --
     21               A.        Sure.
     22               Q.        -- of the word "laid back"?
     23               A.        Sure.
     24               Q.        What I don't see as the

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      1      definition of laid back, however, is the word
      2      "hide."
      3               A.        I don't know.         I haven't
      4      looked.




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     19               Q.        What about in your folders back
     20      there because I'm sure they have this in
     21      there.
     22               A.        Let's see that.
     23               Q.        Could you -- did you have a
     24      chance to look at those?

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      1               A.        I've got it.
      2               Q.        They should be the exhibits.
      3               A.        I've got it.
      4               Q.        So in support of this opinion
      5      that in 2008, ABDC was associated with the
      6      pain care forum and was trying to hide it,
      7      you say six documents dated July 2010, two
      8      years after this e-mail, 2012, four years
      9      after the e-mail, three of them dated 2016,
     10      which was eight years after the e-mail, and
     11      2017, nine -- almost nine years after the
     12      e-mail, how desperate were you to support
     13      this opinion by using documents that occurred
     14      almost a decade after this supposed event?
     15                         MS. CONROY:        Objection.
     16                         THE WITNESS:         Not at all.
     17               Q.        (BY MR. MCGARRIGLE)            Do any of
     18      those documents, any of those six documents
     19      even have the name "Amerisource" on them?
     20               A.        Let's see.
     21                         MS. WELCH:        Counsel, if you're
     22      not done, we need to take a break.
     23                         MS. CONROY:        We're in the
     24               middle of an answer here.

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      1                         MS. WELCH:        Sorry, I thought he
      2               had answered it.
      3               Q.        (BY MR. MCGARRIGLE)            I want you
      4      to assume, Doctor -- I'll help you out a
      5      little bit because we're pressed for time.
      6      There's 110 names on that e-mail, not one
      7      from Amerisource.
      8               A.        On the cover, you mean?
      9               Q.        Yes.
     10               A.        Well, I'm looking.
     11                         [Document review.]
     12                         THE WITNESS:         Well, this is
     13               a -- first of all, it's an HDMA.net
     14               document.       So it's an HDMA document of
     15               which Amerisource was a member.
     16                         The side e-mail also refers to
     17               HDMA testimony, of which
     18               AmerisourceBergen was a member.
     19               Q.        (BY MR. MCGARRIGLE)            Well,
     20      that's not your opinion.              Your opinion isn't
     21      that HDMA was trying to hide their
     22      association with the forum, that Amerisource
     23      was.     Correct?
     24               A.        Let me just see what the

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      1      question was before you interrupted the
      2      answer.
      3                         [Document review.]
      4                         THE WITNESS:         Well, this says
      5               HDMA -- this is referring to McKesson
      6               joining the pain care forum.
      7                         Bert Rosen says, if you're a
      8               member of HDMA, you're already a
      9               member of the pain care forum.
     10               AmerisourceBergen was a member of
     11               HDMA, so according to Bert Rosen, they
     12               were members of the pain care forum
     13               through their membership in HDMA.                  And
     14               AmerisourceBergen is on the next
     15               document in an e-mail; Norton, in
     16               fact.
     17               Q.        (BY MR. MCGARRIGLE)            And that's
     18      dated what date?
     19               A.        2017.
     20                         And this is -- I think
     21      Bert Rosen acting in his role as the pain
     22      care forum lobbyist.
     23                         [Document review.]
     24                         That's it.

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      1                         MR. MCGARRIGLE:          And that's it
      2               for me.      Thanks.
      3                         THE VIDEOGRAPHER:           Going off
      4               the record.        The time is 7:43 p.m.
      5                         (Proceedings recessed at
      6               7:43 p.m.)
      7                                  --o0o--
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      1                       CERTIFICATE
      2                 I, DEBRA A. DIBBLE, Registered
             Diplomate Reporter, Certified Realtime
      3      Reporter, Certified Realtime Captioner,
             Certified Court Reporter and Notary Public,
      4      do hereby certify that prior to the
             commencement of the examination, DR. DAVID
      5      EGILMAN was duly sworn by me to testify to
             the truth, the whole truth and nothing but
      6      the truth.
      7                 I DO FURTHER CERTIFY that the
             foregoing is a verbatim transcript of the
      8      testimony as taken stenographically by and
             before me at the time, place and on the date
      9      hereinbefore set forth, to the best of my
             ability.
     10
                        I DO FURTHER CERTIFY that pursuant
     11      to FRCP Rule 30, signature of the witness was
             not requested by the witness or other party
     12      before the conclusion of the deposition.
     13                 I DO FURTHER CERTIFY that I am
             neither a relative nor employee nor attorney
     14      nor counsel of any of the parties to this
             action, and that I am neither a relative nor
     15      employee of such attorney or counsel, and
             that I am not financially interested in the
     16      action.
     17
     18
     19      __________________________________
             DEBRA A. DIBBLE, RDR, CRR, CRC
     20      NCRA Registered Diplomate Reporter
             NCRA Certified Realtime Reporter
     21      Certified Court Reporter
     22
             Dated: 1 May 2019
     23
     24

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      1                      INSTRUCTIONS TO WITNESS
      2

      3                      Please read your deposition over
      4      carefully and make any necessary corrections.
      5      You should state the reason in the
      6      appropriate space on the errata sheet for any
      7      corrections that are made.
      8                      After doing so, please sign the
      9      errata sheet and date it.
     10                      You are signing same subject to
     11      the changes you have noted on the errata
     12      sheet, which will be attached to your
     13      deposition.
     14                      It is imperative that you return
     15      the original errata sheet to the deposing
     16      attorney within thirty (30) days of receipt
     17      of the deposition transcript by you.                    If you
     18      fail to do so, the deposition transcript may
     19      be deemed to be accurate and may be used in
     20      court.
     21

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      1                                  ERRATA
      2      Page     LINE     CHANGE
      3      ____     ____     _________________________________
      4               REASON: _______________________________
      5      ____     ____     _________________________________
      6               REASON: _______________________________
      7      ____     ____     _________________________________
      8               REASON: _______________________________
      9      ____     ____     _________________________________
     10               REASON: _______________________________
     11      ____     ____     _________________________________
     12               REASON: _______________________________
     13      ____     ____     _________________________________
     14               REASON: _______________________________
     15      ____     ____     _________________________________
     16               REASON: _______________________________
     17      ____     ____     _________________________________
     18               REASON: _______________________________
     19      ____     ____     _________________________________
     20               REASON: _______________________________
     21      ____     ____     _________________________________
     22               REASON: _______________________________
     23      ____     ____     _________________________________
     24               REASON: _______________________________

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      1                   ACKNOWLEDGMENT OF DEPONENT
      2

      3

      4                      I, DAVID S. EGILMAN, M.D., MPH, do
             hereby certify that I have read the foregoing
      5      pages and that the same is a correct
             transcription of the answers given by me to
      6      the questions therein propounded, except for
             the corrections or changes in form or
      7      substance, if any, noted in the attached
             Errata Sheet.
      8

      9

     10

     11

     12      ___________________________________________
               DAVID S. EGILMAN, M.D., MPH                           DATE
     13

     14

     15      Subscribed and sworn to before me this
     16      _______ day of _______________, 20 _____.
     17      My commission expires: _______________
     18

     19      _______________________________
     20      Notary Public
     21

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      1                            LAWYER'S NOTES
      2

      3      page        LINE
      4      ____        ____        _____________________________
      5      ____        ____        _____________________________
      6      ____        ____        _____________________________
      7      ____        ____        _____________________________
      8      ____        ____        _____________________________
      9      ____        ____        _____________________________
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     23      ____        ____        _____________________________
     24      ____        ____        _____________________________

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